Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 1 of 137 Page ID #:116



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                                                    EXHIBIT B
                                         Contribution Agreement with Schedules – Part 2
   28



                                                               Complaint for Declaratory Relief
Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 2 of 137 Page ID #:117



                                         EXHIBIT A
                                       (Excluded Assets)

 1. The 401(k) Plan as defined in Section 7.6 of the Agreement.


 2. The Employee Welfare Benefit Plans as defined in Section 8.3 of the Agreement.




                                               A-1
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                                          EXHIBIT B
                                      (Assumed Liabilities)


    1. The obligation to pay the amount of principal, accrued interest, and expenses as of the
       date of Closing on the Line of Credit Agreement and Note between New Buffalo Savings
       Bank and JLP and the Horizon Bank mortgage on the property located at One Oak Street,
       Three Oaks, Michigan (pursuant to and in accordance with the Articles of Agreement for
       Deed) determined based on accrued amount as of Closing Date and identified on
       Schedule B-1 hereto.


    2. Accounts Payable incurred in the ordinary course of business determined based on
       accrued amount as of Closing Date and identified on Schedule B-2 hereto.


    3. Accrued Sales Tax for sales outside of Michigan determined based on accrued amount as
       of Closing Date and identified on Schedule B-3 hereto.


    4. Accrued Payroll and Benefits determined based on accrued amount as of Closing Date
       and identified on Schedule B-4 hereto.


    5. Sales Return Reserve to cover liabilities to JLP customers for refunds and exchanges as
       described in JLP’s stated return policy determined based on accrued amount as of
       Closing Date and identified on Schedule B-5 hereto.

    6. Contingent Liabilities arising prior to the Closing Date determined based on accrued
       amount as of Closing Date and identified on Schedule B-6 hereto.

    7. All Liabilities arising after the Closing with respect to the Contributed Assets (other than
       (i) any Liability arising under Contracts relating to a breach that occurred prior to
       Closing, (ii) any Excluded Liabilities specifically set forth in Section 2 of the Agreement,
       and (iii) Losses with respect to which the Company Indemnified Parties are entitled to
       indemnification pursuant to Article XI of the Agreement).




                                                B-1
                             Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 4 of 137 Page ID #:119
JL Powell, Inc.                                                                                                           3/10/2010
Schedule B

                                                                                                                           Amount

Schedule B-1

Loan - New Buffalo Savings Bank
Principal _ Owed
03/10/010                                                                                         Principal          $   120,508.83
Accrued Interest                                             4.25%
Monthly Interest                                      $     426.80
# of Days     2/20/2010
              3/10/2010                                         18
# Of Days in Month                                               31                               Accrued Interest          247.82

Loan Total - New Buffalo Savings Bank                                                                                $   120,756.65


Horizon Bank Mortgage -
  2/24/2010 Principal Owed                                                                        Principal              205,975.89
Next Interest Payment                                 $   1,121.42
# of Days      2/24/2010
               3/10/2010                                        14
# of Days in Month                                               31                               Accrued Interest          506.45

Loan Total - Horizon Bank                                                                                            $   206,482.34

Total - Schedule B-1                                                                                                                  $   327,238.99




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       1 Detail                                           3/10/2010
                             Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 5 of 137 Page ID #:120
JL Powell, Inc.                                                                                           3/10/2010
Schedule B

                                                                                                           Amount

Schedule B-2

AP Trial 03/09/10                                                                                    $ 1,267,361.52
See Attached Aging
Open Receivers 03/09/10                                                                                   20,214.25
See Attached Listing
Add - 03/09/10 Receiver                                                                                     800.00



Delete FSB Companies LLC Balance                                                                          (6,070.72)
Delete FSB Warehouse LLC Balance                                                                        (124,635.00)



Holcombe - Accrued Costs - Unbilled

Cat WEB Sales 03/08/10                  112,206.28
Shipping Income                           6,815.14

Store Sales CC                             (602.20)
            Cash                            (23.33)

                                        118,395.89                   Rate                5.2%              6,156.59




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       2 Detail                        3/10/2010
                             Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 6 of 137 Page ID #:121
JL Powell, Inc.                                                                                                       3/10/2010
Schedule B

                                                                                                                       Amount

Schedule B-2 (cont)

SIGMA Micro Accrual - Unbilled
Cat WEB Sales 03/08/10                  112,206.28
Shipping Income                           6,815.14

                                        119,021.42                   Rate                1.5%       1,785.32           1,785.32

February                                304,266.58
Shipping Income                          15,371.75

                                        319,638.33                   Rate              1.5%         4,794.57
                                                                                  Minimum           5,500.00           5,500.00

January                                 361,256.44
Shipping Income                          15,747.52

                                        377,003.96                   Rate                1.5%       5,655.06           5,655.06

Freight Expense - Not Booked
UPS - Main                                 3/6/2010 2 Invoices                                                         3,809.08
UPS SCS                                    3/8/2010 4 Invoices                                                           514.18
Accrue UPS Main Account                                                           3 days/7 Days based on $3,809.08     1,632.46

Customer Returns
Open Customer Returns 03/08/10                                                                                       383,968.30



Total Schedule B-2                                                                                                                $ 1,566,691.04




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       3 Detail                                       3/10/2010
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Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 8 of 137 Page ID #:123
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Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 10 of 137 Page ID #:125
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                 Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 12 of 137 Page ID #:127



Receipt #     Receipt Date        Vendor     Vendor Name PO Number    Receipt Value
001RC979                 2/4/2010      416   Quick Feat         895   $     80.70
001RC987                 2/8/2010      416   Quick Feat         809   $    127.65
001RC996               2/11/2010       444   Patrick Mavros     745   $ 1,012.50
001RC997               2/11/2010       444   Patrick Mavros     853   $ 4,125.00
001RC1001              2/12/2010       416   Quick Feat         909   $    265.20
001RC1031                3/1/2010      444   Patrick Mavros     853   $ 4,537.50
001RC1039                3/5/2010      445   C&S Wu            1013   $ 2,625.00
001RC1044                3/5/2010      416   Quick Feat         895   $ 1,694.70
001RC1045                3/5/2010      416   Quick Feat         909   $ 5,746.00


                                                        Total         $ 20,214.25




Receivers Open 0201_03092010                                                                         1
                            Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 13 of 137 Page ID #:128
JL Powell, Inc.                                                                                          3/10/2010
Schedule B

                                                                                                          Amount


Schedule B-3
Michigan Sales Tax - Additional Accrued for March
March 1-10, 2010 - Based on Actual transactions                                                            118.92


Total Schedule B-3                                                                                                   $      118.92




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       4 Detail                          3/10/2010
                            Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 14 of 137 Page ID #:129
JL Powell, Inc.                                                                                                              3/10/2010
Schedule B

                                                                                                                              Amount


Schedule B-4
Payroll
Period         3/1/2010 3/10/2010
Per Sheet Attached                                                                                                           17,297.24

Benefits
Principal Life Insurance Group ( Health Insurance - Employee)                      2,350.47                                     758.22
                                                                                  Booked for the month of March              (2,350.47)

Consultants
Corapi Jeffress (Rene)                                               Rate         Monthly         $   5,000                   1,612.90
James Inventory                                                      Rate         Bi Weekly       $   2,100 2 weeks 4 days    2,700.00


Total Schedule B-4                                                                                                                        $   20,017.89




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                                                                                       5 Detail                                               3/10/2010
                            Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 15 of 137 Page ID #:130
JL Powell, Inc.                                                                                          3/10/2010
Schedule B

                                                                                                          Amount

Schedule B-5

Accrued Returns         See Schedule B-2                                                                        -


Total Schedule B-5                                                                                                   $          -




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       6 Detail                          3/10/2010
                            Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 16 of 137 Page ID #:131
JL Powell, Inc.                                                                                             3/10/2010
Schedule B

                                                                                                             Amount


Schedule B-6
Accrual of Returns for Last 2 weeks of Sales                     Sales                         202,581.39   40,516.28
A review of Open Customer Returns shows an average of 2 weeks from invoice date to Return Date



Total Schedule B-6                                                                                                      $   40,516.28




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       7 Detail                             3/10/2010
                            Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 17 of 137 Page ID #:132
JL Powell, Inc.                                                                                           3/10/2010
Schedule B

                                                                                                           Amount


Schedule B-__




                                                                                                       1,954,583.12   1,954,583.12




      S:\Willard, Bruce\JL Powell\Contribution Agreement\Schedule B\Schedule B 20100310-A
                                                                                       8 Detail                         3/10/2010
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                                    EXHIBIT C
                              (JLP Disclosure Schedule)




                                         C-1
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                                   EXHIBIT C

                          JLP DISCLOSURE SCHEDULE




  513906v6
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                                      Section 4.1

                  Jurisdictions Where JLP is Qualified To Do Business

  Michigan.




  513906v6
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                                           Section 4.3(b)

                                       Third Party Consents

  Regarding the Commercial Security Agreement (the "Commercial Security Agreement") that
  granted New Buffalo Savings Bank a security interest JLP's collateral (the "Security Interest"),
  the business loan agreement, and the line of credit note agreement, each dated 4/21/09 between
  JLP and New Buffalo Savings Bank, New Buffalo Savings Bank consented to the assignment of
  JLP's obligations under these agreements in a letter dated 3/3/10.

  The JLP Board and Series D Stockholder must approve the transaction under JLP's Shareholder's
  Agreement, and once this occurs the shareholders are required to consent to the sale by voting
  their shares in favor of the sale.

  Chase Paymentech was notified of the changes JLP is undergoing, and Chase Paymentech
  submitted the complete Merchant Profile document to their Credit and Risk Department.

  Sigma Micro, LLC gave written consent to this transaction per Article 13.2 Assignment of the
  Software License & Services Agreement dated May 30, 2008.




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                                    Section 4.4(a)

                                             NUMBER OF    CERTIFICATE
                        NAME                  SHARES        NUMBER

             COMMON SHARES
             Laurelle Timms                      540         Same
             Burt Avedon                         527         Same
             Susan Colby                         527         Same
             Dan Connors                        797.83       Same

             SERIES A-1 PREFERRED SHARES
             Lakeside JLP, LLC                 4678.934
             Frank Brumfield                   4159.052
             David Lee                         2599.408
             William Hobert                    2079.049
             Pat Shea                          2079.526
             Kingstreet Trading LLC            1039.546
             Gilles & Neeta Demeuleaere        1039.546
             MAG Capital LLC                   1039.546
             Pablo Melgarejo                   1039.546
             Rex Sessions                      1039.525
             Steve Helms                        519.774
             Heymeyer LLC                       519.774
             Dickinson Investments, LLC         519.774

             SERIES A-2 PREFERRED SHARES
             Joshua Powell                     2320.900
             Frank Brumfield                   4158.300

             SERIES B PREFERRED SHARES
             Frank Brumfield                   1000.000

             SERIES C PREFERRED SHARES
             Frank Brumfield                    627.119
             Laird Koldyke                      118.644
             William Hobert                      84.746
             Charles L. McElveen III            169.491

             SERIES D PREFERRED SHARES
             Robert F. Boyle                   1000.000




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                                         Section 4.4(b)

             Series C Warrant Holders
             Frank Brumfield
             Laird Koldyke
             William Hobert
             Charles L. McElveen III

             Series D Warrant Holder
             Robert F. Boyle

  The Board of Directors granted an option to Josh Powell to purchase 5,822 shares of common
  stock.




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                                           Section 4.5(a)

                                       Financial Statements

  See attached 1/31/10 balance sheet, 12/31/09 balance sheet, and 12/31/09 profit and loss
  statement.




  513906v6
                Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 25 of 137 Page ID #:140
                                                                                                                JL Powell, Inc.
                                                                                                                  Balance Sheet
                                                                                                                 January 31, 2010


Numbers in $(000)'s
                                                         Actual          Actual      Actual       Actual       Actual      Actual     Actual    Actual    Actual    Actual    Actual    Actual    Actual    Actual               Actual
                                                         Dec-07          Dec-08      Jan-09       Feb-09       Mar-09      Apr-09     May-09    Jun-09     Jul-09   Aug-09    Sep-09    Oct-09    Nov-09    Dec-09               Jan-10


Assets
   Current Assets

       Cash & Cash Equivalents                               78             428         170          170            3         (33)       (17)      44        54       137       110        89       149       265                    189
       Accounts Receivable                                   11              24          60           60           61          61         61       64        64        62        61        59        59        59                     59
       Chase Holdback                                                        72         107          113          108         106        110      111        90        87        92        96        99       106                    101
       Inventories                                          895           1,030         950          984          989       1,008      1,022    1,000       927       845       808       779       763       624                    634
       Prepaid Catalog                                                                   89          198          235         393        347      271       159       101       173       178       192       142                    176
       Other Currrent Assets                                 51              90          94           97          155           4         25        2        50       116       129       108       136        54                    130

   Total Current Assets                                   1,036           1,644       1,470        1,622        1,551       1,539      1,548    1,492     1,344     1,348     1,373     1,309     1,398     1,250                  1,289

   Fixed Assets

       Gross Fixed Assets                                   494             553          553         553          553         553       553       553       553       556       556       556       556       556                    556
       Minus Accumulated Depreciation                       (69)           (131)        (135)       (140)        (145)       (150)     (155)     (161)     (167)     (173)     (177)     (181)     (188)     (193)                  (197)

   Total Fixed Assets                                       425            422          418          413          408         403       398       392       386       383       379       375       368       363                    359

Total Assets                                              1,461           2,066       1,888        2,035        1,959       1,942      1,946    1,884     1,730     1,731     1,752     1,684     1,766     1,613                  1,648

Liabilities
   Current Liabilities

       Accounts Payable                                     925           1,572       1,401        1,158        1,201       1,225      1,305    1,262     1,288     1,127     1,195     1,154     1,188     1,099                  1,189
       Other Current Liabilities                              9              56          33           45           56          67         56       27        28        46        28        10        32        42                     43
       Loan - NBSB                                                                                                             50         50      123       123       121       121       121       121       121                    121
       Short Term Portion of Mortgage                          7              7            7            7            7          7          7        7         7         7         7         7         7         7                      7

   Total Current Liabilities                                941           1,635       1,441        1,210        1,264       1,349      1,418    1,419     1,446     1,301     1,351     1,292     1,348     1,269                  1,360

   Long Term Liabilities

       Mortgage - Horizon Bank                              214            208          207          206          205         205       204       204       203       203       202       201       201       200                    200

   Total Long Term Liabilities                              214            208          207          206          205         205       204       204       203       203       202       201       201       200                    200

Total Liabilities                                         1,155           1,843       1,648        1,416        1,469       1,554      1,622    1,623     1,649     1,504     1,553     1,493     1,549     1,469                  1,560

Owner Equity

       Paid in Capital                                      596             596         596          596          596         596        596      596       596       596       596       596       596       596                    596
       Additional Paid in Capital                                         2,350       2,350        2,850        2,850       2,850      2,850    2,850     2,850     3,100     3,100     3,100     3,100     3,100                  3,100
       Preferred Stock                                                    2,519       2,519        2,519        2,519       2,519      2,519    2,519     2,519     2,519     2,519     2,519     2,519     2,519                  2,519
       Dividends                                            (35)            (35)
       Common Stock Outstanding                               21             21           21           21           21          21        21        21        21        21        21        21        21        21                    21
       Retained Earnings                                 (2,378)         (2,409)      (5,228)      (5,228)      (5,228)     (5,228)   (5,228)   (5,228)   (5,228)   (5,228)   (5,215)   (5,215)   (5,215)   (5,228)               (6,092)
       Net Income                                           -            (2,819)         (31)        (152)        (281)       (383)     (447)     (510)     (690)     (794)     (822)     (830)     (804)     (864)                  (56)

Total Owner Equity                                       (1,796)           223          227          606          477         375       311       248        68       214       199       191       217       144                     88

Total Equities                                             (641)          2,066       1,875        2,022        1,946       1,929      1,933    1,871     1,717     1,718     1,752     1,684     1,766     1,613                  1,648




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                    Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 26 of 137 Page ID #:141
                                                                                                                                JL Powell, Inc.
                                                                                                                          Balance Sheet - Quarterly
                                                                                                                            December 31, 2009

Numbers in $(000)'s
                                                        Actual          Actual            Actual       Actual          Actual          Actual         Actual    Actual    Actual    Actual    Actual    Actual    Actual     Actual
                                                        Dec-07          Dec-08            Jan-09       Feb-09          Mar-09          Apr-09         May-09    Jun-09     Jul-09   Aug-09    Sep-09    Oct-09    Nov-09     Dec-09


Assets
   Current Assets

       Cash & Cash Equivalents                              78             428               170          170               3            (33)           (17)       44        54       137       110        89        149       265
       Accounts Receivable                                  11              24                60           60              61             61             61        64        64        62        61        59         59        59
       Chase Holdback                                                       72               107          113             108            106            110       111        90        87        92        96         99       106
       Inventories                                         895           1,030               923          954             958            973            954       932       857       775       712       681        663       624
       Prepaid Catalog                                                                        89          198             235            393            347       271       159       101       173       178        192       142
       Other Currrent Assets                                51              90                94           97             155              4             25         2        50       116       129       108        136        54

   Total Current Assets                                  1,036           1,644             1,443        1,592           1,520           1,504          1,480    1,424     1,274     1,278     1,277     1,211      1,298     1,250

   Fixed Assets

       Gross Fixed Assets                                  494             553               553          553             553             553           553       553       553       556       556       556        556       556
       Minus Accumulated Depreciation                      (69)           (131)             (135)        (140)           (145)           (150)         (155)     (161)     (167)     (173)     (177)     (181)      (188)     (193)

   Total Fixed Assets                                      425             422               418          413             408            403            398       392       386       383       379       375        368       363

Total Assets                                             1,461           2,066             1,861        2,005           1,928           1,907          1,878    1,816     1,660     1,661     1,656     1,586      1,666     1,613

Liabilities
   Current Liabilities

       Accounts Payable                                    957           1,572             1,414        1,171           1,214           1,238          1,318    1,275     1,301     1,140     1,208     1,167      1,201     1,099
       Other Current Liabilities                             9              56                33           45              56              67             56       27        28        46        28        10         32        42
       Loan - NBSB                                                                                                                         50             50      123       123       121       121       121        121       121
       Short Term Portion of Mortgage                         7              7                 7            7               7               7              7        7         7         7         7         7          7         7

   Total Current Liabilities                               973           1,635             1,454        1,223           1,277           1,362          1,431    1,432     1,459     1,314     1,364     1,305      1,361     1,269

   Long Term Liabilities

       Mortgage - Horizon Bank                             214             208               207          206             205            205            204       204       203       203       202       201        201       200
       Loan From Shareholder                             2,101

   Total Long Term Liabilities                           2,315             208               207          206             205            205            204       204       203       203       202       201        201       200

Total Liabilities                                        3,288           1,843             1,661        1,429           1,482           1,567          1,635    1,636     1,662     1,517     1,566     1,506      1,562     1,469

Owner Equity

       Paid in Capital                                     596             596               596          596             596             596            596      596       596       596       596       596        596       596
       Additional Paid in Capital                                        2,350             2,350        2,850           2,850           2,850          2,850    2,850     2,850     3,100     3,100     3,100      3,100     3,100
       Preferred Stock                                                   2,519             2,519        2,519           2,519           2,519          2,519    2,519     2,519     2,519     2,519     2,519      2,519     2,519
       Dividends                                           (35)            (35)
       Common Stock Outstanding                             21              21                21           21              21              21             21        21        21        21        21        21        21         21
       Retained Earnings                                  (215)         (2,409)           (5,228)      (5,228)         (5,228)         (5,228)        (5,228)   (5,228)   (5,228)   (5,228)   (5,228)   (5,228)   (5,228)    (5,228)
       Net Income                                       (2,194)         (2,819)              (58)        (182)           (312)           (418)          (515)     (578)     (760)     (864)     (918)     (928)     (904)      (864)

Total Owner Equity                                      (1,827)            223               200          576             446            340            243       180         (2)     144        90        80        104       144

Total Equities                                           1,461           2,066             1,861        2,005           1,928           1,907          1,878    1,816     1,660     1,661     1,656     1,586      1,666     1,613




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                                                                                                    JL Powell, Inc.
                                                                                          Profit & Loss Statement - Quarterly
                                                                                          For the year ending December 2009

                                                                                                                                                                       % of
                              Numbers in $(000)'s                                 1st Qrtr          2nd Qrtr            3rd Qrtr        4th Qrtr    Actual YTD     Total Revenue
                                                                                   2009              2009                2009            2009       December-09     December


                              Sales

                                  Cat/Web                                                930              1,401              1,024         1,749          5,104          116.8%
                                  Three Oaks Store                                        23                 40                 55            39            157               3.6%
                                  Warehouse                                              -                   40                -             -               40               0.9%
                                  Returns                                               (161)              (247)              (212)         (312)          (932)         -21.3%
                                  Other                                                    1                -                  -             -                1               0.0%


                              Total Revenue                                              793              1,234               867          1,476          4,370          100.0%


                              COGS

                                  Cat/Web                                                458                 503              326            601          1,888           45.3%
                                  Three Oaks Store                                        16                  28               22             18             84           53.5%
                                  Warehouse                                              -                   -                -              -                                0.0%
                                  Shrinkage Accrual                                        5                   7                6              9            27                0.6%
                                 Shipping & Duties (inbound)                              20                  30               67             44           161                3.7%


                              Total COGS                                                 499                 568              421            672          2,160           49.4%


                              Gross Profit                                              294                 666                446          804           2,210           50.6%
                                                                                     37.06%              53.97%             51.45%       54.47%          50.57%

                              Distribution Costs
                              Freight Income                                             (36)                (67)              (49)          (69)          (221)
                              Freight Expense                                             42                  46                60            61            209
                              DC Costs                                                    45                  93                60           103            301
                              Total                                                       51                  72                71            95            289               7.7%


                              Catalog Expenses

                              Catalog Costs                                               28                 -                 -             -              28
                              Catalog Mailing Costs                                        2                 -                 -             -               2
                              Catalog List Rental Costs                                    3                 -                  (3)          -
                              Prepress Costs                                             -                   -                -              -
                              Development - PhotoShoot                                   -                   -                -              -
                              Catalog SS 09 - Amortize                                    96                 420              331            249          1,096           25.1%
                              Total                                                      129                 420              328            249          1,126           25.8%


                              Production Development Expenses

                              Development - Samples                                       11                  10                    5         11            37
                              Development - Freight Costs                                  8                  19                    1         16            44

                              Total                                                       19                  29                    6         27            81                1.9%




                              Operating Expenses

                              Salary and Wages / Benefits                                188                 172              149            158           667            15.3%
                              Relocation Expenses                                        -                    10              -              -              10
                              Gift Box                                                     3                   1                 6            11            21
                              Consulting                                                  20                  34               43             46           143
                              Management Fees                                              3                 -                -              -               3
                              Professional Fees                                            2                  22                 2             2            28
                              Insurance                                                   15                 -                 17              2            34
                              Bank & CC Fees                                              29                  46               41             48           164                3.8%
                              Rent                                                        33                  21               21             21            96
                              Personal Property Taxes                                    -                     3              -                4             7
                              Utilities                                                    2                   5                 5             3            15
                              Travel /M&E                                                 25                  16               33             22            96
                              Supplies                                                     1                 -                   7             8            16
                              Printing & Reproduction                                    -                   -                   1             3             4
                              Advertising and PR                                           6                   1                (7)            5             5
                              Website / Software                                          10                  22               10            (27)           15
                              SIGMA Micro Costs                                           24                  24               12             28            88
                              Telephone                                                    8                   1                 5             4            18
                              Auto Expense                                                10                   3                 3             7            23
                              Repairs and Maintenance                                      1                   1                 4             7            13
                              Miscellaneous ( AMX)                                         7                   8               10              6            31

                              Total Expenses                                             387                 390              362            358          1,497           34.3%


                              Net Income(Loss) EBITDA                                   (292)               (245)             (321)           75           (783)         -17.9%


                              Depreciation/Amortization                                   15                  16                   15         16            62                1.4%


                              Net Income (Loss) EBIT                                    (307)               (261)             (336)           59           (845)         -19.3%


                              Interest Expense                                               5                  5                   4          5            19                0.4%


                              Net Income (Loss) EBT                                     (312)               (266)             (340)           54           (864)         -19.8%


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                                                                                                              1                                                                      2/4/2011
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                                                   Changes in SH Equity in 2009

Pursuant to the Exchange Agreement, there were changes in shareholder equity as demonstrated in the following schedules. Schedule 1
contains a list of the shareholder equity before the Exchange Date, and Schedule 2 is the post-exchange capitalization schedule that
contains a current description of shareholder equity.




                                                              Schedule 1
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                                                  SCHEDULE 1
                                      COMMON SHARES AND CORPORATION NOTES

                         SERIES A     SERIES A SHARES    COMMON       COMMON SHARES
NAME                      SHARES         Certificate #    SHARES        Certificate #       CORPORATION NOTES
Joshua Powell                                             9,202.17       __________
Frank Brumfield                                          10,000.00       __________
Dan Connor                                                  797.83
Laurelle Timms                                              540.00
Burt Avedon                                                 527.00
Susan Colby                                                 527.00
Lakeside JLP, LLC         2,160.000      __________
Frank Brumfield           1,920.000      __________
David Lee                 1,200.000      __________
William Hobert             959.780       __________
Pat Shea                   960.000       __________
Kingstreet Trading LLC     479.900       __________
Gilles & Neeta             479.900       __________
Demeuleaere
MAG Capital LLC            479.900       __________
Pablo Melgarejo            479.900       __________
Rex Sessions               479.890       __________
Steve Helms                239.950       __________
Heymeyer LLC               239.950       __________
Dickinson Investments,     239.950
LLC
Robert F. Boyle                                                                         $1,500,000 Demand Note and
                                                                                        Security Agreement dated 10/27/08 of
                                                                                        which $1,000,000 has been funded
Frank Brumfield                                                                         $2,000,000 Demand Note dated

                                                         Schedule 2
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                                                                                      10/20/06 ($1,868,379.89 balance
                                                                                      outstanding including accrued interest
                                                                                      through 12/31/08
Frank Brumfield                                                                       $170,000 Note dated 5/__/08
Laird Koldyke                                                                         $70,000 Note dated ________
William Hobert                                                                        $50,000 Note dated ________
Charles L. McElveen III                                                               $100,000 Note dated ________




                                                       Schedule 3
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                                SCHEDULE 2
                   POST EXCHANGE CAPITALIZATION SCHEDULE




                                               NUMBER OF        CERTIFICATE
                       NAME                     SHARES            NUMBER

            COMMON SHARES
            Laurelle Timms                             540         Same
            Burt Avedon                                527         Same
            Susan Colby                                527         Same
            Dan Connors                               797.83       Same

            SERIES A-1 PREFERRED SHARES
            Lakeside JLP, LLC                        4678.934
            Frank Brumfield                          4159.052
            David Lee                                2599.408
            William Hobert                           2079.049
            Pat Shea                                 2079.526
            Kingstreet Trading LLC                   1039.546
            Gilles & Neeta Demeuleaere               1039.546
            MAG Capital LLC                          1039.546
            Pablo Melgarejo                          1039.546
            Rex Sessions                             1039.525
            Steve Helms                              519.774
            Heymeyer LLC                             519.774
            Dickinson Investments, LLC               519.774

            SERIES A-2 PREFERRED SHARES
            Joshua Powell                            2320.900
            Frank Brumfield                          4158.300

            SERIES B PREFERRED SHARES
            Frank Brumfield                          1000.000

            SERIES C PREFERRED SHARES
            Frank Brumfield                          627.119
            Laird Koldyke                            118.644
            William Hobert                           84.746
            Charles L. McElveen III                  169.491

            SERIES D PREFERRED SHARES
            Robert F. Boyle                          1000.000




                                        Schedule 4
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                                          Section 4.5(b)

                                           Liabilities

  See attached Open PO Analysis
  See attached Liabilities for Open Customer Returns
  .




  513906v6
Quick Feat International Total
Somelos Tecidos SA Total
Sacma S.p.a. Total
                                   Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 33 of 137 Page ID #:148
           Vendor_Name Purchase_Order_Number
                                        Vendor_Product_Number
                                                      220,442.70
                                                       83,834.22
                                                       80,573.00
                                                                    Vendor_Item_Description   Sheet1




Vigens Total                                           79,512.00
Anderson's Italy Total                                 54,137.18
Uniform Knitters Total                                 49,064.10
Quoddy Footwear LLC Total                              48,217.50
Alden Shoe Company Total                               43,302.00
M&P Services Total                                     43,008.00
Lenor Romano Total                                     39,180.00
Greentex srl Total                                     32,660.08
Torino Leather Total                                   31,839.00
Leather Creations Limited Total                        29,140.60
Hertling Trousers, Inc. Total                          23,285.00
Trinity Garments Factory Total                         22,416.00
Berle Apparel Group Total                              21,844.00
Sandstorm International Total                          18,750.00
North Fork Design Total                                18,350.00
TAMODA Total                                           18,128.56
Doriani Total                                          15,231.88
Inis Meain Total                                       14,984.00
Mulholland Brothers Total                              14,560.34
New England Shirt Compnay Total                         14,400.00
Elk Brand Manufacturing Company
                                                        11,700.00
Total
N. Treitel & Co., Inc. Total                             9,300.00
Raleigh Denim Total                                      9,072.00
Incalpaca TX Total                                       9,000.00
Wigens (via Greg Kern) Total                             7,280.00
George Graham Galleries Total                            6,845.50
Patrick Mavros Total                                     6,225.00
Canadian Sweater Company Ltd.
                                                         4,464.00
Total
Edward Green & Co. Total                                 2,973.78
C&S Wu Total                                             2,625.00
Luminox Total                                            2,275.00
Euro Socks Total                                         1,951.20
A Goldstein / Wrought in America
                                                         1,750.00
Total
Sunset Trails Silversmiths &
                                                         1,275.00
Engravers Total
Weapon Edge Total                                        1,125.00
Luxottica Group Total                                      321.00
HiDef Spex USA Total                                       173.40

Total Open Pos                        $              1,095,216.04




Grand Total
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            Vendor_Name           Purchase_Order_Number Ext Cost
Sacma S.p.a.                         PO1032 Total          28,170.00
M&P Services                         PO184 Total           27,000.00
Uniform Knitters                     PO397 Total           23,551.50
Doriani                              PO88 Total            15,231.88
Inis Meain                           PO834 Total           14,984.00
Vigens                               PO952 Total           14,280.00
Vigens                               PO953 Total           14,280.00
Sacma S.p.a.                         PO1031 Total          14,085.00
Sacma S.p.a.                         PO1030 Total          13,873.00
Sacma S.p.a.                         PO1011 Total          12,222.50
Sacma S.p.a.                         PO1012 Total          12,222.50
Elk Brand Manufacturing Company      PO753 Total           11,700.00
Greentex srl                         3130802 Total         11,182.08
Quick Feat International             PO912 Total           11,027.50
Alden Shoe Company                   PO1095 Total          11,000.00
Alden Shoe Company                   PO1096 Total          11,000.00
Alden Shoe Company                   PO1097 Total          11,000.00
Somelos Tecidos SA                   PO980 Total           10,713.30
Quick Feat International             PO903 Total           10,200.00
Quick Feat International             PO904 Total           10,200.00
Quoddy Footwear LLC                  PO1050 Total          10,125.00
Quoddy Footwear LLC                  PO1051 Total          10,125.00
Quoddy Footwear LLC                  PO1052 Total          10,125.00
Quoddy Footwear LLC                  PO1053 Total          10,125.00
M&P Services                         2260818 Total           9,472.00
North Fork Design                    PO1099 Total            9,450.00
Quick Feat International             PO910 Total             9,363.30
Quick Feat International             PO911 Total             9,363.30
N. Treitel & Co., Inc.               PO1124 Total            9,300.00
Torino Leather                       PO1022 Total            9,250.00
Torino Leather                       PO1023 Total            9,250.00
Uniform Knitters                     PO908 Total             9,000.00
Incalpaca TX                         PO970 Total             9,000.00
North Fork Design                    PO1100 Total            8,900.00
TAMODA                               PO363 Total             8,832.00
Quick Feat International             PO931 Total             8,083.50
Quick Feat International             PO932 Total             8,083.50
Somelos Tecidos SA                   PO978 Total             7,845.60
Quick Feat International             PO1113 Total            7,769.10
Quick Feat International             PO929 Total             7,202.50
Quick Feat International             PO930 Total             7,202.50
Somelos Tecidos SA                   PO979 Total             7,173.12
Somelos Tecidos SA                   PO982 Total             7,095.00
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Uniform Knitters               PO906 Total           7,005.00
Quick Feat International       PO916 Total           6,697.50
Vigens                         PO1069 Total          6,600.00
Vigens                         PO1070 Total          6,600.00
Vigens                         PO1071 Total          6,600.00
Vigens                         PO1072 Total          6,600.00
M&P Services                   5060805 Total         6,536.00
Greentex srl                   PO66 Total            6,468.00
Hertling Trousers, Inc.        PO1126 Total          6,350.00
Somelos Tecidos SA             PO983 Total           6,325.00
Quick Feat International       PO825 Total           6,220.55
Lenor Romano                   PO1076 Total          6,077.00
TAMODA                         PO426 Total           6,048.00
Somelos Tecidos SA             PO976 Total           6,034.90
Somelos Tecidos SA             PO974 Total           6,006.00
Lenor Romano                   PO1077 Total          5,841.00
Somelos Tecidos SA             PO977 Total           5,826.80
Lenor Romano                   PO1078 Total          5,782.00
Somelos Tecidos SA             PO975 Total           5,775.00
Quick Feat International       PO914 Total           5,745.90
Greentex srl                   PO65 Total            5,698.00
Lenor Romano                   PO943 Total           5,564.00
Anderson's Italy               PO886 Total           5,550.00
Anderson's Italy               PO880 Total           5,525.00
Anderson's Italy               PO881 Total           5,525.00
Leather Creations Limited      PO870 Total           5,495.60
Lenor Romano                   PO944 Total           5,486.00
Quick Feat International       PO915 Total           5,481.00
Quick Feat International       PO909 Total           5,480.80
Leather Creations Limited      PO986 Total           5,461.00
Leather Creations Limited      PO987 Total           5,461.00
Quick Feat International       PO824 Total           5,458.85
Leather Creations Limited      PO1017 Total          5,457.00
Leather Creations Limited      PO1018 Total          5,457.00
Somelos Tecidos SA             PO981 Total           5,436.60
Lenor Romano                   PO945 Total           5,330.00
Anderson's Italy               PO887 Total           5,325.00
Quoddy Footwear LLC            PO777 Total           5,267.50
Quick Feat International       PO757 Total           5,240.50
Quick Feat International       PO958 Total           5,236.00
Quick Feat International       PO959 Total           5,236.00
Hertling Trousers, Inc.        PO1115 Total          5,215.00
Vigens                         PO1091 Total          5,208.00
Vigens                         PO1092 Total          5,208.00
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Vigens                          PO1093 Total         5,208.00
Quick Feat International        PO862 Total          5,039.90
Quick Feat International        PO809 Total          5,020.90
New England Shirt Compnay       PO873 Total          4,800.00
New England Shirt Compnay       PO874 Total          4,800.00
New England Shirt Compnay       PO875 Total          4,800.00
Berle Apparel Group             PO938 Total          4,797.00
Berle Apparel Group             PO939 Total          4,797.00
Somelos Tecidos SA              PO597 Total          4,780.40
Uniform Knitters                PO1020 Total         4,753.80
Uniform Knitters                PO907 Total          4,753.80
Greentex srl                    PO60 Total           4,752.00
Anderson's Italy                PO877 Total          4,731.00
Anderson's Italy                PO878 Total          4,648.00
Greentex srl                    PO760 Total          4,560.00
Quick Feat International        PO923 Total          4,555.00
Quick Feat International        PO924 Total          4,555.00
Patrick Mavros                  PO853 Total          4,537.50
Raleigh Denim                   PO1107 Total         4,536.00
Raleigh Denim                   PO1108 Total         4,536.00
Vigens                          PO1089 Total         4,464.00
Vigens                          PO1090 Total         4,464.00
Quick Feat International        PO823 Total          4,443.25
Canadian Sweater Company Ltd.   PO845 Total          4,160.00
Quick Feat International        PO922 Total          3,913.45
Quick Feat International        PO962 Total          3,910.00
Torino Leather                  PO1024 Total         3,822.00
Torino Leather                  PO1025 Total         3,822.00
Hertling Trousers, Inc.         PO1114 Total         3,710.00
Trinity Garments Factory        PO1043 Total         3,700.00
Trinity Garments Factory        PO1044 Total         3,700.00
Berle Apparel Group             PO940 Total          3,699.50
Berle Apparel Group             PO941 Total          3,699.50
Quick Feat International        PO921 Total          3,685.60
Quick Feat International        PO927 Total          3,654.00
Quick Feat International        PO928 Total          3,654.00
Anderson's Italy                PO883 Total          3,554.00
Quick Feat International        PO925 Total          3,532.50
Quick Feat International        PO926 Total          3,532.50
Quick Feat International        PO960 Total          3,506.25
Quick Feat International        PO961 Total          3,506.25
Anderson's Italy                PO889 Total          3,315.00
Anderson's Italy                PO890 Total          3,315.00
Anderson's Italy                PO884 Total          3,269.68
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Quick Feat International       PO918 Total           3,264.00
Quick Feat International       PO933 Total           3,264.00
TAMODA                         PO427 Total           3,248.56
Somelos Tecidos SA             PO1064 Total          3,230.00
Somelos Tecidos SA             PO1065 Total          3,230.00
Sandstorm International        PO1000 Total          3,125.00
Sandstorm International        PO1001 Total          3,125.00
Sandstorm International        PO1002 Total          3,125.00
Sandstorm International        PO1003 Total          3,125.00
Sandstorm International        PO1004 Total          3,125.00
Sandstorm International        PO999 Total           3,125.00
Alden Shoe Company             PO767 Total           3,080.00
Anderson's Italy               PO892 Total           3,031.50
Trinity Garments Factory       PO1045 Total          2,880.00
Trinity Garments Factory       PO1046 Total          2,880.00
Alden Shoe Company             PO840 Total           2,812.00
Hertling Trousers, Inc.        PO1015 Total          2,760.00
Hertling Trousers, Inc.        PO1016 Total          2,730.00
Trinity Garments Factory       PO1047 Total          2,650.00
Trinity Garments Factory       PO1048 Total          2,650.00
C&S Wu                         PO1013 Total          2,625.00
Quick Feat International       PO963 Total           2,625.00
Quick Feat International       PO964 Total           2,625.00
Quick Feat International       PO913 Total           2,614.40
Mulholland Brothers            PO1082 Total          2,600.00
Quick Feat International       PO1109 Total          2,595.90
Quick Feat International       PO1110 Total          2,595.90
Hertling Trousers, Inc.        PO990 Total           2,520.00
Quick Feat International       PO920 Total           2,513.60
Quoddy Footwear LLC            PO661 Total           2,450.00
Anderson's Italy               PO1035 Total          2,442.00
Alden Shoe Company             PO798 Total           2,430.00
Berle Apparel Group            PO988 Total           2,425.50
Berle Apparel Group            PO989 Total           2,425.50
Luminox                        PO1119 Total          2,275.00
George Graham Galleries        PO1040 Total          2,209.00
Anderson's Italy               PO1034 Total          2,178.00
Torino Leather                 PO1026 Total          1,976.50
Torino Leather                 PO1028 Total          1,976.50
George Graham Galleries        PO786 Total           1,962.00
Wigens (via Greg Kern)         PO994 Total           1,920.00
Lenor Romano                   PO946 Total           1,802.00
Quick Feat International       PO895 Total           1,748.50
Torino Leather                 PO1027 Total          1,742.00
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Patrick Mavros                           PO1074 Total   1,687.50
Lenor Romano                             PO947 Total    1,683.00
Mulholland Brothers                      PO866 Total    1,648.32
Lenor Romano                             PO948 Total    1,615.00
Wigens (via Greg Kern)                   PO997 Total    1,600.00
Wigens (via Greg Kern)                   PO998 Total    1,600.00
Leather Creations Limited                PO632 Total    1,519.20
Mulholland Brothers                      PO1106 Total   1,470.00
Edward Green & Co.                       PO468 Total    1,428.32
George Graham Galleries                  PO785 Total    1,417.00
Mulholland Brothers                      PO1083 Total   1,300.00
Mulholland Brothers                      PO1084 Total   1,300.00
Mulholland Brothers                      PO1085 Total   1,300.00
Mulholland Brothers                      PO1086 Total   1,300.00
Mulholland Brothers                      PO1087 Total   1,300.00
Mulholland Brothers                      PO1088 Total   1,300.00
Sunset Trails Silversmiths & Engravers   PO706 Total    1,275.00
George Graham Galleries                  PO1041 Total   1,257.50
A Goldstein / Wrought in America         PO969 Total    1,250.00
Somelos Tecidos SA                       PO813 Total    1,221.50
Alden Shoe Company                       PO1055 Total   1,210.00
Wigens (via Greg Kern)                   PO995 Total    1,080.00
Wigens (via Greg Kern)                   PO996 Total    1,080.00
Somelos Tecidos SA                       PO810 Total    1,047.00
Somelos Tecidos SA                       PO811 Total    1,047.00
Somelos Tecidos SA                       PO812 Total    1,047.00
Mulholland Brothers                      PO1121 Total   1,042.02
Trinity Garments Factory                 PO1101 Total   1,012.00
Trinity Garments Factory                 PO1102 Total   1,012.00
Edward Green & Co.                       PO335 Total      980.82
Trinity Garments Factory                 PO1103 Total     966.00
Trinity Garments Factory                 PO1104 Total     966.00
Euro Socks                               PO898 Total      770.40
Euro Socks                               PO899 Total      770.40
Alden Shoe Company                       PO791 Total      770.00
Anderson's Italy                         PO876 Total      664.00
Anderson's Italy                         PO888 Total      650.00
Quick Feat International                 PO1039 Total     491.50
Edward Green & Co.                       PO378 Total      447.50
Euro Socks                               PO897 Total      410.40
Weapon Edge                              PO1066 Total     405.00
Weapon Edge                              PO1067 Total     360.00
Weapon Edge                              PO1068 Total     360.00
Luxottica Group                          PO1125 Total     321.00
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Quick Feat International           PO1073 Total         304.00
Canadian Sweater Company Ltd.      PO789 Total          304.00
Leather Creations Limited          PO638 Total          289.80
Anderson's Italy                   PO1033 Total         264.00
A Goldstein / Wrought in America   PO1111 Total         250.00
A Goldstein / Wrought in America   PO893 Total          250.00
HiDef Spex USA                     PO1117 Total         173.40
Anderson's Italy                   PO885 Total          150.00
Edward Green & Co.                 PO251 Total          117.14


                                   Grand Total    2,190,432.08
                                                  1,095,216.04
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March 9, 2010                                          JL Powell
                                       Open Returned Material Authorization Summary

                                                    Date: 3/8/2010 12:00:00 AM to 3/8/2010 11:59:59 PM

   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-2455       12-May-09   Authorization Pending   JeremyM                  $189.00    O-9863      INV-10121       23-Apr-09   $189.00    Credit Card
 RMA-2457       12-May-09   Authorization Pending   JeremyM                  138.00     O-8247       INV-9782       15-Apr-09     138.00   Credit Card
 RMA-2458       12-May-09   Authorization Pending   JeremyM                  139.00     O-10240     INV-10654      04-May-09      733.00   Credit Card
 RMA-2459       12-May-09   Authorization Pending   JeremyM                   78.00     O-8608      INV-10433       30-Apr-09      78.00   Credit Card
 RMA-2460       12-May-09   Authorization Pending   JeremyM                   47.00     O-8434       INV-8630      18-Mar-09       47.00   Credit Card
 RMA-2462       12-May-09   Authorization Pending   JeremyM                  189.00     O-9648      INV-10111       23-Apr-09     189.00   Credit Card
 RMA-2464       12-May-09   Authorization Pending   JeremyM                  289.00     O-9431      INV-10286       28-Apr-09     289.00   Credit Card
 RMA-2465       12-May-09   Authorization Pending   JeremyM                  198.00     O-8877       INV-9261       03-Apr-09     396.00   Credit Card
 RMA-2466       12-May-09   Authorization Pending   JeremyM                  250.00     O-8368       INV-9470       08-Apr-09     250.00   Credit Card
 RMA-2470       12-May-09   Authorization Pending   JeremyM                   98.00     O-9734       INV-9945       20-Apr-09      98.00   Credit Card
 RMA-2472       12-May-09   Authorization Pending   JeremyM                  117.00     O-10183     INV-10542       30-Apr-09     117.00   Credit Card
 RMA-2473       12-May-09   Authorization Pending   JeremyM                  250.00     O-9634      INV-10644      04-May-09      250.00   Credit Card
 RMA-2474       12-May-09   Authorization Pending   JeremyM                  298.00     O-10491     INV-11153      07-May-09      298.00   Credit Card
 RMA-2475       12-May-09   Authorization Pending   JeremyM                  147.00     O-9634      INV-11124      06-May-09      147.00   Credit Card
 RMA-2496       18-May-09   Authorization Pending   JeremyM                  298.00     O-10534     INV-11291      08-May-09      298.00   Credit Card
 RMA-2506       18-May-09   Authorization Pending   JeremyM                  237.00     O-9095      INV-11039      06-May-09      237.00   Credit Card
 RMA-2507       18-May-09   Authorization Pending   JeremyM                  147.00     O-9095      INV-11142      06-May-09      147.00   Credit Card
 RMA-2508       18-May-09   Authorization Pending   JeremyM                  149.00     O-9095      INV-11065      06-May-09      149.00   Credit Card
 RMA-2509       18-May-09   Authorization Pending   JeremyM                  298.00     O-10472     INV-11022      06-May-09      298.00   Credit Card
 RMA-2510       18-May-09   Authorization Pending   JeremyM                  129.00     O-10061     INV-10959      06-May-09      129.00   Credit Card
 RMA-2512       18-May-09   Authorization Pending   JeremyM                  250.00     O-10405     INV-10719      05-May-09      250.00   Credit Card
 RMA-2513       18-May-09   Authorization Pending   JeremyM                  147.00     O-8358      INV-11108      06-May-09      147.00   Credit Card
 RMA-2519       18-May-09   Authorization Pending   JeremyM                  119.00     O-10692     INV-11408      12-May-09      119.00   Credit Card
 RMA-2520       18-May-09   Authorization Pending   JeremyM                  298.00     O-10120     INV-10356       29-Apr-09     298.00   Credit Card
 RMA-2521       18-May-09   Authorization Pending   JeremyM                  334.00     O-10199     INV-10546      01-May-09      334.00   Credit Card
 RMA-2522       18-May-09   Authorization Pending   JeremyM                  129.00     O-10406     INV-10936      06-May-09      129.00   Credit Card
 RMA-2523       18-May-09   Authorization Pending   JeremyM                   98.00     O-9347       INV-9632       13-Apr-09      98.00   Credit Card
 RMA-2524       18-May-09   Authorization Pending   JeremyM                  129.00     O-8623      INV-10988      06-May-09      129.00   Credit Card
 RMA-2526       18-May-09   Authorization Pending   JeremyM                  416.00     O-8806       INV-8962      27-Mar-09      714.00   Credit Card
 RMA-2527       18-May-09   Authorization Pending   JeremyM                  199.00     O-9895      INV-10166       27-Apr-09     615.00   Credit Card
 RMA-2530       18-May-09   Authorization Pending   JeremyM                  456.00     O-10098     INV-10351       29-Apr-09   3,717.00   Credit Card
 RMA-2531       18-May-09   Authorization Pending   JeremyM                  957.00     O-10098     INV-10351       29-Apr-09   3,717.00   Credit Card
 RMA-2536       18-May-09   Authorization Pending   JeremyM                  138.00     O-8554       INV-9740       15-Apr-09     138.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-2537       18-May-09   Authorization Pending   JeremyM                   78.00     O-8466      INV-10461       30-Apr-09       78.00   Credit Card
 RMA-2538       18-May-09   Authorization Pending   JeremyM                  298.00     O-10118     INV-10359       29-Apr-09      298.00   Credit Card
 RMA-2539       18-May-09   Authorization Pending   JeremyM                  289.00     O-10256     INV-10582      04-May-09       289.00   Credit Card
 RMA-2540       18-May-09   Authorization Pending   JeremyM                  198.00     O-9791      INV-10031       21-Apr-09      198.00   Credit Card
 RMA-2541       18-May-09   Authorization Pending   JeremyM                  156.00     O-9791      INV-10434       30-Apr-09      156.00   Credit Card
 RMA-2542       18-May-09   Authorization Pending   JeremyM                  387.00     O-10126     INV-10388       30-Apr-09      387.00   Credit Card
 RMA-2543       18-May-09   Authorization Pending   JeremyM                  129.00     O-7689      INV-10943      06-May-09       129.00   Credit Card
 RMA-2545       18-May-09   Authorization Pending   JeremyM                  298.00     O-10431     INV-10847      06-May-09       298.00   Credit Card
 RMA-2546       18-May-09   Authorization Pending   JeremyM                  351.00     O-10103     INV-10475       30-Apr-09      351.00   Credit Card
 RMA-2547       18-May-09   Authorization Pending   JeremyM                  298.00     O-10063     INV-10325       29-Apr-09      583.00   Credit Card
 RMA-2558       21-May-09   Authorization Pending   JeremyM                  178.00     O-10439     INV-10850      06-May-09       178.00   Credit Card
 RMA-2559       21-May-09   Authorization Pending   JeremyM                  129.00     O-7843      INV-10968      06-May-09       129.00   Credit Card
 RMA-2583       26-May-09   Authorization Pending   JeremyM                  414.00     O-10630     INV-11395      12-May-09       414.00   Credit Card
 RMA-2586       26-May-09   Authorization Pending   JeremyM                  345.00     O-10527     INV-11287      08-May-09       534.00   Credit Card
 RMA-2587       26-May-09   Authorization Pending   JeremyM                  258.00     O-8531      INV-10984      06-May-09       258.00   Credit Card
 RMA-2588       26-May-09   Authorization Pending   JeremyM                  147.00     O-7963      INV-11107      06-May-09       147.00   Credit Card
 RMA-2589       26-May-09   Authorization Pending   JeremyM                  119.00     O-10720     INV-11450      13-May-09       436.00   Credit Card
 RMA-2591       26-May-09   Authorization Pending   JeremyM                  237.00     O-9648      INV-11010      06-May-09       237.00   Credit Card
 RMA-2592       26-May-09   Authorization Pending   JeremyM                  149.00     O-9648      INV-11047      06-May-09       149.00   Credit Card
 RMA-2593       26-May-09   Authorization Pending   JeremyM                  228.00     O-10121     INV-10357       29-Apr-09      228.00   Credit Card
 RMA-2594       26-May-09   Authorization Pending   JeremyM                  198.00     O-7963      INV-11062      06-May-09       198.00   Credit Card
 RMA-2595       26-May-09   Authorization Pending   JeremyM                  168.00     O-8092      INV-11207      07-May-09       336.00   Credit Card
 RMA-2596       26-May-09   Authorization Pending   JeremyM                  129.00     O-8024      INV-10993      06-May-09       129.00   Credit Card
 RMA-2598       26-May-09   Authorization Pending   JeremyM                  298.00     O-10209     INV-10558      01-May-09       298.00   Credit Card
 RMA-2599       26-May-09   Authorization Pending   JeremyM                  298.00     O-10314     INV-10628      04-May-09       298.00   Credit Card
 RMA-2614       27-May-09   Authorization Pending   JeremyM                   98.00     O-10016     INV-11545      13-May-09        98.00   Credit Card
 RMA-2615       27-May-09   Authorization Pending   JeremyM                  189.00     O-10218     INV-10572      01-May-09       378.00   Credit Card
 RMA-2616       27-May-09   Authorization Pending   JeremyM                  378.00     O-10215     INV-11200      07-May-09       378.00   Credit Card
 RMA-2617       27-May-09   Authorization Pending   JeremyM                  176.25     O-9257      INV-10844      06-May-09       176.25   Credit Card
 RMA-2618       27-May-09   Authorization Pending   JeremyM                  198.00     O-9753      INV-11037      06-May-09       198.00   Credit Card
 RMA-2619       27-May-09   Authorization Pending   JeremyM                  189.00     O-9753      INV-11171      07-May-09       189.00   Credit Card
 RMA-2620       27-May-09   Authorization Pending   JeremyM                  129.00     O-9648      INV-10946      06-May-09       129.00   Credit Card
 RMA-2621       27-May-09   Authorization Pending   JeremyM                  294.00     O-10129     INV-10371       30-Apr-09      294.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-2622       27-May-09   Authorization Pending   JeremyM                  129.00     O-9724      INV-10907      06-May-09       129.00   Credit Card
 RMA-2623       27-May-09   Authorization Pending   JeremyM                  363.75     O-6998       INV-9820       16-Apr-09      363.75   Credit Card
 RMA-2624       27-May-09   Authorization Pending   JeremyM                  129.00     O-7665      INV-10967      06-May-09       129.00   Credit Card
 RMA-2625       27-May-09   Authorization Pending   JeremyM                  198.00     O-9404      INV-11196      07-May-09       198.00   Credit Card
 RMA-2626       27-May-09   Authorization Pending   JeremyM                  119.00     O-9692       INV-9913       20-Apr-09      347.00   Credit Card
 RMA-2627       27-May-09   Authorization Pending   JeremyM                  250.00     O-9032       INV-9225       03-Apr-09      748.00   Credit Card
 RMA-2628       27-May-09   Authorization Pending   JeremyM                  289.00     O-9032       INV-9514       09-Apr-09      289.00   Credit Card
 RMA-2629       27-May-09   Authorization Pending   JeremyM                  147.00     O-9253      INV-11129      06-May-09       147.00   Credit Card
 RMA-2630       27-May-09   Authorization Pending   JeremyM                  129.00     O-9032      INV-10990      06-May-09       129.00   Credit Card
 RMA-2631       27-May-09   Authorization Pending   JeremyM                  258.00     O-9253      INV-10958      06-May-09       258.00   Credit Card
 RMA-2632       27-May-09   Authorization Pending   JeremyM                  129.00     O-9032      INV-10956      06-May-09       129.00   Credit Card
 RMA-2633       27-May-09   Authorization Pending   JeremyM                  198.00     O-8092      INV-11057      06-May-09       396.00   Credit Card
 RMA-2634       27-May-09   Authorization Pending   JeremyM                  168.00     O-8092      INV-11207      07-May-09       336.00   Credit Card
 RMA-2636       27-May-09   Authorization Pending   JeremyM                  117.00     O-9174      INV-10490       30-Apr-09      117.00   Credit Card
 RMA-2637       27-May-09   Authorization Pending   JeremyM                  149.00     O-7882      INV-11087      06-May-09       149.00   Credit Card
 RMA-2640       27-May-09   Authorization Pending   JeremyM                  147.00     O-8608      INV-11115      06-May-09       147.00   Credit Card
 RMA-2646       27-May-09   Authorization Pending   JeremyM                  129.00     O-9856      INV-10919      06-May-09       129.00   Credit Card
 RMA-2647       27-May-09   Authorization Pending   JeremyM                  198.00     O-10586     INV-11357      11-May-09       198.00   Credit Card
 RMA-2648       27-May-09   Authorization Pending   JeremyM                   98.00     O-10784     INV-11546      13-May-09       316.00   Credit Card
 RMA-2650       27-May-09   Authorization Pending   JeremyM                  168.00     O-10065     INV-11269      07-May-09       168.00   Credit Card
 RMA-2651       27-May-09   Authorization Pending   JeremyM                  189.00     O-10065     INV-11424      12-May-09       189.00   Credit Card
 RMA-2652       27-May-09   Authorization Pending   JeremyM                   98.00     O-8947       INV-9126       01-Apr-09       98.00   Credit Card
 RMA-2653       27-May-09   Authorization Pending   JeremyM                  235.00     O-8937       INV-9478       08-Apr-09      235.00   Credit Card
 RMA-2654       27-May-09   Authorization Pending   JeremyM                  178.00     O-10040     INV-11297      08-May-09       178.00   Credit Card
 RMA-2655       27-May-09   Authorization Pending   JeremyM                  228.00     O-10428     INV-10848      06-May-09       391.00   Credit Card
 RMA-2657       27-May-09   Authorization Pending   JeremyM                   98.00     O-10449     INV-10863      06-May-09        98.00   Credit Card
 RMA-2660       27-May-09   Authorization Pending   JeremyM                  237.00     O-10098     INV-11020      06-May-09       237.00   Credit Card
 RMA-2661       27-May-09   Authorization Pending   JeremyM                  598.00     O-10098     INV-10769      05-May-09       598.00   Credit Card
 RMA-2663       27-May-09   Authorization Pending   JeremyM                  396.00     O-9938      INV-11227      07-May-09       396.00   Credit Card
 RMA-2664       27-May-09   Authorization Pending   JeremyM                  250.00     O-9715      INV-10641      04-May-09       250.00   Credit Card
 RMA-2665       27-May-09   Authorization Pending   JeremyM                  139.00     O-10671     INV-11387      12-May-09       635.00   Credit Card
 RMA-2666       27-May-09   Authorization Pending   JeremyM                  178.00     O-10119     INV-10362       29-Apr-09      356.00   Credit Card
 RMA-2667       27-May-09   Authorization Pending   JeremyM                  168.00     O-8163      INV-11238      07-May-09       168.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-2670       27-May-09   Authorization Pending   JeremyM                  470.00     O-9197      INV-10842      06-May-09       705.00   Credit Card
 RMA-2675       28-May-09   Authorization Pending   JeremyM                   75.00     O-4554       INV-5162      12-Dec-08        75.00   Credit Card
 RMA-2676       28-May-09   Authorization Pending   JeremyM                  470.00     O-9450      INV-10832      05-May-09       470.00   Credit Card
 RMA-2677       28-May-09   Authorization Pending   JeremyM                  336.00     O-9450      INV-11272      07-May-09       336.00   Credit Card
 RMA-2678       28-May-09   Authorization Pending   JeremyM                  156.00     O-9450      INV-10425       30-Apr-09      156.00   Credit Card
 RMA-2680       28-May-09   Authorization Pending   JeremyM                  670.00     O-11119     INV-12003      21-May-09       670.00   Credit Card
 RMA-2681       28-May-09   Authorization Pending   JeremyM                   95.00     O-9643       INV-9901       20-Apr-09      323.00   Credit Card
 RMA-2682       28-May-09   Authorization Pending   JeremyM                  448.00     O-9660       INV-9908       20-Apr-09      448.00   Credit Card
 RMA-2683       28-May-09   Authorization Pending   JeremyM                  238.00     O-10299     INV-10629      04-May-09       238.00   Credit Card
 RMA-2696       30-May-09   Authorization Pending   Cheryl                   285.00     O-10986     INV-11736      18-May-09       285.00   Credit Card
 RMA-2729       05-Jun-09   Authorization Pending   JeremyM                  238.00     O-10905     INV-11686      18-May-09       517.00   Credit Card
 RMA-2730       05-Jun-09   Authorization Pending   JeremyM                  228.00     O-11024     INV-11760      19-May-09       228.00   Credit Card
 RMA-2731       05-Jun-09   Authorization Pending   JeremyM                  198.00     O-10380     INV-10675      05-May-09       198.00   Credit Card
 RMA-2732       05-Jun-09   Authorization Pending   JeremyM                  335.00     O-8955      INV-11998      21-May-09       335.00   Credit Card
 RMA-2733       05-Jun-09   Authorization Pending   JeremyM                  335.00     O-9825      INV-11975      21-May-09       335.00   Credit Card
 RMA-2735       05-Jun-09   Authorization Pending   JeremyM                   98.00     O-10928     INV-11664      18-May-09        98.00   Credit Card
 RMA-2737       05-Jun-09   Authorization Pending   JeremyM                  250.00     O-6370       INV-6786      14-Jan-09       250.00   Credit Card
 RMA-2738       05-Jun-09   Authorization Pending   JeremyM                   95.00     O-9293      INV-11782      19-May-09        95.00   Credit Card
 RMA-2740       05-Jun-09   Authorization Pending   JeremyM                  250.00     O-10757     INV-11552      14-May-09       250.00   Credit Card
 RMA-2743       05-Jun-09   Authorization Pending   JeremyM                   29.00     O-11003     INV-11748      19-May-09        29.00   Credit Card
 RMA-2745       05-Jun-09   Authorization Pending   JeremyM                  163.00     O-10422     INV-11952      21-May-09       163.00   Credit Card
 RMA-2746       05-Jun-09   Authorization Pending   JeremyM                  250.00     O-10843     INV-11734      18-May-09       250.00   Credit Card
 RMA-2752       08-Jun-09   Authorization Pending   JeremyM                  387.00     O-10239     INV-10625      04-May-09       774.01   Credit Card
 RMA-2753       08-Jun-09   Authorization Pending   JeremyM                  235.00     O-10239     INV-10824      05-May-09       470.00   Credit Card
 RMA-2755       08-Jun-09   Authorization Pending   JeremyM                  579.00     O-10859     INV-11705      18-May-09       579.00   Credit Card
 RMA-2756       08-Jun-09   Authorization Pending   JeremyM                  238.00     O-10983     INV-11776      19-May-09       238.00   Credit Card
 RMA-2757       08-Jun-09   Authorization Pending   JeremyM                  178.00     O-10983     INV-11731      18-May-09       178.00   Credit Card
 RMA-2758       08-Jun-09   Authorization Pending   JeremyM                  198.00     O-11159     INV-11933      21-May-09       198.00   Credit Card
 RMA-2759       08-Jun-09   Authorization Pending   JeremyM                   98.00     O-10531     INV-11872      20-May-09       875.00   Credit Card
 RMA-2760       08-Jun-09   Authorization Pending   JeremyM                  117.00     O-11231     INV-12090      22-May-09       234.00   Credit Card
 RMA-2763       08-Jun-09   Authorization Pending   JeremyM                  156.00     O-10845     INV-11628      15-May-09       312.00   Credit Card
 RMA-2764       08-Jun-09   Authorization Pending   JeremyM                  198.00     O-10790     INV-11566      14-May-09       376.00   Credit Card
 RMA-2768       08-Jun-09   Authorization Pending   JeremyM                  139.00     O-8229      INV-12021      21-May-09       139.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-2769       08-Jun-09   Authorization Pending   JeremyM                  887.00     O-10959     INV-11719      18-May-09      887.00   Credit Card
 RMA-2787       10-Jun-09   Authorization Pending   JeremyM                   63.00     O-6971       INV-7471      29-Jan-09      272.00   Credit Card
 RMA-2788       10-Jun-09   Authorization Pending   JeremyM                   79.00     O-6570       INV-7051      19-Jan-09      158.00   Credit Card
 RMA-2798       11-Jun-09   Authorization Pending   JeremyM                   29.00     O-10857     INV-11615      15-May-09       29.00   Credit Card
 RMA-2800       11-Jun-09   Authorization Pending   JeremyM                  298.00     O-11696     INV-12895      02-Jun-09      664.00   Credit Card
 RMA-2803       11-Jun-09   Authorization Pending   JeremyM                  198.00     O-10216     INV-10562      01-May-09      198.00   Credit Card
 RMA-2804       11-Jun-09   Authorization Pending   JeremyM                  298.00     O-11569     INV-12481      26-May-09      298.00   Credit Card
 RMA-2805       11-Jun-09   Authorization Pending   JeremyM                  168.00     O-9512      INV-11260      07-May-09      336.00   Credit Card
 RMA-2806       11-Jun-09   Authorization Pending   JeremyM                  117.00     O-9512      INV-10527       30-Apr-09     117.00   Credit Card
 RMA-2807       11-Jun-09   Authorization Pending   JeremyM                  483.00     O-9512       INV-9789       15-Apr-09     483.00   Credit Card
 RMA-2809       11-Jun-09   Authorization Pending   JeremyM                  298.00     O-11059     INV-11821      19-May-09      327.00   Credit Card
 RMA-2810       11-Jun-09   Authorization Pending   JeremyM                  234.00     O-11182     INV-11909      21-May-09      234.00   Credit Card
 RMA-2811       11-Jun-09   Authorization Pending   JeremyM                  237.00     O-10292     INV-10595      04-May-09      237.00   Credit Card
 RMA-2812       11-Jun-09   Authorization Pending   JeremyM                   78.00     O-10115     INV-10449       30-Apr-09     156.00   Credit Card
 RMA-2815       11-Jun-09   Authorization Pending   JeremyM                  163.00     O-10614     INV-12043      21-May-09      163.00   Credit Card
 RMA-2816       11-Jun-09   Authorization Pending   JeremyM                  237.00     O-8617      INV-11034      06-May-09      237.00   Credit Card
 RMA-2817       11-Jun-09   Authorization Pending   JeremyM                  157.00     O-7688      INV-12651      29-May-09      314.00   Credit Card
 RMA-2818       11-Jun-09   Authorization Pending   JeremyM                  157.00     O-7688      INV-12651      29-May-09      314.00   Credit Card
 RMA-2819       11-Jun-09   Authorization Pending   JeremyM                  275.00     O-8368      INV-10825      05-May-09      275.00   Credit Card
 RMA-2820       11-Jun-09   Authorization Pending   JeremyM                  235.00     O-11887     INV-12904      03-Jun-09      235.00   Credit Card
 RMA-2821       11-Jun-09   Authorization Pending   JeremyM                   98.00     O-10313     INV-10619      04-May-09       98.00   Credit Card
 RMA-2822       11-Jun-09   Authorization Pending   JeremyM                  138.00     O-10770     INV-11524      13-May-09      138.00   Credit Card
 RMA-2824       11-Jun-09   Authorization Pending   JeremyM                  387.00     O-11221     INV-12071      22-May-09      387.00   Credit Card
 RMA-2836       15-Jun-09   Authorization Pending   JeremyM                1,395.00     O-10585     INV-11829      20-May-09    1,395.00   Credit Card
 RMA-2837       15-Jun-09   Authorization Pending   JeremyM                1,407.00     O-11801     INV-12826      02-Jun-09    1,407.00   Credit Card
 RMA-2839       15-Jun-09   Authorization Pending   JeremyM                  326.00     O-9450      INV-12042      21-May-09      326.00   Credit Card
 RMA-2840       15-Jun-09   Authorization Pending   JeremyM                  314.00     O-9450      INV-12682      29-May-09      314.00   Credit Card
 RMA-2841       15-Jun-09   Authorization Pending   JeremyM                  117.00     O-11318     INV-12416      26-May-09      117.00   Credit Card
 RMA-2842       15-Jun-09   Authorization Pending   JeremyM                   98.00     O-11999     INV-13042      05-Jun-09       98.00   Credit Card
 RMA-2843       15-Jun-09   Authorization Pending   JeremyM                  139.00     O-11021     INV-12052      21-May-09      139.00   Credit Card
 RMA-2846       15-Jun-09   Authorization Pending   JeremyM                  195.00     O-11386     INV-12414      26-May-09      383.00   Credit Card
 RMA-2849       15-Jun-09   Authorization Pending   JeremyM                  298.00     O-11199     INV-12089      22-May-09      298.00   Credit Card
 RMA-2852       15-Jun-09   Authorization Pending   JeremyM                3,295.00     O-11518     INV-12437      26-May-09    4,193.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-2856       15-Jun-09   Authorization Pending   JeremyM                  198.00     O-11635     INV-12567      28-May-09       198.00   Credit Card
 RMA-2857       15-Jun-09   Authorization Pending   JeremyM                  157.00     O-10199     INV-12693      29-May-09       157.00   Credit Card
 RMA-2860       15-Jun-09   Authorization Pending   JeremyM                  158.00     O-11966     INV-12981      04-Jun-09       158.00   Credit Card
 RMA-2876       22-Jun-09   Authorization Pending   JeremyM                  178.00     O-11796     INV-12802      01-Jun-09       178.00   Credit Card
 RMA-2877       22-Jun-09   Authorization Pending   JeremyM                  247.00     O-10068     INV-10321       29-Apr-09      247.00   Credit Card
 RMA-2878       22-Jun-09   Authorization Pending   JeremyM                  139.00     O-12083     INV-13140      08-Jun-09       475.00   Credit Card
 RMA-2879       22-Jun-09   Authorization Pending   JeremyM                  398.00     O-9277      INV-13034      05-Jun-09       398.00   Credit Card
 RMA-2880       22-Jun-09   Authorization Pending   JeremyM                  320.00     O-12238     INV-13314      10-Jun-09       320.00   Credit Card
 RMA-2882       22-Jun-09   Authorization Pending   JeremyM                   98.00     O-10946     INV-11717      18-May-09        98.00   Credit Card
 RMA-2883       22-Jun-09   Authorization Pending   JeremyM                  398.00     O-8249      INV-13032      05-Jun-09       398.00   Credit Card
 RMA-2884       22-Jun-09   Authorization Pending   JeremyM                  198.00     O-9759      INV-11240      07-May-09       198.00   Credit Card
 RMA-2887       22-Jun-09   Authorization Pending   JeremyM                  235.00     O-8722      INV-12920      03-Jun-09       235.00   Credit Card
 RMA-2891       22-Jun-09   Authorization Pending   JeremyM                   95.00     O-11880     INV-12903      03-Jun-09       370.00   Credit Card
 RMA-2893       22-Jun-09   Authorization Pending   JeremyM                  535.00     O-11657     INV-12582      28-May-09       535.00   Credit Card
 RMA-2895       22-Jun-09   Authorization Pending   JeremyM                   98.00     O-10169     INV-10416       30-Apr-09      196.00   Credit Card
 RMA-2899       22-Jun-09   Authorization Pending   JeremyM                  348.00     O-12309     INV-13380      11-Jun-09       348.00   Credit Card
 RMA-2900       22-Jun-09   Authorization Pending   JeremyM                  147.00     O-7730      INV-11123      06-May-09       147.00   Credit Card
 RMA-2901       22-Jun-09   Authorization Pending   JeremyM                  398.00     O-12457     INV-13630      15-Jun-09       587.00   Credit Card
 RMA-2903       22-Jun-09   Authorization Pending   JeremyM                  189.00     O-8275      INV-11423      12-May-09       189.00   Credit Card
 RMA-2904       22-Jun-09   Authorization Pending   JeremyM                  198.00     O-8275       INV-9256       03-Apr-09      198.00   Credit Card
 RMA-2905       22-Jun-09   Authorization Pending   JeremyM                  298.00     O-8275      INV-10021       21-Apr-09      298.00   Credit Card
 RMA-2906       22-Jun-09   Authorization Pending   JeremyM                  218.00     O-8275       INV-8544      16-Mar-09       218.00   Credit Card
 RMA-2907       22-Jun-09   Authorization Pending   JeremyM                  178.00     O-12336     INV-13412      11-Jun-09       178.00   Credit Card
 RMA-2911       22-Jun-09   Authorization Pending   JeremyM                  195.00     O-11942     INV-12987      04-Jun-09       195.00   Credit Card
 RMA-2912       22-Jun-09   Authorization Pending   JeremyM                  247.00     O-7919      INV-12842      02-Jun-09       247.00   Credit Card
 RMA-2913       22-Jun-09   Authorization Pending   JeremyM                  314.00     O-9512      INV-12669      29-May-09       314.00   Credit Card
 RMA-2914       22-Jun-09   Authorization Pending   JeremyM                  298.00     O-8090      INV-10049       21-Apr-09      298.00   Credit Card
 RMA-2915       22-Jun-09   Authorization Pending   JeremyM                  198.00     O-8134      INV-11187      07-May-09       198.00   Credit Card
 RMA-2916       22-Jun-09   Authorization Pending   JeremyM                  289.00     O-10920     INV-13393      11-Jun-09       289.00   Credit Card
 RMA-2918       22-Jun-09   Authorization Pending   JeremyM                  139.00     O-11938     INV-12967      04-Jun-09       139.00   Credit Card
 RMA-2919       22-Jun-09   Authorization Pending   JeremyM                  504.00     O-9102      INV-11188      07-May-09       504.00   Credit Card
 RMA-2920       22-Jun-09   Authorization Pending   JeremyM                  447.00     O-11406     INV-12403      26-May-09       447.00   Credit Card
 RMA-2925       22-Jun-09   Authorization Pending   JeremyM                  198.00     O-11711     INV-12750      01-Jun-09       198.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-2927       22-Jun-09   Authorization Pending   JeremyM                  238.00     O-9315      INV-11803      19-May-09      238.00   Credit Card
 RMA-2928       22-Jun-09   Authorization Pending   JeremyM                  750.00     O-9705      INV-13075      05-Jun-09      750.00   Credit Card
 RMA-2930       23-Jun-09   Authorization Pending   JeremyM                  228.00     O-8792       INV-8949      26-Mar-09      228.00   Credit Card
 RMA-2933       23-Jun-09   Authorization Pending   JeremyM                  178.00     O-10847     INV-11627      15-May-09      643.00   Credit Card
 RMA-2935       23-Jun-09   Authorization Pending   JeremyM                   98.00     O-10814     INV-11583      14-May-09       98.00   Credit Card
 RMA-2936       23-Jun-09   Authorization Pending   JeremyM                  198.00     O-11964     INV-12982      04-Jun-09      198.00   Credit Card
 RMA-2937       23-Jun-09   Authorization Pending   JeremyM                   98.00     O-9150       INV-9407       07-Apr-09     355.00   Credit Card
 RMA-2938       23-Jun-09   Authorization Pending   JeremyM                  787.00     O-11511     INV-12782      01-Jun-09      976.00   Credit Card
 RMA-2943       24-Jun-09   Authorization Pending   JeremyM                  427.00     O-10878     INV-11647      15-May-09    1,154.00   Credit Card
 RMA-2944       24-Jun-09   Authorization Pending   JeremyM                  129.00     O-10878     INV-11871      20-May-09      129.00   Credit Card
 RMA-2945       24-Jun-09   Authorization Pending   JeremyM                  398.00     O-9307      INV-13037      05-Jun-09      398.00   Credit Card
 RMA-2947       24-Jun-09   Authorization Pending   JeremyM                  228.00     O-12054     INV-13111      08-Jun-09      228.00   Credit Card
 RMA-2948       24-Jun-09   Authorization Pending   JeremyM                   19.00     O-7908       INV-8231      11-Mar-09       52.00   Credit Card
 RMA-2949       24-Jun-09   Authorization Pending   JeremyM                  178.00     O-12470     INV-13617      15-Jun-09      416.00   Credit Card
 RMA-2950       24-Jun-09   Authorization Pending   JeremyM                  119.00     O-12319     INV-13396      11-Jun-09      119.00   Credit Card
 RMA-2951       24-Jun-09   Authorization Pending   JeremyM                  298.00     O-12358     INV-13429      12-Jun-09      298.00   Credit Card
 RMA-2952       24-Jun-09   Authorization Pending   JeremyM                  178.00     O-12312     INV-13556      12-Jun-09      178.00   Credit Card
 RMA-2953       24-Jun-09   Authorization Pending   JeremyM                  317.00     O-11241     INV-12088      22-May-09      724.00   Credit Card
 RMA-2957       24-Jun-09   Authorization Pending   JeremyM                  327.00     O-12103     INV-13136      08-Jun-09      327.00   Credit Card
 RMA-2959       24-Jun-09   Authorization Pending   JeremyM                  163.00     O-12339     INV-13415      12-Jun-09      894.00   Credit Card
 RMA-2960       24-Jun-09   Authorization Pending   JeremyM                  247.00     O-11119     INV-12860      02-Jun-09      247.00   Credit Card
 RMA-2961       24-Jun-09   Authorization Pending   JeremyM                  189.00     O-12457     INV-13630      15-Jun-09      587.00   Credit Card
 RMA-2962       24-Jun-09   Authorization Pending   JeremyM                  198.00     O-11119     INV-13767      17-Jun-09      198.00   Credit Card
 RMA-2965       24-Jun-09   Authorization Pending   JeremyM                  289.00     O-10859     INV-13471      12-Jun-09      289.00   Credit Card
 RMA-2968       24-Jun-09   Authorization Pending   JeremyM                  289.00     O-9645      INV-13474      12-Jun-09      289.00   Credit Card
 RMA-2969       24-Jun-09   Authorization Pending   JeremyM                  398.00     O-10085     INV-13017      05-Jun-09      398.00   Credit Card
 RMA-2971       24-Jun-09   Authorization Pending   JeremyM                  395.00     O-9983      INV-12583      28-May-09      395.00   Credit Card
 RMA-2972       24-Jun-09   Authorization Pending   JeremyM                  113.00     O-9983      INV-12786      01-Jun-09      301.00   Credit Card
 RMA-2977       28-Jun-09   Authorization Pending   Cheryl                   129.00     O-11745     INV-13488      12-Jun-09      129.00   Credit Card
 RMA-2978       28-Jun-09   Authorization Pending   Cheryl                   195.00     O-11745     INV-13906      18-Jun-09      195.00   Credit Card
 RMA-2998       30-Jun-09   Authorization Pending   JeremyM                  139.00     O-12573     INV-13828      17-Jun-09      139.00   Credit Card
 RMA-2999       30-Jun-09   Authorization Pending   JeremyM                  333.75     O-12667     INV-14151      22-Jun-09      333.75   Credit Card
 RMA-3002       30-Jun-09   Authorization Pending   JeremyM                  198.00     O-12659     INV-14107      22-Jun-09      753.00   Credit Card

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   RMA Num      RMA Date            RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-3004       30-Jun-09    Authorization Pending   JeremyM                  298.00     O-11742     INV-12899      03-Jun-09      298.00   Credit Card
 RMA-3006       30-Jun-09    Authorization Pending   JeremyM                  298.00     O-10932     INV-11725      18-May-09    1,301.00   Credit Card
 RMA-3007       30-Jun-09    Authorization Pending   JeremyM                  398.00     O-8079      INV-13021      05-Jun-09      398.00   Credit Card
 RMA-3009       30-Jun-09    Authorization Pending   JeremyM                   95.00     O-10641     INV-11773      19-May-09       95.00   Credit Card
 RMA-3014       30-Jun-09    Authorization Pending   JeremyM                  289.00     O-9839      INV-13492      12-Jun-09      289.00   Credit Card
 RMA-3015       30-Jun-09    Authorization Pending   JeremyM                  598.00     O-12093     INV-13139      08-Jun-09      598.00   Credit Card
 RMA-3016       30-Jun-09    Authorization Pending   JeremyM                  289.00     O-11113     INV-13882      18-Jun-09      578.00   Credit Card
 RMA-3017       30-Jun-09    Authorization Pending   JeremyM                  335.00     O-12310     INV-13373      11-Jun-09      335.00   Credit Card
 RMA-3021       30-Jun-09    Authorization Pending   JeremyM                  139.00     O-12080     INV-13132      08-Jun-09      139.00   Credit Card
 RMA-3022       30-Jun-09    Authorization Pending   JeremyM                  250.00     O-12080     INV-13162      08-Jun-09      250.00   Credit Card
 RMA-3023       30-Jun-09    Authorization Pending   JeremyM                  228.00     O-12316     INV-13403      11-Jun-09      228.00   Credit Card
 RMA-3024       30-Jun-09    Authorization Pending   JeremyM                  129.00     O-10951     INV-13530      12-Jun-09      129.00   Credit Card
 RMA-3027       30-Jun-09    Authorization Pending   JeremyM                  298.00     O-12449     INV-13611      15-Jun-09      298.00   Credit Card
 RMA-3029       30-Jun-09    Authorization Pending   JeremyM                  435.00     O-10979     INV-11724      18-May-09      435.00   Credit Card
 RMA-3031       30-Jun-09    Authorization Pending   JeremyM                  398.00     O-7058       INV-8071      05-Mar-09      398.00   Credit Card
 RMA-3032       30-Jun-09    Authorization Pending   JeremyM                  289.00     O-12033     INV-13490      12-Jun-09      289.00   Credit Card
 RMA-3077        06-Jul-09   Authorization Pending   Cheryl                   388.00     O-9634      INV-14474      29-Jun-09      388.00   Credit Card
 RMA-3084        07-Jul-09   Authorization Pending   Cheryl                     0.04     O-12863     INV-14405      29-Jun-09        0.04   Cash
 RMA-3096        13-Jul-09   Authorization Pending   JeremyM                  147.00     O-12542     INV-13733      17-Jun-09      147.00   Credit Card
 RMA-3097        13-Jul-09   Authorization Pending   JeremyM                  335.00     O-11183     INV-14662       02-Jul-09     335.00   Credit Card
 RMA-3100        13-Jul-09   Authorization Pending   JeremyM                  289.00     O-10561     INV-13388      11-Jun-09      289.00   Credit Card
 RMA-3101        13-Jul-09   Authorization Pending   JeremyM                  129.00     O-10678     INV-13072      05-Jun-09      129.00   Credit Card
 RMA-3102        13-Jul-09   Authorization Pending   JeremyM                  195.00     O-10691     INV-13951      18-Jun-09      195.00   Credit Card
 RMA-3103        13-Jul-09   Authorization Pending   JeremyM                  156.00     O-10679     INV-11380      12-May-09      285.00   Credit Card
 RMA-3104        13-Jul-09   Authorization Pending   JeremyM                   98.00     O-12694     INV-14571       01-Jul-09      98.00   Credit Card
 RMA-3105        13-Jul-09   Authorization Pending   JeremyM                  198.00     O-12954     INV-14654       02-Jul-09     393.00   Credit Card
 RMA-3106        13-Jul-09   Authorization Pending   JeremyM                  188.00     O-9866      INV-14388      26-Jun-09      188.00   Credit Card
 RMA-3107        13-Jul-09   Authorization Pending   JeremyM                   86.00     O-12820     INV-14308      26-Jun-09       86.00   Credit Card
 RMA-3110        13-Jul-09   Authorization Pending   JeremyM                  157.00     O-12879     INV-14499      29-Jun-09      157.00   Credit Card
 RMA-3111        13-Jul-09   Authorization Pending   JeremyM                   78.00     O-10629     INV-11641      15-May-09      195.00   Credit Card
 RMA-3112        13-Jul-09   Authorization Pending   JeremyM                  218.00     O-11184     INV-13231      09-Jun-09      218.00   Credit Card
 RMA-3113        13-Jul-09   Authorization Pending   JeremyM                  258.00     O-9131      INV-10953      06-May-09      258.00   Credit Card
 RMA-3114        13-Jul-09   Authorization Pending   JeremyM                  149.00     O-9131      INV-11064      06-May-09      149.00   Credit Card

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   RMA Num      RMA Date            RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-3115        13-Jul-09   Authorization Pending   JeremyM                1,615.00     O-12733     INV-14165      23-Jun-09    1,679.00   Credit Card
 RMA-3116        13-Jul-09   Authorization Pending   JeremyM                  188.00     O-12502     INV-14385      26-Jun-09      188.00   Credit Card
 RMA-3117        13-Jul-09   Authorization Pending   JeremyM                  237.00     O-12771     INV-14233      24-Jun-09      454.00   Credit Card
 RMA-3118        13-Jul-09   Authorization Pending   JeremyM                  198.00     O-12649     INV-13976      19-Jun-09      198.00   Credit Card
 RMA-3120        13-Jul-09   Authorization Pending   JeremyM                   32.00     O-12484     INV-13639      16-Jun-09       32.00   Credit Card
 RMA-3122        13-Jul-09   Authorization Pending   JeremyM                  195.00     O-12381     INV-13931      18-Jun-09      195.00   Credit Card
 RMA-3123        13-Jul-09   Authorization Pending   JeremyM                  157.00     O-10619     INV-12698      29-May-09      157.00   Credit Card
 RMA-3124        13-Jul-09   Authorization Pending   JeremyM                  117.00     O-8131      INV-10539       30-Apr-09     117.00   Credit Card
 RMA-3125        13-Jul-09   Authorization Pending   JeremyM                  139.00     O-12522     INV-13694      16-Jun-09      139.00   Credit Card
 RMA-3127        13-Jul-09   Authorization Pending   JeremyM                  163.00     O-10149     INV-12009      21-May-09      163.00   Credit Card
 RMA-3128        13-Jul-09   Authorization Pending   JeremyM                  119.00     O-7999       INV-8284      12-Mar-09      119.00   Credit Card
 RMA-3129        13-Jul-09   Authorization Pending   JeremyM                  198.00     O-11733     INV-14281      25-Jun-09      198.00   Credit Card
 RMA-3131        13-Jul-09   Authorization Pending   JeremyM                  436.00     O-10314     INV-13241      09-Jun-09      436.00   Credit Card
 RMA-3132        13-Jul-09   Authorization Pending   JeremyM                  198.00     O-12282     INV-13363      11-Jun-09      198.00   Credit Card
 RMA-3135        13-Jul-09   Authorization Pending   JeremyM                  289.00     O-10380     INV-13890      18-Jun-09      289.00   Credit Card
 RMA-3136        13-Jul-09   Authorization Pending   JeremyM                  289.00     O-9973      INV-13866      18-Jun-09      289.00   Credit Card
 RMA-3137        13-Jul-09   Authorization Pending   JeremyM                  289.00     O-11853     INV-13894      18-Jun-09      289.00   Credit Card
 RMA-3138        13-Jul-09   Authorization Pending   JeremyM                  258.00     O-12237     INV-13494      12-Jun-09      258.00   Credit Card
 RMA-3139        13-Jul-09   Authorization Pending   JeremyM                  239.00     O-12612     INV-13901      18-Jun-09      478.00   Credit Card
 RMA-3140        13-Jul-09   Authorization Pending   JeremyM                  190.00     O-12455     INV-13635      15-Jun-09      190.00   Credit Card
 RMA-3141        13-Jul-09   Authorization Pending   JeremyM                  148.50     O-8791      INV-14559       01-Jul-09     148.50   Credit Card
 RMA-3142        13-Jul-09   Authorization Pending   JeremyM                  139.00     O-9629      INV-12053      21-May-09      139.00   Credit Card
 RMA-3143        13-Jul-09   Authorization Pending   JeremyM                  598.00     O-10662     INV-11402      12-May-09      598.00   Credit Card
 RMA-3144        13-Jul-09   Authorization Pending   JeremyM                  289.00     O-9252      INV-13485      12-Jun-09      289.00   Credit Card
 RMA-3145        13-Jul-09   Authorization Pending   JeremyM                  247.00     O-12931     INV-14615       01-Jul-09     247.00   Credit Card
 RMA-3146        15-Jul-09   Authorization Pending   JeremyM                  298.00     O-12521     INV-14511      29-Jun-09      298.00   Credit Card
 RMA-3159        17-Jul-09   Authorization Pending   JeremyM                  196.00     O-13024     INV-14766       07-Jul-09     805.00   Credit Card
 RMA-3169        17-Jul-09   Authorization Pending   JeremyM                  178.00     O-9186       INV-9447       08-Apr-09     178.00   Credit Card
 RMA-3193        20-Jul-09   Authorization Pending   JeremyM                  178.00     O-11082     INV-13282      09-Jun-09      178.00   Credit Card
 RMA-3194        20-Jul-09   Authorization Pending   JeremyM                  335.00     O-11082     INV-14682       02-Jul-09     335.00   Credit Card
 RMA-3195        20-Jul-09   Authorization Pending   JeremyM                  198.00     O-12619     INV-14073      19-Jun-09      416.00   Credit Card
 RMA-3196        20-Jul-09   Authorization Pending   JeremyM                  218.00     O-12619     INV-14073      19-Jun-09      416.00   Credit Card
 RMA-3197        20-Jul-09   Authorization Pending   JeremyM                  195.00     O-11027     INV-13937      18-Jun-09      195.00   Credit Card

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   RMA Num      RMA Date            RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-3198        20-Jul-09   Authorization Pending   JeremyM                  251.25     O-12705     INV-14110      22-Jun-09      251.25   Credit Card
 RMA-3200        20-Jul-09   Authorization Pending   JeremyM                   29.00     O-12372     INV-13477      12-Jun-09       29.00   Credit Card
 RMA-3201        20-Jul-09   Authorization Pending   JeremyM                  289.00     O-10216     INV-13391      11-Jun-09      289.00   Credit Card
 RMA-3202        20-Jul-09   Authorization Pending   JeremyM                  674.00     O-12209     INV-13288      09-Jun-09      674.00   Credit Card
 RMA-3203        20-Jul-09   Authorization Pending   JeremyM                  258.00     O-12081     INV-13184      08-Jun-09      592.00   Credit Card
 RMA-3204        20-Jul-09   Authorization Pending   JeremyM                  157.00     O-13039     INV-14754       07-Jul-09     157.00   Credit Card
 RMA-3205        20-Jul-09   Authorization Pending   JeremyM                  228.00     O-12968     INV-14695       03-Jul-09     228.00   Credit Card
 RMA-3206        20-Jul-09   Authorization Pending   JeremyM                  275.00     O-12393     INV-13582      15-Jun-09      307.00   Credit Card
 RMA-3207        20-Jul-09   Authorization Pending   JeremyM                  333.75     O-10125     INV-14065      19-Jun-09      333.75   Credit Card
 RMA-3213        22-Jul-09   Authorization Pending   JeremyM                  388.00     O-11512     INV-14480      29-Jun-09      388.00   Credit Card
 RMA-3214        22-Jul-09   Authorization Pending   JeremyM                   86.00     O-12926     INV-14603       01-Jul-09      86.00   Credit Card
 RMA-3217        22-Jul-09   Authorization Pending   JeremyM                  260.00     O-12596     INV-13846      18-Jun-09      260.00   Credit Card
 RMA-3218        22-Jul-09   Authorization Pending   JeremyM                  188.00     O-11549     INV-14391      26-Jun-09      188.00   Credit Card
 RMA-3219        22-Jul-09   Authorization Pending   JeremyM                  289.00     O-11525     INV-13444      12-Jun-09      289.00   Credit Card
 RMA-3220        22-Jul-09   Authorization Pending   JeremyM                  384.00     O-10939     INV-14141      22-Jun-09      384.00   Credit Card
 RMA-3221        22-Jul-09   Authorization Pending   JeremyM                  195.00     O-11831     INV-13927      18-Jun-09      393.00   Credit Card
 RMA-3222        22-Jul-09   Authorization Pending   JeremyM                  178.00     O-11664     INV-12595      28-May-09      383.00   Credit Card
 RMA-3223        22-Jul-09   Authorization Pending   JeremyM                  188.00     O-12881     INV-14500      29-Jun-09    1,209.00   Credit Card
 RMA-3224        22-Jul-09   Authorization Pending   JeremyM                  178.00     O-12825     INV-14323      26-Jun-09      423.00   Credit Card
 RMA-3226        22-Jul-09   Authorization Pending   JeremyM                  198.00     O-12015     INV-13085      05-Jun-09      387.00   Credit Card
 RMA-3228        22-Jul-09   Authorization Pending   JeremyM                  195.00     O-10661     INV-13924      18-Jun-09      195.00   Credit Card
 RMA-3237        24-Jul-09   Authorization Pending   JeremyM                  238.00     O-8914       INV-9112      31-Mar-09      238.00   Credit Card
 RMA-3242        24-Jul-09   Authorization Pending   JeremyM                  456.00     O-12891     INV-14531      30-Jun-09      456.00   Credit Card
 RMA-3244        24-Jul-09   Authorization Pending   JeremyM                  178.00     O-9387      INV-15021       13-Jul-09     178.00   Credit Card
 RMA-3245        24-Jul-09   Authorization Pending   JeremyM                  100.00     O-13209     INV-15137       16-Jul-09     376.00   Credit Card
 RMA-3246        24-Jul-09   Authorization Pending   JeremyM                  250.00     O-13068     INV-15046       13-Jul-09     250.00   Credit Card
 RMA-3247        24-Jul-09   Authorization Pending   JeremyM                  163.00     O-13196     INV-14987       13-Jul-09     195.00   Credit Card
 RMA-3248        24-Jul-09   Authorization Pending   JeremyM                   98.00     O-10961     INV-14060      19-Jun-09       98.00   Credit Card
 RMA-3249        24-Jul-09   Authorization Pending   JeremyM                   98.00     O-13026     INV-14763       07-Jul-09      98.00   Credit Card
 RMA-3250        24-Jul-09   Authorization Pending   JeremyM                  218.00     O-13153     INV-14903       10-Jul-09     316.00   Credit Card
 RMA-3251        24-Jul-09   Authorization Pending   JeremyM                  163.00     O-12462     INV-13616      15-Jun-09      163.00   Credit Card
 RMA-3252        24-Jul-09   Authorization Pending   JeremyM                  168.00     O-11223     INV-12775      01-Jun-09      168.00   Credit Card
 RMA-3253        24-Jul-09   Authorization Pending   JeremyM                   86.00     O-12927     INV-14602       01-Jul-09      86.00   Credit Card

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   RMA Num      RMA Date            RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-3258        24-Jul-09   Authorization Pending   JeremyM                  768.00     O-13309     INV-15063       14-Jul-09     784.00   Credit Card
 RMA-3262        24-Jul-09   Authorization Pending   JeremyM                  289.00     O-10662     INV-13442      12-Jun-09      289.00   Credit Card
 RMA-3264        24-Jul-09   Authorization Pending   JeremyM                  461.00     O-11247     INV-12113      22-May-09      461.00   Credit Card
 RMA-3265        24-Jul-09   Authorization Pending   JeremyM                  335.00     O-11247     INV-14672       02-Jul-09     335.00   Credit Card
 RMA-3268        24-Jul-09   Authorization Pending   JeremyM                  198.00     O-13075     INV-14804       08-Jul-09     198.00   Credit Card
 RMA-3269        24-Jul-09   Authorization Pending   JeremyM                  195.00     O-9183      INV-13918      18-Jun-09      195.00   Credit Card
 RMA-3271        24-Jul-09   Authorization Pending   JeremyM                  147.00     O-9969      INV-11122      06-May-09      147.00   Credit Card
 RMA-3287        29-Jul-09   Authorization Pending   JeremyM                  326.00     O-13326     INV-15069       14-Jul-09     326.00   Credit Card
 RMA-3290        29-Jul-09   Authorization Pending   JeremyM                  196.00     O-13124     INV-14869       09-Jul-09     196.00   Credit Card
 RMA-3294        29-Jul-09   Authorization Pending   JeremyM                  178.00     O-13130     INV-14882       09-Jul-09     178.00   Credit Card
 RMA-3297        29-Jul-09   Authorization Pending   JeremyM                  204.00     O-13348     INV-15190       17-Jul-09     302.00   Credit Card
 RMA-3298        29-Jul-09   Authorization Pending   JeremyM                  178.00     O-8859      INV-14989       13-Jul-09     178.00   Credit Card
 RMA-3299        29-Jul-09   Authorization Pending   JeremyM                  218.00     O-13191     INV-14964       13-Jul-09     218.00   Credit Card
 RMA-3300        29-Jul-09   Authorization Pending   JeremyM                  495.00     O-12347     INV-13428      12-Jun-09      495.00   Credit Card
 RMA-3301        29-Jul-09   Authorization Pending   JeremyM                   98.00     O-11717     INV-12743      01-Jun-09       98.00   Credit Card
 RMA-3313        29-Jul-09   Authorization Pending   JeremyM                  550.00     O-12557     INV-14686       02-Jul-09     739.00   Credit Card
 RMA-3315        29-Jul-09   Authorization Pending   JeremyM                  470.00     O-13471     INV-15221       17-Jul-09     470.00   Credit Card
 RMA-3346       06-Aug-09    Authorization Pending   JeremyM                  358.00     O-13214     INV-15012       13-Jul-09     358.00   Credit Card
 RMA-3349       06-Aug-09    Authorization Pending   JeremyM                   30.00     O-13829     INV-15728       28-Jul-09      30.00   Credit Card
 RMA-3350       06-Aug-09    Authorization Pending   JeremyM                  147.00     O-13784     INV-15662       27-Jul-09     147.00   Credit Card
 RMA-3352       06-Aug-09    Authorization Pending   JeremyM                  289.00     O-10215     INV-13462      12-Jun-09      289.00   Credit Card
 RMA-3353       06-Aug-09    Authorization Pending   JeremyM                1,299.00     O-13203     INV-14981       13-Jul-09   1,299.00   Credit Card
 RMA-3354       06-Aug-09    Authorization Pending   JeremyM                  470.00     O-13276     INV-15384       21-Jul-09     470.00   Credit Card
 RMA-3356       06-Aug-09    Authorization Pending   JeremyM                1,332.00     O-13589     INV-15310       20-Jul-09   1,332.00   Credit Card
 RMA-3357       06-Aug-09    Authorization Pending   JeremyM                  998.00     O-13514     INV-15302       20-Jul-09   1,582.00   Credit Card
 RMA-3358       06-Aug-09    Authorization Pending   JeremyM                  387.00     O-13711     INV-15484       24-Jul-09     387.00   Credit Card
 RMA-3359       06-Aug-09    Authorization Pending   JeremyM                  387.00     O-13458     INV-15205       17-Jul-09     387.00   Credit Card
 RMA-3360       06-Aug-09    Authorization Pending   JeremyM                  717.00     O-13890     INV-15749       28-Jul-09     717.00   Credit Card
 RMA-3361       06-Aug-09    Authorization Pending   JeremyM                  289.00     O-13316     INV-15469       23-Jul-09     289.00   Credit Card
 RMA-3362       06-Aug-09    Authorization Pending   JeremyM                   86.00     O-13387     INV-15499       24-Jul-09      86.00   Credit Card
 RMA-3363       06-Aug-09    Authorization Pending   JeremyM                  247.00     O-13025     INV-14756       07-Jul-09     247.00   Credit Card
 RMA-3364       06-Aug-09    Authorization Pending   JeremyM                  750.00     O-9365      INV-15188       17-Jul-09     750.00   Credit Card
 RMA-3370       06-Aug-09    Authorization Pending   JeremyM                  526.00     O-13152     INV-14905       10-Jul-09     972.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-3374       06-Aug-09   Authorization Pending   JeremyM                  289.00     O-13473     INV-15402       21-Jul-09      289.00   Credit Card
 RMA-3375       06-Aug-09   Authorization Pending   JeremyM                  178.00     O-10999     INV-13281      09-Jun-09       178.00   Credit Card
 RMA-3376       06-Aug-09   Authorization Pending   JeremyM                  198.00     O-10782     INV-11537      13-May-09       976.00   Credit Card
 RMA-3378       06-Aug-09   Authorization Pending   JeremyM                  189.00     O-13607     INV-15349       20-Jul-09      189.00   Credit Card
 RMA-3381       06-Aug-09   Authorization Pending   JeremyM                  333.00     O-13267     INV-15045       13-Jul-09      931.00   Credit Card
 RMA-3383       06-Aug-09   Authorization Pending   JeremyM                  117.00     O-12996     INV-15503       24-Jul-09      117.00   Credit Card
 RMA-3385       06-Aug-09   Authorization Pending   JeremyM                  278.00     O-12569     INV-13830      17-Jun-09       837.00   Credit Card
 RMA-3389       06-Aug-09   Authorization Pending   JeremyM                  398.00     O-11837     INV-14339      26-Jun-09       398.00   Credit Card
 RMA-3390       06-Aug-09   Authorization Pending   JeremyM                  136.00     O-13826     INV-15966      01-Aug-09       136.00   Credit Card
 RMA-3392       06-Aug-09   Authorization Pending   JeremyM                  289.00     O-13510     INV-15308       20-Jul-09      289.00   Credit Card
 RMA-3393       06-Aug-09   Authorization Pending   JeremyM                  289.00     O-9402      INV-13481      12-Jun-09       289.00   Credit Card
 RMA-3395       06-Aug-09   Authorization Pending   JeremyM                  198.00     O-9698      INV-10319       29-Apr-09      198.00   Credit Card
 RMA-3396       06-Aug-09   Authorization Pending   JeremyM                  129.00     O-12737     INV-14164      23-Jun-09       258.00   Credit Card
 RMA-3417       07-Aug-09   Authorization Pending   Cheryl                   289.00     O-14242     INV-16132      04-Aug-09       289.00   Credit Card
 RMA-3418       10-Aug-09   Authorization Pending   JeremyM                  598.00     O-12404     INV-13573      15-Jun-09       598.00   Credit Card
 RMA-3419       10-Aug-09   Authorization Pending   JeremyM                  139.00     O-13359     INV-15199       17-Jul-09      139.00   Credit Card
 RMA-3422       10-Aug-09   Authorization Pending   JeremyM                  138.00     O-11079     INV-15552       24-Jul-09      138.00   Credit Card
 RMA-3423       10-Aug-09   Authorization Pending   JeremyM                   25.00     O-13814     INV-15703       28-Jul-09       25.00   Credit Card
 RMA-3425       10-Aug-09   Authorization Pending   JeremyM                  596.00     O-13250     INV-14966       13-Jul-09      725.00   Credit Card
 RMA-3428       10-Aug-09   Authorization Pending   JeremyM                  298.00     O-11518     INV-15628       27-Jul-09      298.00   Credit Card
 RMA-3429       10-Aug-09   Authorization Pending   JeremyM                  298.00     O-12964     INV-14700       03-Jul-09      298.00   Credit Card
 RMA-3431       10-Aug-09   Authorization Pending   JeremyM                  117.00     O-13044     INV-14780       07-Jul-09      117.00   Credit Card
 RMA-3432       10-Aug-09   Authorization Pending   JeremyM                  445.00     O-13887     INV-15876       30-Jul-09      445.00   Credit Card
 RMA-3433       10-Aug-09   Authorization Pending   JeremyM                   86.00     O-12938     INV-15516       24-Jul-09       86.00   Credit Card
 RMA-3434       10-Aug-09   Authorization Pending   JeremyM                   86.00     O-13203     INV-15522       24-Jul-09       86.00   Credit Card
 RMA-3435       10-Aug-09   Authorization Pending   JeremyM                   16.00     O-12929     INV-14624       01-Jul-09       16.00   Credit Card
 RMA-3436       10-Aug-09   Authorization Pending   JeremyM                  238.00     O-13628     INV-15400       21-Jul-09      416.00   Credit Card
 RMA-3437       10-Aug-09   Authorization Pending   JeremyM                  228.00     O-12712     INV-14124      22-Jun-09       228.00   Credit Card
 RMA-3439       12-Aug-09   Authorization Pending   Cheryl                     0.03     O-13970     INV-15850       30-Jul-09        0.03   Cash
 RMA-3456       14-Aug-09   Authorization Pending   JeremyM                  163.00     O-13725     INV-15591       24-Jul-09      302.00   Credit Card
 RMA-3461       14-Aug-09   Authorization Pending   JeremyM                  430.00     O-14254     INV-16151      05-Aug-09       785.00   Credit Card
 RMA-3468       17-Aug-09   Authorization Pending   JeremyM                  476.00     O-13279     INV-15031       13-Jul-09      476.00   Credit Card
 RMA-3470       17-Aug-09   Authorization Pending   JeremyM                  396.00     O-13149     INV-14914       10-Jul-09      396.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
 RMA-3471       17-Aug-09   Authorization Pending   JeremyM                   86.00     O-12810     INV-14301      25-Jun-09      172.00   Credit Card
 RMA-3472       17-Aug-09   Authorization Pending   JeremyM                  228.00     O-13210     INV-15028       13-Jul-09     228.00   Credit Card
 RMA-3473       17-Aug-09   Authorization Pending   JeremyM                  298.00     O-11184     INV-15618       27-Jul-09     298.00   Credit Card
 RMA-3475       17-Aug-09   Authorization Pending   JeremyM                  298.00     O-13350     INV-15193       17-Jul-09     298.00   Credit Card
 RMA-3476       17-Aug-09   Authorization Pending   JeremyM                   98.00     O-13638     INV-15418       22-Jul-09      98.00   Credit Card
 RMA-3477       17-Aug-09   Authorization Pending   JeremyM                  228.00     O-13337     INV-15081       14-Jul-09     385.00   Credit Card
 RMA-3478       17-Aug-09   Authorization Pending   JeremyM                   98.00     O-13608     INV-15347       20-Jul-09      98.00   Credit Card
 RMA-3481       17-Aug-09   Authorization Pending   JeremyM                  198.00     O-12493     INV-13638      16-Jun-09      198.00   Credit Card
 RMA-3484       17-Aug-09   Authorization Pending   JeremyM                  994.00     O-13314     INV-15062       14-Jul-09   1,192.00   Credit Card
 RMA-3485       17-Aug-09   Authorization Pending   JeremyM                  198.00     O-13823     INV-15704       28-Jul-09     198.00   Credit Card
 RMA-3489       17-Aug-09   Authorization Pending   JeremyM                  289.00     O-12385     INV-13872      18-Jun-09      289.00   Credit Card
 RMA-3491       17-Aug-09   Authorization Pending   JeremyM                  139.00     O-14202     INV-16077      03-Aug-09      257.00   Credit Card
 RMA-3492       17-Aug-09   Authorization Pending   JeremyM                  388.00     O-14223     INV-16111      04-Aug-09      388.00   Credit Card
 RMA-3493       17-Aug-09   Authorization Pending   JeremyM                  163.00     O-13397     INV-15877       30-Jul-09     163.00   Credit Card
 RMA-3494       17-Aug-09   Authorization Pending   JeremyM                   86.00     O-13328     INV-15073       14-Jul-09      86.00   Credit Card
 RMA-3495       17-Aug-09   Authorization Pending   JeremyM                  178.00     O-12946     INV-14655       02-Jul-09     307.00   Credit Card
 RMA-3496       17-Aug-09   Authorization Pending   JeremyM                  445.00     O-13525     INV-15339       20-Jul-09     445.00   Credit Card
 RMA-3497       17-Aug-09   Authorization Pending   JeremyM                  326.00     O-12143     INV-13192      08-Jun-09      326.00   Credit Card
 RMA-3499       17-Aug-09   Authorization Pending   JeremyM                  445.00     O-13006     INV-14733       06-Jul-09     574.00   Credit Card
 RMA-3500       17-Aug-09   Authorization Pending   JeremyM                  100.00     O-13892     INV-15752       28-Jul-09     100.00   Credit Card
 RMA-3513       20-Aug-09   Authorization Pending   JeremyM                  125.00     O-14143     INV-16044      03-Aug-09      125.00   Credit Card
 RMA-3514       20-Aug-09   Authorization Pending   JeremyM                  188.00     O-10121     INV-14386      26-Jun-09      188.00   Credit Card
 RMA-3515       20-Aug-09   Authorization Pending   JeremyM                  236.00     O-13641     INV-15424       22-Jul-09     236.00   Credit Card
 RMA-3518       20-Aug-09   Authorization Pending   JeremyM                   98.00     O-13271     INV-14975       13-Jul-09     333.00   Credit Card
 RMA-3520       20-Aug-09   Authorization Pending   JeremyM                  247.00     O-13323     INV-15059       14-Jul-09   1,243.00   Credit Card
 RMA-3521       20-Aug-09   Authorization Pending   JeremyM                  147.00     O-13736     INV-15643       27-Jul-09     147.00   Credit Card
 RMA-3533       21-Aug-09   Authorization Pending   JeremyM                  823.00     O-14076     INV-16015      03-Aug-09      823.00   Credit Card
 RMA-3534       21-Aug-09   Authorization Pending   JeremyM                  178.00     O-9107      INV-14990       13-Jul-09     178.00   Credit Card
 RMA-3535       21-Aug-09   Authorization Pending   JeremyM                   98.00     O-10067     INV-10331      29-Apr-09       98.00   Credit Card
 RMA-3536       21-Aug-09   Authorization Pending   JeremyM                  470.00     O-10529     INV-15241       17-Jul-09     470.00   Credit Card
 RMA-3538       21-Aug-09   Authorization Pending   JeremyM                  334.00     O-14210     INV-16129      04-Aug-09      635.00   Credit Card
 RMA-3539       21-Aug-09   Authorization Pending   JeremyM                   44.00     O-14382     INV-16286      10-Aug-09       44.00   Credit Card
 RMA-3540       21-Aug-09   Authorization Pending   JeremyM                  289.00     O-14411     INV-16320      10-Aug-09      687.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net      Pay Type
 RMA-3541       21-Aug-09   Authorization Pending   JeremyM                  227.00     O-13343     INV-15095       14-Jul-09      227.00   Credit Card
 RMA-3542       21-Aug-09   Authorization Pending   JeremyM                  178.00     O-12848     INV-15004       13-Jul-09      178.00   Credit Card
 RMA-3543       21-Aug-09   Authorization Pending   JeremyM                  501.00     O-14414     INV-16307      10-Aug-09       501.00   Credit Card
 RMA-3544       21-Aug-09   Authorization Pending   JeremyM                   83.00     O-14197     INV-16084      03-Aug-09        83.00   Credit Card
 RMA-3552       21-Aug-09   Authorization Pending   JeremyM                  139.00     O-13795     INV-15672       27-Jul-09      139.00   Credit Card
 RMA-3554       21-Aug-09   Authorization Pending   JeremyM                  470.00     O-11174     INV-14668       02-Jul-09      470.00   Credit Card
 RMA-3556       21-Aug-09   Authorization Pending   JeremyM                  489.00     O-14394     INV-16319      10-Aug-09       489.00   Credit Card
 RMA-3557       21-Aug-09   Authorization Pending   JeremyM                  129.00     O-10300     INV-14561       01-Jul-09      129.00   Credit Card
 RMA-3558       21-Aug-09   Authorization Pending   JeremyM                  352.50     O-13646     INV-15427       22-Jul-09      523.50   Credit Card
 RMA-3559       21-Aug-09   Authorization Pending   JeremyM                   55.80     O-14517     INV-16453      13-Aug-09       168.30   Credit Card
 RMA-3560       21-Aug-09   Authorization Pending   JeremyM                  139.00     O-13815     INV-15705       28-Jul-09      139.00   Credit Card
 RMA-3562       21-Aug-09   Authorization Pending   JeremyM                  163.00     O-7737      INV-10660      04-May-09       163.00   Credit Card
 RMA-3567       25-Aug-09   Authorization Pending   JeremyM                  911.00     O-13776     INV-15637       27-Jul-09    1,409.00   Credit Card
 RMA-3568       25-Aug-09   Authorization Pending   JeremyM                   86.00     O-14211     INV-16101      04-Aug-09       86.00    Cash
 RMA-3569       25-Aug-09   Authorization Pending   JeremyM                  222.00     O-14285     INV-16207      06-Aug-09      222.00    Credit Card
 RMA-3570       25-Aug-09   Authorization Pending   JeremyM                  129.00     O-14336     INV-16692      20-Aug-09      129.00    Credit Card
 RMA-3571       25-Aug-09   Authorization Pending   JeremyM                  198.00     O-10098     INV-16525      14-Aug-09      198.00    Credit Card
 RMA-3572       25-Aug-09   Authorization Pending   JeremyM                  147.00     O-13741     INV-15656       27-Jul-09     147.00    Credit Card
 RMA-3575       25-Aug-09   Authorization Pending   JeremyM                  139.00     O-13909     INV-15782       29-Jul-09     139.00    Credit Card
 RMA-3576       25-Aug-09   Authorization Pending   JeremyM                  470.00     O-13676     INV-15445       22-Jul-09     470.00    Credit Card
 RMA-3578       25-Aug-09   Authorization Pending   JeremyM                   95.40     O-14505     INV-16418      13-Aug-09       95.40    Credit Card
 RMA-3579       25-Aug-09   Authorization Pending   JeremyM                  139.00     O-14231     INV-16142      05-Aug-09      139.00    Credit Card
 RMA-3580       25-Aug-09   Authorization Pending   JeremyM                  103.00     O-14174     INV-16051      03-Aug-09      200.00    Credit Card
 RMA-3581       25-Aug-09   Authorization Pending   JeremyM                   98.00     O-14077     INV-16032      03-Aug-09       98.00    Credit Card
 RMA-3582       25-Aug-09   Authorization Pending   JeremyM                   54.00     O-13928     INV-15785       29-Jul-09      54.00    Credit Card
 RMA-3583       25-Aug-09   Authorization Pending   JeremyM                  335.00     O-13470     INV-15227       17-Jul-09     633.00    Credit Card
 RMA-3585       25-Aug-09   Authorization Pending   JeremyM                  263.00     O-14118     INV-15995      03-Aug-09      372.00    Credit Card
 RMA-3586       25-Aug-09   Authorization Pending   JeremyM                   54.00     O-14199     INV-16078      03-Aug-09      348.00    Credit Card
 RMA-3588       25-Aug-09   Authorization Pending   JeremyM                  298.00     O-14454     INV-16340      11-Aug-09    1,270.00    Credit Card
 RMA-3601       31-Aug-09   Authorization Pending   JeremyM                  470.00     O-14445     INV-16329      11-Aug-09      470.00    Credit Card
 RMA-3602       31-Aug-09   Authorization Pending   JeremyM                  398.00     O-11762     INV-14287      25-Jun-09      398.00    Credit Card
 RMA-3603       31-Aug-09   Authorization Pending   JeremyM                  147.00     O-12846     INV-15659       27-Jul-09     147.00    Credit Card
 RMA-3606       31-Aug-09   Authorization Pending   JeremyM                   86.00     O-14258     INV-16162      05-Aug-09      266.00    Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-3609      31-Aug-09   Authorization Pending   JeremyM                  145.80     O-14591     INV-16492      14-Aug-09      145.80   Credit Card
  RMA-3610      31-Aug-09   Authorization Pending   JeremyM                   54.00     O-14152     INV-16048      03-Aug-09       54.00   Credit Card
  RMA-3611      31-Aug-09   Authorization Pending   JeremyM                  178.00     O-11792     INV-13257      09-Jun-09      178.00   Credit Card
  RMA-3612      31-Aug-09   Authorization Pending   JeremyM                  178.00     O-11017     INV-13280      09-Jun-09      178.00   Credit Card
  RMA-3613      31-Aug-09   Authorization Pending   JeremyM                  405.00     O-11017     INV-11751      19-May-09      405.00   Credit Card
  RMA-3614      31-Aug-09   Authorization Pending   JeremyM                  129.00     O-11017     INV-13511      12-Jun-09      129.00   Credit Card
  RMA-3615      31-Aug-09   Authorization Pending   JeremyM                  157.00     O-14916     INV-17004      31-Aug-09      157.00   Credit Card
  RMA-3618      31-Aug-09   Authorization Pending   JeremyM                   79.00     O-14553     INV-16417      13-Aug-09       79.00   Credit Card
  RMA-3621      31-Aug-09   Authorization Pending   JeremyM                   97.00     O-13959     INV-15847       29-Jul-09     214.00   Credit Card
  RMA-3624      31-Aug-09   Authorization Pending   JeremyM                  470.00     O-13777     INV-15676       27-Jul-09     768.00   Credit Card
  RMA-3625      31-Aug-09   Authorization Pending   JeremyM                  298.00     O-13777     INV-15676       27-Jul-09     768.00   Credit Card
  RMA-3626      31-Aug-09   Authorization Pending   JeremyM                   86.00     O-12840     INV-14549       01-Jul-09      86.00   Credit Card
  RMA-3627      31-Aug-09   Authorization Pending   JeremyM                   86.00     O-13757     INV-15608       27-Jul-09     195.00   Credit Card
  RMA-3628      31-Aug-09   Authorization Pending   JeremyM                  132.00     O-14304     INV-16203      06-Aug-09      132.00   Credit Card
  RMA-3629      31-Aug-09   Authorization Pending   JeremyM                  326.00     O-13351     INV-15198       17-Jul-09     326.00   Credit Card
  RMA-3630      31-Aug-09   Authorization Pending   JeremyM                  392.00     O-14011     INV-15902       31-Jul-09     392.00   Credit Card
  RMA-3635      31-Aug-09   Authorization Pending   JeremyM                   44.00     O-13942     INV-15828       29-Jul-09      44.00   Credit Card
  RMA-3653      08-Sep-09   Authorization Pending   JeremyM                  241.00     O-14847     INV-16793      24-Aug-09      241.00   Credit Card
  RMA-3654      08-Sep-09   Authorization Pending   JeremyM                  178.00     O-14457     INV-16348      11-Aug-09      178.00   Credit Card
  RMA-3655      08-Sep-09   Authorization Pending   JeremyM                  298.00     O-14383     INV-16294      10-Aug-09      298.00   Credit Card
  RMA-3656      08-Sep-09   Authorization Pending   JeremyM                  152.10     O-14547     INV-16455      13-Aug-09    1,893.60   Credit Card
  RMA-3657      08-Sep-09   Authorization Pending   JeremyM                   98.00     O-14390     INV-16792      24-Aug-09       98.00   Credit Card
  RMA-3658      08-Sep-09   Authorization Pending   JeremyM                  459.00     O-13808     INV-15687       28-Jul-09     459.00   Credit Card
  RMA-3661      08-Sep-09   Authorization Pending   JeremyM                  220.00     O-14814     INV-16757      24-Aug-09      607.00   Credit Card
  RMA-3663      08-Sep-09   Authorization Pending   JeremyM                  129.00     O-10731     INV-11487      13-May-09      424.00   Credit Card
  RMA-3669      08-Sep-09   Authorization Pending   JeremyM                  110.70     O-14691     INV-16617      18-Aug-09      110.70   Credit Card
  RMA-3670      08-Sep-09   Authorization Pending   JeremyM                  198.00     O-10199     INV-16515      14-Aug-09      198.00   Credit Card
  RMA-3672      08-Sep-09   Authorization Pending   JeremyM                  398.00     O-14454     INV-16782      24-Aug-09      398.00   Credit Card
  RMA-3673      08-Sep-09   Authorization Pending   JeremyM                  178.00     O-13165     INV-15801       29-Jul-09     178.00   Credit Card
  RMA-3678      10-Sep-09   Authorization Pending   Cheryl                   289.00     O-13466     INV-17190      04-Sep-09      289.00   Credit Card
  RMA-3699      16-Sep-09   Authorization Pending   JeremyM                  113.00     O-15059     INV-17008      31-Aug-09      113.00   Credit Card
  RMA-3702      16-Sep-09   Authorization Pending   JeremyM                  298.00     O-13203     INV-16900      27-Aug-09      298.00   Credit Card
  RMA-3703      16-Sep-09   Authorization Pending   JeremyM                  223.50     O-13646     INV-16517      14-Aug-09      223.50   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-3708      18-Sep-09   Authorization Pending   JeremyM                  387.00     O-14815     INV-16789      24-Aug-09      387.00   Credit Card
  RMA-3709      18-Sep-09   Authorization Pending   JeremyM                   98.00     O-14815     INV-16762      24-Aug-09       98.00   Credit Card
  RMA-3712      18-Sep-09   Authorization Pending   JeremyM                  107.00     O-14486     INV-16394      12-Aug-09      107.00   Credit Card
  RMA-3716      18-Sep-09   Authorization Pending   JeremyM                  998.00     O-13632     INV-16674      19-Aug-09      998.00   Credit Card
  RMA-3717      18-Sep-09   Authorization Pending   JeremyM                  298.00     O-9724      INV-17219      04-Sep-09      298.00   Credit Card
  RMA-3719      18-Sep-09   Authorization Pending   Cheryl                   333.75     O-15014     INV-16955      28-Aug-09      333.75   Credit Card
  RMA-3729      22-Sep-09   Authorization Pending   JeremyM                  328.00     O-11941     INV-16620      18-Aug-09      328.00   Credit Card
  RMA-3730      22-Sep-09   Authorization Pending   JeremyM                   94.50     O-14533     INV-16430      13-Aug-09      319.50   Credit Card
  RMA-3731      22-Sep-09   Authorization Pending   JeremyM                  289.00     O-12588     INV-17168      04-Sep-09      289.00   Credit Card
  RMA-3732      22-Sep-09   Authorization Pending   JeremyM                  232.00     O-14061     INV-16050      03-Aug-09      232.00   Credit Card
  RMA-3733      22-Sep-09   Authorization Pending   JeremyM                  289.00     O-14224     INV-17180      04-Sep-09      289.00   Credit Card
  RMA-3734      22-Sep-09   Authorization Pending   JeremyM                  113.00     O-15062     INV-17014      31-Aug-09      113.00   Credit Card
  RMA-3738      22-Sep-09   Authorization Pending   JeremyM                   57.00     O-14868     INV-16931      28-Aug-09       57.00   Credit Card
  RMA-3740      22-Sep-09   Authorization Pending   JeremyM                   44.10     O-14661     INV-16548      17-Aug-09      178.20   Credit Card
  RMA-3741      22-Sep-09   Authorization Pending   JeremyM                  198.00     O-14359     INV-16260      07-Aug-09      198.00   Credit Card
  RMA-3742      22-Sep-09   Authorization Pending   JeremyM                  298.00     O-13478     INV-17216      04-Sep-09      298.00   Credit Card
  RMA-3743      22-Sep-09   Authorization Pending   JeremyM                  124.00     O-15110     INV-17067      02-Sep-09      248.00   Credit Card
  RMA-3744      22-Sep-09   Authorization Pending   JeremyM                   98.00     O-12580     INV-14020      19-Jun-09       98.00   Credit Card
  RMA-3745      22-Sep-09   Authorization Pending   JeremyM                  258.00     O-14260     INV-16163      05-Aug-09    1,108.00   Credit Card
  RMA-3747      22-Sep-09   Authorization Pending   JeremyM                  289.00     O-12771     INV-17129      03-Sep-09      289.00   Credit Card
  RMA-3748      22-Sep-09   Authorization Pending   JeremyM                  160.00     O-13882     INV-15748       28-Jul-09     160.00   Cash, Credit Card
  RMA-3751      22-Sep-09   Authorization Pending   JeremyM                  484.00     O-14699     INV-16636      18-Aug-09      484.00   Credit Card
  RMA-3752      22-Sep-09   Authorization Pending   JeremyM                  278.00     O-14191     INV-16085      03-Aug-09      278.00   Credit Card
  RMA-3753      22-Sep-09   Authorization Pending   JeremyM                  372.20     O-14655     INV-16555      17-Aug-09      472.10   Credit Card
  RMA-3755      22-Sep-09   Authorization Pending   JeremyM                  298.00     O-14964     INV-16912      27-Aug-09      298.00   Credit Card
  RMA-3756      22-Sep-09   Authorization Pending   JeremyM                  250.00     O-14842     INV-16797      24-Aug-09      250.00   Credit Card
  RMA-3758      22-Sep-09   Authorization Pending   JeremyM                  398.00     O-10980     INV-16176      05-Aug-09      398.00   Credit Card
  RMA-3759      22-Sep-09   Authorization Pending   JeremyM                  180.00     O-13941     INV-15843       29-Jul-09     975.00   Credit Card
  RMA-3760      22-Sep-09   Authorization Pending   JeremyM                  236.00     O-13237     INV-16523      14-Aug-09      236.00   Credit Card
  RMA-3761      22-Sep-09   Authorization Pending   JeremyM                  289.00     O-14338     INV-16250      07-Aug-09      289.00   Credit Card
  RMA-3763      22-Sep-09   Authorization Pending   JeremyM                   58.00     O-14809     INV-16768      24-Aug-09      182.00   Credit Card
  RMA-3764      22-Sep-09   Authorization Pending   JeremyM                  250.00     O-14754     INV-16707      20-Aug-09      250.00   Credit Card
  RMA-3765      22-Sep-09   Authorization Pending   JeremyM                   30.00     O-13906     INV-15770       29-Jul-09     277.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-3766      22-Sep-09   Authorization Pending   JeremyM                  617.25     O-13802     INV-15695       28-Jul-09   1,036.50   Credit Card
  RMA-3771      22-Sep-09   Authorization Pending   JeremyM                  228.00     O-14918     INV-16858      26-Aug-09      228.00   Credit Card
  RMA-3772      22-Sep-09   Authorization Pending   JeremyM                  298.00     O-15049     INV-17223      04-Sep-09      298.00   Credit Card
  RMA-3773      22-Sep-09   Authorization Pending   JeremyM                  213.00     O-15223     INV-17245      08-Sep-09      433.00   Credit Card
  RMA-3774      22-Sep-09   Authorization Pending   JeremyM                  107.10     O-14563     INV-16458      13-Aug-09      107.10   Credit Card
  RMA-3775      22-Sep-09   Authorization Pending   JeremyM                   68.00     O-15169     INV-17170      04-Sep-09       68.00   Credit Card
  RMA-3776      22-Sep-09   Authorization Pending   JeremyM                  132.00     O-13842     INV-15743       28-Jul-09     132.00   Credit Card
  RMA-3778      22-Sep-09   Authorization Pending   JeremyM                   69.00     O-14874     INV-16892      27-Aug-09      146.00   Credit Card
  RMA-3780      22-Sep-09   Authorization Pending   JeremyM                  289.00     O-15240     INV-17271      08-Sep-09      289.00   Credit Card
  RMA-3798      30-Sep-09   Authorization Pending   JeremyM                  198.00     O-10409     INV-10713      05-May-09      198.00   Credit Card
  RMA-3801      30-Sep-09   Authorization Pending   JeremyM                  113.00     O-15183     INV-17229      04-Sep-09      113.00   Credit Card
  RMA-3803      30-Sep-09   Authorization Pending   JeremyM                   98.00     O-14858     INV-16805      25-Aug-09       98.00   Credit Card
  RMA-3804      30-Sep-09   Authorization Pending   JeremyM                  183.00     O-15123     INV-17088      03-Sep-09      315.00   Credit Card
  RMA-3805      30-Sep-09   Authorization Pending   JeremyM                  289.00     O-14154     INV-17079      03-Sep-09      289.00   Credit Card
  RMA-3808      30-Sep-09   Authorization Pending   JeremyM                   98.00     O-15076     INV-17025      01-Sep-09       98.00   Credit Card
  RMA-3814      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-10453     INV-17205      04-Sep-09      298.00   Credit Card
  RMA-3815      30-Sep-09   Authorization Pending   JeremyM                  398.00     O-15167     INV-17305      08-Sep-09      398.00   Credit Card
  RMA-3817      30-Sep-09   Authorization Pending   JeremyM                  113.00     O-15106     INV-17405      11-Sep-09      113.00   Credit Card
  RMA-3819      30-Sep-09   Authorization Pending   JeremyM                  289.00     O-15091     INV-17038      01-Sep-09      289.00   Credit Card
  RMA-3820      30-Sep-09   Authorization Pending   JeremyM                  850.00     O-15216     INV-17239      08-Sep-09      850.00   Credit Card
  RMA-3822      30-Sep-09   Authorization Pending   JeremyM                  289.00     O-12017     INV-17120      03-Sep-09      289.00   Credit Card
  RMA-3825      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-15363     INV-17424      14-Sep-09      298.00   Credit Card
  RMA-3826      30-Sep-09   Authorization Pending   JeremyM                  598.00     O-15736     INV-17748      24-Sep-09      737.00   Credit Card
  RMA-3827      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-11027     INV-17193      04-Sep-09      298.00   Credit Card
  RMA-3830      30-Sep-09   Authorization Pending   JeremyM                  287.00     O-15080     INV-17033      01-Sep-09      287.00   Credit Card
  RMA-3833      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-11810     INV-17207      04-Sep-09      298.00   Credit Card
  RMA-3834      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-11941     INV-17211      04-Sep-09      298.00   Credit Card
  RMA-3835      30-Sep-09   Authorization Pending   JeremyM                  195.00     O-9167      INV-13928      18-Jun-09      195.00   Credit Card
  RMA-3836      30-Sep-09   Authorization Pending   JeremyM                  398.00     O-13710     INV-17317      08-Sep-09      398.00   Credit Card
  RMA-3837      30-Sep-09   Authorization Pending   JeremyM                   54.00     O-13710     INV-17159      04-Sep-09      289.00   Credit Card
  RMA-3839      30-Sep-09   Authorization Pending   JeremyM                  898.00     O-15256     INV-17266      08-Sep-09    1,174.00   Credit Card
  RMA-3840      30-Sep-09   Authorization Pending   JeremyM                  998.00     O-14764     INV-16714      20-Aug-09      998.00   Credit Card
  RMA-3842      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-14126     INV-16901      27-Aug-09      298.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-3843      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-12039     INV-17220      04-Sep-09      298.00   Credit Card
  RMA-3846      30-Sep-09   Authorization Pending   JeremyM                  289.00     O-10314     INV-17074      03-Sep-09      289.00   Credit Card
  RMA-3847      30-Sep-09   Authorization Pending   JeremyM                  525.00     O-14414     INV-17060      02-Sep-09      525.00   Credit Card
  RMA-3848      30-Sep-09   Authorization Pending   JeremyM                  111.00     O-15130     INV-17090      03-Sep-09      111.00   Credit Card
  RMA-3850      30-Sep-09   Authorization Pending   JeremyM                  298.00     O-14849     INV-17225      04-Sep-09      298.00   Credit Card
  RMA-3851      30-Sep-09   Authorization Pending   JeremyM                   68.00     O-15182     INV-17241      08-Sep-09       68.00   Credit Card
  RMA-3852      30-Sep-09   Authorization Pending   JeremyM                  289.00     O-11838     INV-17166      04-Sep-09      289.00   Credit Card
  RMA-3853      30-Sep-09   Authorization Pending   JeremyM                   98.00     O-14124     INV-15993      03-Aug-09      237.00   Credit Card
  RMA-3856      30-Sep-09   Authorization Pending   JeremyM                  335.00     O-15380     INV-17440      14-Sep-09      335.00   Credit Card
  RMA-3857      30-Sep-09   Authorization Pending   JeremyM                  850.00     O-15147     INV-17108      03-Sep-09      850.00   Credit Card
  RMA-3858      30-Sep-09   Authorization Pending   JeremyM                  412.00     O-14973     INV-16916      27-Aug-09      412.00   Credit Card
  RMA-3860      30-Sep-09   Authorization Pending   JeremyM                  750.00     O-13516     INV-15304       20-Jul-09     948.00   Credit Card
  RMA-3861      30-Sep-09   Authorization Pending   JeremyM                  178.00     O-14810     INV-16763      24-Aug-09      178.00   Credit Card
  RMA-3862      30-Sep-09   Authorization Pending   JeremyM                   63.00     O-13800     INV-16080      03-Aug-09       63.00   Credit Card
  RMA-3894      07-Oct-09   Authorization Pending   JeremyM                   88.00     O-15968     INV-17910      28-Sep-09       88.00   Credit Card
  RMA-3896      07-Oct-09   Authorization Pending   JeremyM                  678.00     O-15504     INV-17564      21-Sep-09      678.00   Credit Card
  RMA-3898      07-Oct-09   Authorization Pending   JeremyM                  115.00     O-15788     INV-17803      25-Sep-09      115.00   Credit Card
  RMA-3899      07-Oct-09   Authorization Pending   JeremyM                  129.00     O-14872     INV-16824      25-Aug-09      129.00   Credit Card
  RMA-3900      07-Oct-09   Authorization Pending   JeremyM                  139.00     O-15506     INV-17581      21-Sep-09      139.00   Credit Card
  RMA-3901      07-Oct-09   Authorization Pending   JeremyM                  598.00     O-15679     INV-17671      23-Sep-09      598.00   Credit Card
  RMA-3902      07-Oct-09   Authorization Pending   JeremyM                1,948.00     O-15523     INV-17569      21-Sep-09    1,948.00   Credit Card
  RMA-3903      07-Oct-09   Authorization Pending   JeremyM                  115.00     O-15789     INV-17805      25-Sep-09      115.00   Credit Card
  RMA-3908      07-Oct-09   Authorization Pending   JeremyM                  419.25     O-13802     INV-15695       28-Jul-09   1,036.50   Credit Card
  RMA-3909      07-Oct-09   Authorization Pending   JeremyM                  289.00     O-15597     INV-17625      22-Sep-09      289.00   Credit Card
  RMA-3911      07-Oct-09   Authorization Pending   JeremyM                  298.00     O-13849     INV-16902      27-Aug-09      298.00   Credit Card
  RMA-3912      07-Oct-09   Authorization Pending   JeremyM                  157.00     O-15525     INV-17559      21-Sep-09      471.00   Credit Card
  RMA-3913      07-Oct-09   Authorization Pending   JeremyM                  298.00     O-15507     INV-17562      21-Sep-09      314.00   Credit Card
  RMA-3917      08-Oct-09   Authorization Pending   Cheryl                   117.90     O-14622     INV-16550      17-Aug-09    2,009.20   Credit Card
  RMA-3919      10-Oct-09   Authorization Pending   Cheryl                   132.00     O-15443     INV-17512      17-Sep-09      132.00   Credit Card
  RMA-3928      12-Oct-09   Authorization Pending   JeremyM                  289.00     O-14101     INV-17083      03-Sep-09      289.00   Credit Card
  RMA-3929      12-Oct-09   Authorization Pending   JeremyM                  450.00     O-15883     INV-17849      28-Sep-09      450.00   Credit Card
  RMA-3930      12-Oct-09   Authorization Pending   JeremyM                  180.00     O-13805     INV-15683       27-Jul-09     180.00   Credit Card
  RMA-3931      12-Oct-09   Authorization Pending   JeremyM                  250.00     O-15892     INV-18129      05-Oct-09      250.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num   Inv Date    Inv Net     Pay Type
  RMA-3932      12-Oct-09   Authorization Pending   JeremyM                  115.00     O-15892     INV-17903      28-Sep-09     115.00   Credit Card
  RMA-3934      12-Oct-09   Authorization Pending   JeremyM                  109.00     O-14203     INV-16178      05-Aug-09     109.00   Credit Card
  RMA-3935      12-Oct-09   Authorization Pending   JeremyM                  390.00     O-15162     INV-17176      04-Sep-09     390.00   Credit Card
  RMA-3936      12-Oct-09   Authorization Pending   JeremyM                  526.00     O-15979     INV-17908      28-Sep-09     526.00   Credit Card
  RMA-3937      12-Oct-09   Authorization Pending   JeremyM                  134.00     O-15437     INV-17472      16-Sep-09     134.00   Credit Card
  RMA-3939      12-Oct-09   Authorization Pending   JeremyM                  599.00     O-15564     INV-18029      01-Oct-09     599.00   Credit Card
  RMA-3940      12-Oct-09   Authorization Pending   JeremyM                  598.00     O-15687     INV-17990      30-Sep-09     598.00   Credit Card
  RMA-3947      13-Oct-09   Authorization Pending   JeremyM                  298.00     O-15857     INV-17858      28-Sep-09     298.00   Credit Card
  RMA-3948      13-Oct-09   Authorization Pending   JeremyM                  289.00     O-15662     INV-17664      23-Sep-09     289.00   Credit Card
  RMA-3951      13-Oct-09   Authorization Pending   JeremyM                  698.00     O-15784     INV-17797      24-Sep-09     698.00   Credit Card
  RMA-3952      13-Oct-09   Authorization Pending   JeremyM                  115.00     O-16181     INV-18127      05-Oct-09     115.00   Credit Card
  RMA-3953      13-Oct-09   Authorization Pending   JeremyM                  175.00     O-14790     INV-16731      21-Aug-09     325.00   Credit Card
  RMA-3954      13-Oct-09   Authorization Pending   JeremyM                  545.90     O-14612     INV-16521      14-Aug-09   1,021.50   Credit Card
  RMA-3955      13-Oct-09   Authorization Pending   JeremyM                  594.00     O-15453     INV-17516      17-Sep-09   1,011.00   Credit Card
  RMA-3956      13-Oct-09   Authorization Pending   JeremyM                1,395.00     O-15287     INV-17985      30-Sep-09   1,395.00   Credit Card
  RMA-3962      14-Oct-09   Authorization Pending   JeremyM                  450.00     O-15960     INV-17885      28-Sep-09     450.00   Credit Card
  RMA-3964      14-Oct-09   Authorization Pending   JeremyM                  115.00     O-15829     INV-17813      25-Sep-09     115.00   Credit Card
  RMA-3965      14-Oct-09   Authorization Pending   JeremyM                  307.00     O-15614     INV-17640      22-Sep-09     307.00   Credit Card
  RMA-3968      14-Oct-09   Authorization Pending   JeremyM                  487.00     O-16119     INV-18043      01-Oct-09     487.00   Credit Card
  RMA-3969      14-Oct-09   Authorization Pending   JeremyM                  115.00     O-15678     INV-17691      23-Sep-09     115.00   Credit Card
  RMA-3970      14-Oct-09   Authorization Pending   JeremyM                  600.00     O-15723     INV-17764      24-Sep-09     600.00   Credit Card
  RMA-3971      14-Oct-09   Authorization Pending   JeremyM                  226.00     O-15467     INV-17907      28-Sep-09     226.00   Credit Card
  RMA-3972      14-Oct-09   Authorization Pending   JeremyM                  199.00     O-15230     INV-17237      06-Sep-09     312.00   Credit Card
  RMA-3974      14-Oct-09   Authorization Pending   JeremyM                  115.00     O-15872     INV-17870      28-Sep-09     115.00   Credit Card
  RMA-3975      14-Oct-09   Authorization Pending   JeremyM                  400.00     O-14882     INV-16820      25-Aug-09     448.00   Credit Card
  RMA-3977      14-Oct-09   Authorization Pending   JeremyM                  665.00     O-16065     INV-18001      30-Sep-09     665.00   Credit Card
  RMA-3986      14-Oct-09   Authorization Pending   JeremyM                  289.00     O-15472     INV-17522      17-Sep-09     289.00   Credit Card
  RMA-3988      14-Oct-09   Authorization Pending   JeremyM                  178.00     O-15770     INV-17798      24-Sep-09     471.00   Credit Card
  RMA-3990      15-Oct-09   Authorization Pending   JeremyM                  998.00     O-15855     INV-17959      29-Sep-09     998.00   Credit Card
  RMA-3991      15-Oct-09   Authorization Pending   JeremyM                  387.00     O-16034     INV-17968      30-Sep-09     387.00   Credit Card
  RMA-3996      15-Oct-09   Authorization Pending   JeremyM                  598.00     O-15629     INV-17988      30-Sep-09     598.00   Credit Card
  RMA-3999      16-Oct-09   Authorization Pending   JeremyM                  289.00     O-11022     INV-13487      12-Jun-09     289.00   Credit Card
  RMA-4000      16-Oct-09   Authorization Pending   JeremyM                  115.00     O-15770     INV-17798      24-Sep-09     471.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num   Inv Date    Inv Net     Pay Type
  RMA-4001      16-Oct-09   Authorization Pending   JeremyM                  289.00     O-15987     INV-17917      28-Sep-09     289.00   Credit Card
  RMA-4005      16-Oct-09   Authorization Pending   JeremyM                  744.00     O-15617     INV-18640      16-Oct-09     744.00   Credit Card
  RMA-4018      20-Oct-09   Authorization Pending   JeremyM                  289.00     O-15803     INV-17800      25-Sep-09     289.00   Credit Card
  RMA-4019      20-Oct-09   Authorization Pending   JeremyM                  298.00     O-16282     INV-18188      06-Oct-09     298.00   Credit Card
  RMA-4020      20-Oct-09   Authorization Pending   JeremyM                  129.00     O-10795     INV-13707      16-Jun-09     129.00   Credit Card
  RMA-4021      20-Oct-09   Authorization Pending   JeremyM                  289.00     O-16022     INV-17951      29-Sep-09     289.00   Credit Card
  RMA-4023      20-Oct-09   Authorization Pending   JeremyM                  398.00     O-15723     INV-18237      07-Oct-09     398.00   Credit Card
  RMA-4026      20-Oct-09   Authorization Pending   JeremyM                  115.00     O-16138     INV-18313      08-Oct-09     115.00   Credit Card
  RMA-4027      20-Oct-09   Authorization Pending   JeremyM                  598.00     O-16343     INV-18265      07-Oct-09     598.00   Credit Card
  RMA-4028      20-Oct-09   Authorization Pending   JeremyM                  178.00     O-15402     INV-17457      15-Sep-09     178.00   Credit Card
  RMA-4034      20-Oct-09   Authorization Pending   JeremyM                  298.00     O-12651     INV-17047      01-Sep-09     298.00   Credit Card
  RMA-4035      20-Oct-09   Authorization Pending   JeremyM                1,295.00     O-12651     INV-13984      19-Jun-09   2,688.00   Credit Card
  RMA-4036      20-Oct-09   Authorization Pending   JeremyM                  894.00     O-11921     INV-18289      08-Oct-09     894.00   Credit Card
  RMA-4038      21-Oct-09   Authorization Pending   JeremyM                  129.00     O-14850     INV-18166      05-Oct-09     258.00   Credit Card
  RMA-4040      21-Oct-09   Authorization Pending   JeremyM                1,018.00     O-12651     INV-13984      19-Jun-09   2,688.00   Credit Card
  RMA-4042      21-Oct-09   Authorization Pending   JeremyM                  115.00     O-15860     INV-17913      28-Sep-09     404.00   Credit Card
  RMA-4043      21-Oct-09   Authorization Pending   JeremyM                  689.00     O-16367     INV-18284      08-Oct-09   1,606.00   Credit Card
  RMA-4046      21-Oct-09   Authorization Pending   JeremyM                  189.00     O-15827     INV-17816      25-Sep-09     189.00   Credit Card
  RMA-4047      21-Oct-09   Authorization Pending   JeremyM                  189.00     O-16179     INV-18147      05-Oct-09     189.00   Credit Card
  RMA-4048      21-Oct-09   Authorization Pending   JeremyM                  298.00     O-11032     INV-17196      04-Sep-09     298.00   Credit Card
  RMA-4080      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16047     INV-17971      30-Sep-09     298.00   Credit Card
  RMA-4081      27-Oct-09   Authorization Pending   JeremyM                  498.00     O-15406     INV-17655      23-Sep-09     696.00   Credit Card
  RMA-4082      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16487     INV-18500      13-Oct-09     298.00   Credit Card
  RMA-4083      27-Oct-09   Authorization Pending   JeremyM                  228.00     O-16440     INV-18425      12-Oct-09   1,078.00   Credit Card
  RMA-4084      27-Oct-09   Authorization Pending   JeremyM                   48.00     O-16462     INV-18484      12-Oct-09     163.00   Credit Card
  RMA-4085      27-Oct-09   Authorization Pending   JeremyM                  153.00     O-13729     INV-16156      05-Aug-09     153.00   Credit Card
  RMA-4086      27-Oct-09   Authorization Pending   JeremyM                  250.00     O-16028     INV-18551      13-Oct-09     250.00   Credit Card
  RMA-4087      27-Oct-09   Authorization Pending   JeremyM                  289.00     O-15843     INV-18547      13-Oct-09     289.00   Credit Card
  RMA-4089      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16474     INV-18490      12-Oct-09     298.00   Credit Card
  RMA-4090      27-Oct-09   Authorization Pending   JeremyM                  435.00     O-16084     INV-18439      12-Oct-09     435.00   Credit Card
  RMA-4091      27-Oct-09   Authorization Pending   JeremyM                   54.00     O-16244     INV-18580      14-Oct-09      54.00   Credit Card
  RMA-4092      27-Oct-09   Authorization Pending   JeremyM                  429.00     O-16459     INV-18579      14-Oct-09     429.00   Credit Card
  RMA-4093      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16521     INV-18531      13-Oct-09     298.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date     Inv Net     Pay Type
  RMA-4095      27-Oct-09   Authorization Pending   JeremyM                  223.00     O-15601     INV-17614      22-Sep-09       583.00   Credit Card
  RMA-4107      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16249     INV-18153       05-Oct-09      298.00   Credit Card
  RMA-4110      27-Oct-09   Authorization Pending   JeremyM                  289.00     O-12615     INV-14524      30-Jun-09       289.00   Credit Card
  RMA-4112      27-Oct-09   Authorization Pending   JeremyM                  298.00     O-16558     INV-18624       15-Oct-09      298.00   Credit Card
  RMA-4113      27-Oct-09   Authorization Pending   JeremyM                   16.00     O-15507     INV-17562      21-Sep-09       314.00   Credit Card
  RMA-4114      27-Oct-09   Authorization Pending   JeremyM                  994.00     O-16331     INV-18226       07-Oct-09      994.00   Credit Card
  RMA-4115      27-Oct-09   Authorization Pending   JeremyM                  129.00     O-16495     INV-18510       13-Oct-09      129.00   Credit Card
  RMA-4137      27-Oct-09   Authorization Pending   JeremyM                  289.00     O-16264     INV-18144       05-Oct-09      289.00   Credit Card
  RMA-4140      28-Oct-09   Authorization Pending   Misty                    347.00     O-2454       INV-5983      23-Dec-08       347.00   Credit Card
  RMA-4142      30-Oct-09   Authorization Pending   JeremyM                  228.00     O-10566     INV-11358      11-May-09       619.00   Credit Card
  RMA-4154      02-Nov-09   Authorization Pending   JeremyM                  698.00     O-16705     INV-18750       20-Oct-09      698.00   Credit Card
  RMA-4155      02-Nov-09   Authorization Pending   JeremyM                  139.00     O-16464     INV-18483       12-Oct-09      575.00   Credit Card
  RMA-4156      02-Nov-09   Authorization Pending   JeremyM                   44.00     O-16430     INV-18436       12-Oct-09      506.00   Credit Card
  RMA-4157      02-Nov-09   Authorization Pending   JeremyM                  398.00     O-16430     INV-18436       12-Oct-09      506.00   Credit Card
  RMA-4159      02-Nov-09   Authorization Pending   JeremyM                  398.00     O-16644     INV-18689       19-Oct-09      398.00   Credit Card
  RMA-4160      02-Nov-09   Authorization Pending   JeremyM                  289.00     O-15930     INV-18554       13-Oct-09      289.00   Credit Card
  RMA-4161      02-Nov-09   Authorization Pending   JeremyM                  298.00     O-16397     INV-18393       09-Oct-09      413.00   Credit Card
  RMA-4162      02-Nov-09   Authorization Pending   JeremyM                  115.00     O-16345     INV-18259       07-Oct-09      115.00   Credit Card
  RMA-4163      02-Nov-09   Authorization Pending   JeremyM                  356.00     O-16627     INV-18758       20-Oct-09    1,543.00   Credit Card
  RMA-4167      04-Nov-09   Authorization Pending   JeremyM                  115.00     O-15709     INV-17729      23-Sep-09       115.00   Credit Card
  RMA-4168      04-Nov-09   Authorization Pending   JeremyM                  665.00     O-14954     INV-16919      27-Aug-09     1,322.00   Credit Card
  RMA-4171      04-Nov-09   Authorization Pending   JeremyM                  298.00     O-16802     INV-18918       22-Oct-09      298.00   Credit Card
  RMA-4172      04-Nov-09   Authorization Pending   JeremyM                  228.00     O-16712     INV-18785       20-Oct-09      228.00   Credit Card
  RMA-4174      04-Nov-09   Authorization Pending   JeremyM                1,190.00     O-16075     INV-18009      30-Sep-09     1,190.00   Credit Card
  RMA-4175      04-Nov-09   Authorization Pending   JeremyM                  247.00     O-13650     INV-15416        22-Jul-09     247.00   Credit Card
  RMA-4178      04-Nov-09   Authorization Pending   JeremyM                   98.00     O-15629     INV-18768       20-Oct-09       98.00   Credit Card
  RMA-4180      05-Nov-09   Authorization Pending   JeremyM                  298.00     O-11741     INV-18281       08-Oct-09      298.00   Credit Card
  RMA-4181      05-Nov-09   Authorization Pending   JeremyM                  298.00     O-11657     INV-17206      04-Sep-09       298.00   Credit Card
  RMA-4182      05-Nov-09   Authorization Pending   JeremyM                   98.00     O-15783     INV-18770       20-Oct-09       98.00   Credit Card
  RMA-4184      05-Nov-09   Authorization Pending   JeremyM                  298.00     O-16352     INV-18274       08-Oct-09    1,197.00   Credit Card
  RMA-4185      05-Nov-09   Authorization Pending   JeremyM                  115.00     O-16478     INV-18496       12-Oct-09      637.00   Credit Card
  RMA-4186      05-Nov-09   Authorization Pending   JeremyM                  383.00     O-16478     INV-18496       12-Oct-09      637.00   Credit Card
  RMA-4187      05-Nov-09   Authorization Pending   JeremyM                  139.00     O-16478     INV-18569       13-Oct-09      139.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num   Inv Date    Inv Net     Pay Type
  RMA-4188      05-Nov-09   Authorization Pending   JeremyM                1,190.00     O-16347     INV-18263      07-Oct-09   1,329.00   Credit Card
  RMA-4189      05-Nov-09   Authorization Pending   JeremyM                  998.00     O-16312     INV-18469      12-Oct-09     998.00   Credit Card
  RMA-4190      05-Nov-09   Authorization Pending   JeremyM                  289.00     O-15354     INV-17427      14-Sep-09     289.00   Credit Card
  RMA-4193      05-Nov-09   Authorization Pending   JeremyM                  898.00     O-16568     INV-18632      15-Oct-09     898.00   Credit Card
  RMA-4194      05-Nov-09   Authorization Pending   JeremyM                   98.00     O-15892     INV-18771      20-Oct-09      98.00   Credit Card
  RMA-4195      05-Nov-09   Authorization Pending   JeremyM                  408.00     O-14922     INV-18032      01-Oct-09     408.00   Credit Card
  RMA-4196      05-Nov-09   Authorization Pending   JeremyM                  228.00     O-16807     INV-18928      22-Oct-09     228.00   Credit Card
  RMA-4197      05-Nov-09   Authorization Pending   JeremyM                  113.00     O-16551     INV-18612      14-Oct-09     113.00   Credit Card
  RMA-4198      05-Nov-09   Authorization Pending   JeremyM                  598.00     O-16457     INV-18589      14-Oct-09     598.00   Credit Card
  RMA-4199      05-Nov-09   Authorization Pending   JeremyM                  124.20     O-14741     INV-18652      16-Oct-09     124.20   Credit Card
  RMA-4200      05-Nov-09   Authorization Pending   JeremyM                  298.00     O-16165     INV-18089      02-Oct-09     298.00   Credit Card
  RMA-4201      05-Nov-09   Authorization Pending   JeremyM                  298.00     O-16357     INV-18273      08-Oct-09     298.00   Credit Card
  RMA-4210      09-Nov-09   Authorization Pending   Cheryl                   450.00     O-17156     INV-19278      02-Nov-09     544.00   Credit Card
  RMA-4219      10-Nov-09   Authorization Pending   JeremyM                  189.00     O-17010     INV-19336      02-Nov-09     378.00   Cash, Credit Card
  RMA-4220      10-Nov-09   Authorization Pending   JeremyM                  398.00     O-15600     INV-18238      07-Oct-09     398.00   Credit Card
  RMA-4221      10-Nov-09   Authorization Pending   JeremyM                  115.00     O-17076     INV-19234      29-Oct-09   1,258.00   Credit Card
  RMA-4222      10-Nov-09   Authorization Pending   JeremyM                  498.00     O-16648     INV-18882      21-Oct-09     498.00   Credit Card
  RMA-4223      10-Nov-09   Authorization Pending   JeremyM                  289.00     O-15900     INV-17843      28-Sep-09     289.00   Credit Card
  RMA-4225      10-Nov-09   Authorization Pending   JeremyM                  110.00     O-16391     INV-18388      09-Oct-09     110.00   Credit Card
  RMA-4227      10-Nov-09   Authorization Pending   JeremyM                  298.00     O-17009     INV-19184      28-Oct-09     298.00   Credit Card
  RMA-4228      10-Nov-09   Authorization Pending   JeremyM                  228.00     O-16571     INV-18634      15-Oct-09     228.00   Credit Card
  RMA-4229      10-Nov-09   Authorization Pending   JeremyM                  598.00     O-15777     INV-19176      28-Oct-09     598.00   Credit Card
  RMA-4230      10-Nov-09   Authorization Pending   JeremyM                  115.00     O-17021     INV-19198      28-Oct-09     115.00   Credit Card
  RMA-4231      10-Nov-09   Authorization Pending   JeremyM                   85.00     O-16230     INV-19093      27-Oct-09     170.00   Credit Card
  RMA-4232      10-Nov-09   Authorization Pending   JeremyM                  189.00     O-16999     INV-19142      28-Oct-09     387.00   Credit Card
  RMA-4233      10-Nov-09   Authorization Pending   JeremyM                  115.00     O-16935     INV-19032      26-Oct-09     585.00   Credit Card
  RMA-4234      10-Nov-09   Authorization Pending   JeremyM                  298.00     O-17062     INV-19225      29-Oct-09     496.00   Credit Card
  RMA-4236      10-Nov-09   Authorization Pending   JeremyM                  289.00     O-15905     INV-17844      28-Sep-09     289.00   Credit Card
  RMA-4237      10-Nov-09   Authorization Pending   JeremyM                  850.00     O-16801     INV-18906      22-Oct-09     850.00   Credit Card
  RMA-4238      10-Nov-09   Authorization Pending   JeremyM                  298.00     O-16777     INV-18866      21-Oct-09     711.00   Credit Card
  RMA-4239      10-Nov-09   Authorization Pending   JeremyM                  398.00     O-16255     INV-18163      05-Oct-09   1,621.60   Credit Card
  RMA-4240      10-Nov-09   Authorization Pending   JeremyM                   85.00     O-16697     INV-19119      27-Oct-09      85.00   Credit Card
  RMA-4241      10-Nov-09   Authorization Pending   JeremyM                  163.00     O-16697     INV-18834      21-Oct-09     163.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num   Inv Date    Inv Net     Pay Type
  RMA-4242      10-Nov-09   Authorization Pending   JeremyM                  398.00     O-16712     INV-19034      26-Oct-09     398.00   Credit Card
  RMA-4243      10-Nov-09   Authorization Pending   JeremyM                  593.30     O-16824     INV-18936      23-Oct-09     593.30   Credit Card
  RMA-4245      10-Nov-09   Authorization Pending   JeremyM                  498.00     O-17048     INV-19240      29-Oct-09     498.00   Credit Card
  RMA-4246      10-Nov-09   Authorization Pending   JeremyM                  698.00     O-15952     INV-19253      30-Oct-09     698.00   Credit Card
  RMA-4247      10-Nov-09   Authorization Pending   JeremyM                  150.00     O-16667     INV-18709      19-Oct-09   1,149.00   Credit Card
  RMA-4248      10-Nov-09   Authorization Pending   JeremyM                  113.00     O-16549     INV-18616      14-Oct-09     303.00   Credit Card
  RMA-4252      10-Nov-09   Authorization Pending   JeremyM                  398.00     O-16567     INV-18627      15-Oct-09     398.00   Credit Card
  RMA-4253      10-Nov-09   Authorization Pending   JeremyM                  335.00     O-16841     INV-18945      23-Oct-09     335.00   Credit Card
  RMA-4254      10-Nov-09   Authorization Pending   JeremyM                  398.00     O-16062     INV-18556      13-Oct-09     398.00   Credit Card
  RMA-4255      10-Nov-09   Authorization Pending   JeremyM                  289.00     O-16505     INV-18564      13-Oct-09     289.00   Credit Card
  RMA-4256      10-Nov-09   Authorization Pending   JeremyM                  350.00     O-16564     INV-18753      20-Oct-09     366.00   Credit Card
  RMA-4257      10-Nov-09   Authorization Pending   JeremyM                  138.00     O-16803     INV-18911      22-Oct-09     138.00   Credit Card
  RMA-4258      10-Nov-09   Authorization Pending   JeremyM                  298.00     O-16699     INV-18755      20-Oct-09     330.00   Credit Card
  RMA-4260      10-Nov-09   Authorization Pending   JeremyM                  598.00     O-16711     INV-19191      28-Oct-09     598.00   Credit Card
  RMA-4261      10-Nov-09   Authorization Pending   JeremyM                  163.00     O-16875     INV-19001      26-Oct-09     163.00   Credit Card
  RMA-4262      10-Nov-09   Authorization Pending   JeremyM                  230.00     O-16845     INV-18943      23-Oct-09     230.00   Credit Card
  RMA-4266      10-Nov-09   Authorization Pending   JeremyM                  539.00     O-15025     INV-18035      01-Oct-09     539.00   Credit Card
  RMA-4268      13-Nov-09   Created                 JeremyM                  285.00     O-15835     INV-18241      07-Oct-09     285.00   Credit Card
  RMA-4295      19-Nov-09   Authorization Pending   JeremyM                   98.00     O-15080     INV-18331      08-Oct-09      98.00   Credit Card
  RMA-4296      19-Nov-09   Authorization Pending   JeremyM                   85.00     O-15563     INV-19102      27-Oct-09      85.00   Credit Card
  RMA-4297      19-Nov-09   Authorization Pending   JeremyM                  115.00     O-17116     INV-19291      02-Nov-09     115.00   Credit Card
  RMA-4299      19-Nov-09   Authorization Pending   JeremyM                   85.00     O-16319     INV-19098      27-Oct-09      85.00   Credit Card
  RMA-4300      19-Nov-09   Authorization Pending   JeremyM                   97.00     O-15999     INV-19554      04-Nov-09      97.00   Credit Card
  RMA-4302      19-Nov-09   Authorization Pending   JeremyM                  796.00     O-16823     INV-19031      26-Oct-09     796.00   Credit Card
  RMA-4305      19-Nov-09   Authorization Pending   JeremyM                  248.00     O-16233     INV-18754      20-Oct-09     248.00   Credit Card
  RMA-4306      19-Nov-09   Authorization Pending   JeremyM                   95.00     O-16233     INV-18415      09-Oct-09      95.00   Credit Card
  RMA-4307      19-Nov-09   Authorization Pending   JeremyM                  850.00     O-16704     INV-18745      20-Oct-09     850.00   Credit Card
  RMA-4308      19-Nov-09   Authorization Pending   JeremyM                  328.00     O-15971     INV-19058      27-Oct-09     328.00   Credit Card
  RMA-4309      19-Nov-09   Authorization Pending   JeremyM                  228.00     O-17299     INV-19683      09-Nov-09     228.00   Credit Card
  RMA-4311      19-Nov-09   Authorization Pending   JeremyM                  198.00     O-16606     INV-18657      16-Oct-09     594.00   Credit Card
  RMA-4313      19-Nov-09   Authorization Pending   JeremyM                  115.00     O-17142     INV-19283      02-Nov-09     115.00   Credit Card
  RMA-4314      19-Nov-09   Authorization Pending   JeremyM                  314.00     O-17142     INV-19312      02-Nov-09     314.00   Credit Card
  RMA-4315      19-Nov-09   Authorization Pending   JeremyM                  298.00     O-16805     INV-18916      22-Oct-09     576.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-4317      19-Nov-09   Authorization Pending   JeremyM                  998.00     O-17335     INV-19652      09-Nov-09      998.00   Credit Card
  RMA-4318      19-Nov-09   Authorization Pending   JeremyM                  598.00     O-17259     INV-19566      05-Nov-09    1,596.00   Credit Card
  RMA-4320      19-Nov-09   Authorization Pending   JeremyM                  289.00     O-16899     INV-19714      10-Nov-09      289.00   Credit Card
  RMA-4322      19-Nov-09   Authorization Pending   JeremyM                  598.00     O-16164     INV-19169      28-Oct-09      598.00   Credit Card
  RMA-4324      19-Nov-09   Authorization Pending   JeremyM                  268.00     O-15608     INV-19424      04-Nov-09      268.00   Credit Card
  RMA-4326      19-Nov-09   Authorization Pending   JeremyM                  361.00     O-16085     INV-18444      12-Oct-09    1,319.00   Credit Card
  RMA-4327      19-Nov-09   Authorization Pending   JeremyM                  115.00     O-17319     INV-19648      09-Nov-09      115.00   Credit Card
  RMA-4328      19-Nov-09   Authorization Pending   JeremyM                  164.00     O-15746     INV-19073      27-Oct-09      164.00   Credit Card
  RMA-4332      19-Nov-09   Authorization Pending   JeremyM                  398.00     O-16711     INV-19619      06-Nov-09      398.00   Credit Card
  RMA-4333      19-Nov-09   Authorization Pending   JeremyM                   98.00     O-15546     INV-18765      20-Oct-09       98.00   Credit Card
  RMA-4335      19-Nov-09   Authorization Pending   JeremyM                  157.00     O-17192     INV-19339      02-Nov-09      157.00   Credit Card
  RMA-4336      19-Nov-09   Authorization Pending   JeremyM                  163.00     O-15776     INV-18855      21-Oct-09      163.00   Credit Card
  RMA-4338      19-Nov-09   Authorization Pending   JeremyM                  289.00     O-16619     INV-18777      20-Oct-09      289.00   Credit Card
  RMA-4339      19-Nov-09   Authorization Pending   JeremyM                  387.00     O-17010     INV-19613      06-Nov-09      387.00   Cash, Credit Card
  RMA-4340      19-Nov-09   Authorization Pending   JeremyM                  289.00     O-13394     INV-15471       23-Jul-09     289.00   Credit Card
  RMA-4345      19-Nov-09   Authorization Pending   JeremyM                  289.00     O-15655     INV-19382      03-Nov-09      289.00   Credit Card
  RMA-4364      27-Nov-09   Authorization Pending   JeremyM                  691.00     O-17356     INV-19691      09-Nov-09    1,587.00   Credit Card
  RMA-4436      04-Dec-09   Authorization Pending   JeremyM                  470.00     O-17340     INV-19674      09-Nov-09      470.00   Cash, Credit Card
  RMA-4437      04-Dec-09   Authorization Pending   JeremyM                  178.00     O-17731     INV-20005      18-Nov-09      178.00   Credit Card
  RMA-4438      04-Dec-09   Authorization Pending   JeremyM                  228.00     O-17014     INV-19711      10-Nov-09      228.00   Credit Card
  RMA-4439      04-Dec-09   Authorization Pending   JeremyM                  189.00     O-17487     INV-19850      16-Nov-09      189.00   Credit Card
  RMA-4457      09-Dec-09   Authorization Pending   JeremyM                  998.00     O-18461     INV-20886      02-Dec-09      998.00   Credit Card
  RMA-4458      09-Dec-09   Authorization Pending   JeremyM                  408.00     O-16422     INV-19650      09-Nov-09      408.00   Credit Card
  RMA-4461      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-18508     INV-20980      03-Dec-09      115.00   Credit Card
  RMA-4463      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-18390     INV-20767      01-Dec-09      115.00   Credit Card
  RMA-4464      09-Dec-09   Authorization Pending   JeremyM                  134.00     O-17124     INV-19281      02-Nov-09      134.00   Credit Card
  RMA-4465      09-Dec-09   Authorization Pending   JeremyM                  275.00     O-17124     INV-19759      12-Nov-09      275.00   Credit Card
  RMA-4466      09-Dec-09   Authorization Pending   JeremyM                  398.00     O-17986     INV-20235      23-Nov-09      398.00   Credit Card
  RMA-4468      09-Dec-09   Authorization Pending   JeremyM                   98.00     O-17005     INV-20826      01-Dec-09       98.00   Credit Card
  RMA-4469      09-Dec-09   Authorization Pending   JeremyM                  624.00     O-17222     INV-19394      03-Nov-09      739.00   Credit Card
  RMA-4472      09-Dec-09   Authorization Pending   JeremyM                  178.00     O-10409     INV-15019       13-Jul-09     178.00   Credit Card
  RMA-4473      09-Dec-09   Authorization Pending   JeremyM                  485.00     O-18090     INV-20337      24-Nov-09      485.00   Credit Card
  RMA-4475      09-Dec-09   Authorization Pending   JeremyM                  164.00     O-17846     INV-20148      19-Nov-09      164.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num   Inv Date    Inv Net     Pay Type
  RMA-4476      09-Dec-09   Authorization Pending   JeremyM                  398.00     O-16440     INV-19035      26-Oct-09     398.00   Credit Card
  RMA-4478      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-16905     INV-18980      26-Oct-09     115.00   Credit Card
  RMA-4479      09-Dec-09   Authorization Pending   JeremyM                  189.00     O-17835     INV-20081      19-Nov-09     189.00   Credit Card
  RMA-4481      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-17570     INV-19901      17-Nov-09     115.00   Credit Card
  RMA-4482      09-Dec-09   Authorization Pending   JeremyM                   98.00     O-16060     INV-19294      02-Nov-09      98.00   Credit Card
  RMA-4483      09-Dec-09   Authorization Pending   JeremyM                  495.00     O-17669     INV-20449      25-Nov-09     495.00   Credit Card
  RMA-4484      09-Dec-09   Authorization Pending   JeremyM                   95.00     O-17242     INV-19416      04-Nov-09      95.00   Credit Card
  RMA-4485      09-Dec-09   Authorization Pending   JeremyM                  138.00     O-16658     INV-19415      04-Nov-09     138.00   Credit Card
  RMA-4486      09-Dec-09   Authorization Pending   JeremyM                  258.00     O-18102     INV-20368      24-Nov-09     258.00   Credit Card
  RMA-4487      09-Dec-09   Authorization Pending   JeremyM                  398.00     O-17211     INV-19383      03-Nov-09     546.00   Credit Card
  RMA-4488      09-Dec-09   Authorization Pending   JeremyM                  298.00     O-17725     INV-20008      18-Nov-09     446.00   Credit Card
  RMA-4489      09-Dec-09   Authorization Pending   JeremyM                  189.00     O-17501     INV-19796      16-Nov-09     189.00   Credit Card
  RMA-4492      09-Dec-09   Authorization Pending   JeremyM                  110.00     O-17768     INV-20314      23-Nov-09     110.00   Credit Card
  RMA-4493      09-Dec-09   Authorization Pending   JeremyM                  258.00     O-17768     INV-20032      19-Nov-09     258.00   Credit Card
  RMA-4494      09-Dec-09   Authorization Pending   JeremyM                  398.00     O-17423     INV-19778      13-Nov-09     634.00   Credit Card
  RMA-4495      09-Dec-09   Authorization Pending   JeremyM                  298.00     O-17373     INV-19704      10-Nov-09     298.00   Credit Card
  RMA-4498      09-Dec-09   Authorization Pending   JeremyM                  470.00     O-16419     INV-18417      09-Oct-09     470.00   Credit Card
  RMA-4499      09-Dec-09   Authorization Pending   JeremyM                   16.00     O-16419     INV-18457      12-Oct-09      16.00   Credit Card
  RMA-4500      09-Dec-09   Authorization Pending   JeremyM                   97.00     O-17310     INV-19644      09-Nov-09     245.00   Credit Card
  RMA-4501      09-Dec-09   Authorization Pending   JeremyM                  289.00     O-16310     INV-18557      13-Oct-09     289.00   Credit Card
  RMA-4502      09-Dec-09   Authorization Pending   JeremyM                   44.00     O-15234     INV-17272      08-Sep-09     113.00   Credit Card
  RMA-4503      09-Dec-09   Authorization Pending   JeremyM                   90.00     O-15261     INV-17296      08-Sep-09     423.00   Credit Card
  RMA-4504      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-17454     INV-19819      16-Nov-09     115.00   Credit Card
  RMA-4505      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-17505     INV-19804      16-Nov-09     115.00   Credit Card
  RMA-4506      09-Dec-09   Authorization Pending   JeremyM                   85.00     O-17683     INV-19985      18-Nov-09      85.00   Credit Card
  RMA-4508      09-Dec-09   Authorization Pending   JeremyM                  157.00     O-17269     INV-19585      05-Nov-09     157.00   Credit Card
  RMA-4510      09-Dec-09   Authorization Pending   JeremyM                  275.00     O-17449     INV-19799      16-Nov-09     275.00   Credit Card
  RMA-4511      09-Dec-09   Authorization Pending   JeremyM                  115.00     O-17512     INV-19843      16-Nov-09     115.00   Credit Card
  RMA-4512      09-Dec-09   Authorization Pending   JeremyM                  277.00     O-17506     INV-19801      16-Nov-09     277.00   Credit Card
  RMA-4535      11-Dec-09   Authorization Pending   JeremyM                  470.00     O-17736     INV-20263      23-Nov-09     470.00   Credit Card
  RMA-4536      11-Dec-09   Authorization Pending   JeremyM                  135.00     O-17478     INV-19809      16-Nov-09     248.00   Credit Card
  RMA-4537      11-Dec-09   Authorization Pending   JeremyM                  689.00     O-17306     INV-19638      09-Nov-09     804.00   Credit Card
  RMA-4538      11-Dec-09   Authorization Pending   JeremyM                  115.00     O-17306     INV-19638      09-Nov-09     804.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-4539      11-Dec-09   Authorization Pending   JeremyM                  250.00     O-17306     INV-19736      11-Nov-09     250.00   Credit Card
  RMA-4573      17-Dec-09   Authorization Pending   JeremyM                  498.00     O-17630     INV-19938      17-Nov-09     498.00   Credit Card
  RMA-4575      17-Dec-09   Authorization Pending   JeremyM                  138.00     O-18708     INV-21200      07-Dec-09     138.00   Credit Card
  RMA-4576      17-Dec-09   Authorization Pending   JeremyM                  298.00     O-18143     INV-20418      25-Nov-09     298.00   Credit Card
  RMA-4579      17-Dec-09   Authorization Pending   JeremyM                   97.00     O-15741     INV-19503      04-Nov-09      97.00   Credit Card
  RMA-4581      17-Dec-09   Authorization Pending   JeremyM                  164.00     O-18329     INV-20725      30-Nov-09     328.00   Credit Card
  RMA-4582      17-Dec-09   Authorization Pending   JeremyM                  289.00     O-16617     INV-20568      27-Nov-09     289.00   Credit Card
  RMA-4584      17-Dec-09   Authorization Pending   JeremyM                  850.00     O-18071     INV-20350      24-Nov-09     850.00   Credit Card
  RMA-4585      17-Dec-09   Authorization Pending   JeremyM                   98.00     O-16442     INV-18445      12-Oct-09      98.00   Credit Card
  RMA-4587      17-Dec-09   Authorization Pending   JeremyM                  289.00     O-16905     INV-20575      27-Nov-09     289.00   Credit Card
  RMA-4588      17-Dec-09   Authorization Pending   JeremyM                  268.00     O-17882     INV-20983      03-Dec-09     268.00   Credit Card
  RMA-4608      22-Dec-09   Authorization Pending   JeremyM                  298.00     O-16979     INV-20908      02-Dec-09     298.00   Credit Card
  RMA-4611      22-Dec-09   Authorization Pending   JeremyM                  495.00     O-18151     INV-20495      25-Nov-09     495.00   Credit Card
  RMA-4612      22-Dec-09   Authorization Pending   JeremyM                  156.00     O-15131     INV-17099      03-Sep-09     156.00   Credit Card
  RMA-4613      22-Dec-09   Authorization Pending   JeremyM                  998.00     O-17642     INV-19952      18-Nov-09     998.00   Credit Card
  RMA-4614      22-Dec-09   Authorization Pending   JeremyM                  585.00     O-17618     INV-20128      19-Nov-09     585.00   Credit Card
  RMA-4615      22-Dec-09   Authorization Pending   JeremyM                  298.00     O-18065     INV-20952      02-Dec-09     298.00   Credit Card
  RMA-4616      22-Dec-09   Authorization Pending   JeremyM                  218.00     O-17626     INV-20555      27-Nov-09     218.00   Credit Card
  RMA-4617      22-Dec-09   Authorization Pending   JeremyM                  396.00     O-18165     INV-20441      25-Nov-09     396.00   Credit Card
  RMA-4620      22-Dec-09   Authorization Pending   JeremyM                  164.00     O-18172     INV-20716      30-Nov-09     164.00   Credit Card
  RMA-4621      22-Dec-09   Authorization Pending   JeremyM                  189.00     O-18172     INV-20439      25-Nov-09     189.00   Credit Card
  RMA-4622      22-Dec-09   Authorization Pending   JeremyM                  250.00     O-17782     INV-20056      19-Nov-09     702.00   Credit Card
  RMA-4623      22-Dec-09   Authorization Pending   JeremyM                  598.00     O-15776     INV-17799      24-Sep-09     943.00   Credit Card
  RMA-4624      22-Dec-09   Authorization Pending   JeremyM                   97.00     O-15776     INV-19497      04-Nov-09      97.00   Credit Card
  RMA-4625      22-Dec-09   Authorization Pending   JeremyM                  345.00     O-18463     INV-20873      02-Dec-09     345.00   Credit Card
  RMA-4626      22-Dec-09   Authorization Pending   JeremyM                  298.00     O-18168     INV-20430      25-Nov-09     298.00   Credit Card
  RMA-4627      22-Dec-09   Authorization Pending   JeremyM                  495.00     O-17723     INV-20456      25-Nov-09     495.00   Credit Card
  RMA-4628      22-Dec-09   Authorization Pending   JeremyM                  648.00     O-18584     INV-21048      04-Dec-09     648.00   Credit Card
  RMA-4629      22-Dec-09   Authorization Pending   JeremyM                  250.00     O-17350     INV-19732      11-Nov-09     250.00   Credit Card
  RMA-4630      22-Dec-09   Authorization Pending   JeremyM                  198.00     O-17788     INV-20055      19-Nov-09     571.00   Credit Card
  RMA-4632      22-Dec-09   Authorization Pending   JeremyM                  598.00     O-18523     INV-20962      03-Dec-09     598.00   Credit Card
  RMA-4635      22-Dec-09   Authorization Pending   JeremyM                  148.00     O-17561     INV-19941      17-Nov-09     148.00   Credit Card
  RMA-4638      28-Dec-09   Authorization Pending   JeremyM                  129.00     O-17885     INV-20165      20-Nov-09     129.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-4639      28-Dec-09   Authorization Pending   JeremyM                  485.00     O-18104     INV-21131      07-Dec-09     485.00   Credit Card
  RMA-4642      28-Dec-09   Authorization Pending   JeremyM                  115.00     O-17771     INV-21001      03-Dec-09     115.00   Credit Card
  RMA-4645      28-Dec-09   Authorization Pending   JeremyM                  247.00     O-18777     INV-21268      08-Dec-09     247.00   Credit Card
  RMA-4647      28-Dec-09   Authorization Pending   JeremyM                1,295.00     O-18396     INV-21243      08-Dec-09   1,295.00   Credit Card
  RMA-4650      28-Dec-09   Authorization Pending   JeremyM                  289.00     O-17137     INV-20997      03-Dec-09     289.00   Credit Card
  RMA-4651      28-Dec-09   Authorization Pending   JeremyM                  115.00     O-17137     INV-19284      02-Nov-09     477.00   Credit Card
  RMA-4652      28-Dec-09   Authorization Pending   JeremyM                  289.00     O-18427     INV-21469      10-Dec-09     289.00   Credit Card
  RMA-4653      28-Dec-09   Authorization Pending   JeremyM                  157.00     O-18628     INV-21094      07-Dec-09     157.00   Credit Card
  RMA-4654      28-Dec-09   Authorization Pending   JeremyM                  203.00     O-18591     INV-21058      04-Dec-09     203.00   Credit Card
  RMA-4655      28-Dec-09   Authorization Pending   JeremyM                   69.00     O-18472     INV-20892      02-Dec-09      69.00   Credit Card
  RMA-4656      28-Dec-09   Authorization Pending   JeremyM                  289.00     O-17557     INV-19931      17-Nov-09     289.00   Credit Card
  RMA-4657      28-Dec-09   Authorization Pending   JeremyM                  298.00     O-17557     INV-19898      17-Nov-09     446.00   Credit Card
  RMA-4660      28-Dec-09   Authorization Pending   JeremyM                  289.00     O-18108     INV-21263      08-Dec-09     289.00   Credit Card
  RMA-4661      28-Dec-09   Authorization Pending   JeremyM                  238.00     O-17207     INV-21672      14-Dec-09     238.00   Credit Card
  RMA-4664      28-Dec-09   Authorization Pending   JeremyM                  218.00     O-18781     INV-21254      08-Dec-09     218.00   Credit Card
  RMA-4666      28-Dec-09   Authorization Pending   JeremyM                  289.00     O-18327     INV-21242      08-Dec-09     289.00   Credit Card
  RMA-4670      29-Dec-09   Authorization Pending   JeremyM                  378.00     O-17795     INV-20972      03-Dec-09     378.00   Credit Card
  RMA-4671      29-Dec-09   Authorization Pending   JeremyM                  298.00     O-17026     INV-20914      02-Dec-09     298.00   Credit Card
  RMA-4672      29-Dec-09   Authorization Pending   JeremyM                  189.00     O-17999     INV-20290      23-Nov-09     189.00   Credit Card
  RMA-4677      29-Dec-09   Authorization Pending   JeremyM                  850.00     O-16260     INV-18401      09-Oct-09     850.00   Credit Card
  RMA-4678      29-Dec-09   Authorization Pending   JeremyM                  845.00     O-18745     INV-21266      08-Dec-09     845.00   Credit Card
  RMA-4679      29-Dec-09   Authorization Pending   JeremyM                  198.00     O-17768     INV-20571      27-Nov-09     198.00   Credit Card
  RMA-4682      29-Dec-09   Authorization Pending   JeremyM                  129.00     O-18880     INV-21348      09-Dec-09     258.00   Credit Card
  RMA-4683      29-Dec-09   Authorization Pending   JeremyM                   81.00     O-19185     INV-21702      14-Dec-09     213.00   Credit Card
  RMA-4684      29-Dec-09   Authorization Pending   JeremyM                  698.00     O-18430     INV-20840      01-Dec-09     698.00   Credit Card
  RMA-4686      29-Dec-09   Authorization Pending   JeremyM                  698.00     O-18350     INV-20845      01-Dec-09     973.00   Credit Card
  RMA-4687      29-Dec-09   Authorization Pending   JeremyM                  400.00     O-18617     INV-21079      07-Dec-09     400.00   Credit Card
  RMA-4688      29-Dec-09   Authorization Pending   JeremyM                  289.00     O-18123     INV-21461      10-Dec-09     289.00   Credit Card
  RMA-4690      29-Dec-09   Authorization Pending   JeremyM                  298.00     O-18433     INV-20850      01-Dec-09     298.00   Credit Card
  RMA-4693      29-Dec-09   Authorization Pending   JeremyM                  138.00     O-17813     INV-20064      19-Nov-09     276.00   Credit Card
  RMA-4694      29-Dec-09   Authorization Pending   JeremyM                  155.00     O-17813     INV-20647      30-Nov-09     155.00   Credit Card
  RMA-4696      29-Dec-09   Authorization Pending   JeremyM                   85.00     O-19273     INV-22022      18-Dec-09      85.00   Credit Card
  RMA-4697      29-Dec-09   Authorization Pending   JeremyM                  313.00     O-17457     INV-19821      16-Nov-09     476.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-4699      29-Dec-09   Authorization Pending   JeremyM                  298.00     O-18978     INV-21488      10-Dec-09     298.00   Credit Card
  RMA-4701      29-Dec-09   Authorization Pending   JeremyM                   85.00     O-16392     INV-20519      27-Nov-09      85.00   Cash, Credit Card
  RMA-4703      29-Dec-09   Authorization Pending   JeremyM                  289.00     O-18527     INV-21459      10-Dec-09     289.00   Credit Card
  RMA-4704      29-Dec-09   Authorization Pending   JeremyM                  178.00     O-18527     INV-20959      03-Dec-09     333.00   Credit Card
  RMA-4708      29-Dec-09   Authorization Pending   JeremyM                  498.00     O-17792     INV-20059      19-Nov-09   1,194.00   Credit Card
  RMA-4709      29-Dec-09   Authorization Pending   JeremyM                  115.00     O-18217     INV-20503      27-Nov-09     115.00   Credit Card
  RMA-4710      29-Dec-09   Authorization Pending   JeremyM                  289.00     O-17250     INV-22026      18-Dec-09     289.00   Credit Card
  RMA-4711      29-Dec-09   Authorization Pending   JeremyM                  178.00     O-18616     INV-21140      07-Dec-09     576.00   Credit Card
  RMA-4713      29-Dec-09   Authorization Pending   JeremyM                  495.00     O-17726     INV-20453      25-Nov-09     495.00   Credit Card
  RMA-4714      29-Dec-09   Authorization Pending   JeremyM                   64.00     O-18906     INV-21467      10-Dec-09      64.00   Credit Card
  RMA-4715      29-Dec-09   Authorization Pending   JeremyM                1,296.00     O-17882     INV-20168      20-Nov-09   1,296.00   Credit Card
  RMA-4718      30-Dec-09   Authorization Pending   Cheryl                     1.00     O-19803     INV-22499      24-Dec-09       1.00   Cash
  RMA-4811      07-Jan-10   Authorization Pending   JeremyM                  128.00     O-17579     INV-19886      17-Nov-09     128.00   Credit Card
  RMA-4812      07-Jan-10   Authorization Pending   JeremyM                  335.00     O-17725     INV-22420      23-Dec-09     335.00   Credit Card
  RMA-4816      07-Jan-10   Authorization Pending   JeremyM                   50.00     O-19872     INV-22597      28-Dec-09     100.00   Credit Card
  RMA-4817      07-Jan-10   Authorization Pending   JeremyM                  189.00     O-18870     INV-21333      09-Dec-09     189.00   Credit Card
  RMA-4818      07-Jan-10   Authorization Pending   JeremyM                  470.00     O-19717     INV-22347      22-Dec-09     470.00   Credit Card
  RMA-4823      07-Jan-10   Authorization Pending   JeremyM                  139.00     O-15816     INV-22061      18-Dec-09     139.00   Credit Card
  RMA-4824      07-Jan-10   Authorization Pending   JeremyM                  230.00     O-17481     INV-19805      16-Nov-09     697.00   Credit Card
  RMA-4825      07-Jan-10   Authorization Pending   JeremyM                  110.00     O-17481     INV-20313      23-Nov-09     110.00   Credit Card
  RMA-4826      07-Jan-10   Authorization Pending   JeremyM                  150.00     O-17481     INV-19929      17-Nov-09     150.00   Credit Card
  RMA-4827      07-Jan-10   Authorization Pending   JeremyM                  298.00     O-19027     INV-21567      11-Dec-09     298.00   Credit Card
  RMA-4828      07-Jan-10   Authorization Pending   JeremyM                  178.00     O-17397     INV-19740      11-Nov-09     178.00   Credit Card
  RMA-4829      07-Jan-10   Authorization Pending   JeremyM                  398.00     O-18699     INV-21135      07-Dec-09     398.00   Credit Card
  RMA-4830      07-Jan-10   Authorization Pending   JeremyM                  236.00     O-19366     INV-21857      16-Dec-09     236.00   Credit Card
  RMA-4831      07-Jan-10   Authorization Pending   JeremyM                  163.00     O-18412     INV-20837      01-Dec-09     163.00   Credit Card
  RMA-4833      07-Jan-10   Authorization Pending   JeremyM                  470.00     O-18355     INV-20736      30-Nov-09     470.00   Credit Card
  RMA-4842      08-Jan-10   Authorization Pending   JeremyM                  115.00     O-18821     INV-21319      09-Dec-09     115.00   Credit Card
  RMA-4843      08-Jan-10   Authorization Pending   JeremyM                  135.00     O-18821     INV-22256      22-Dec-09     135.00   Credit Card
  RMA-4844      08-Jan-10   Authorization Pending   JeremyM                  585.00     O-17619     INV-20114      19-Nov-09     585.00   Credit Card
  RMA-4845      08-Jan-10   Authorization Pending   JeremyM                  135.00     O-16780     INV-22263      22-Dec-09     135.00   Credit Card
  RMA-4846      08-Jan-10   Authorization Pending   JeremyM                  298.00     O-19749     INV-22365      23-Dec-09     896.00   Credit Card
  RMA-4867      12-Jan-10   Authorization Pending   JeremyM                  498.00     O-19806     INV-22502      28-Dec-09     498.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date    Inv Net     Pay Type
  RMA-4868      12-Jan-10   Authorization Pending   JeremyM                  115.00     O-19492     INV-21991      18-Dec-09      797.00   Credit Card
  RMA-4869      12-Jan-10   Authorization Pending   JeremyM                  129.00     O-17938     INV-20328      23-Nov-09      258.00   Credit Card
  RMA-4870      12-Jan-10   Authorization Pending   JeremyM                  129.00     O-18788     INV-21279      08-Dec-09      129.00   Credit Card
  RMA-4872      13-Jan-10   Authorization Pending   JeremyM                  230.00     O-18969     INV-21474      10-Dec-09      230.00   Credit Card
  RMA-4873      13-Jan-10   Authorization Pending   JeremyM                   85.00     O-20082     INV-22789      31-Dec-09       85.00   Credit Card
  RMA-4874      13-Jan-10   Authorization Pending   JeremyM                  298.00     O-18685     INV-21334      09-Dec-09      298.00   Credit Card
  RMA-4876      13-Jan-10   Authorization Pending   JeremyM                  155.00     O-19387     INV-21884      16-Dec-09      155.00   Credit Card
  RMA-4877      13-Jan-10   Authorization Pending   JeremyM                1,111.00     O-18718     INV-21183      07-Dec-09    1,111.00   Credit Card
  RMA-4878      13-Jan-10   Authorization Pending   JeremyM                  115.00     O-18766     INV-21224      08-Dec-09      115.00   Credit Card
  RMA-4881      13-Jan-10   Authorization Pending   JeremyM                  328.95     O-19307     INV-21798      15-Dec-09      328.95   Credit Card
  RMA-4882      13-Jan-10   Authorization Pending   JeremyM                1,296.00     O-19136     INV-22009      18-Dec-09    1,296.00   Credit Card
  RMA-4883      13-Jan-10   Authorization Pending   JeremyM                  704.00     O-19634     INV-22124      21-Dec-09      948.00   Credit Card
  RMA-4884      13-Jan-10   Authorization Pending   JeremyM                  198.00     O-18415     INV-20795      01-Dec-09      796.00   Credit Card
  RMA-4885      13-Jan-10   Authorization Pending   JeremyM                  689.00     O-18725     INV-21376      09-Dec-09      689.00   Credit Card
  RMA-4886      13-Jan-10   Authorization Pending   JeremyM                  163.00     O-17278     INV-19592      05-Nov-09      661.00   Credit Card
  RMA-4888      13-Jan-10   Authorization Pending   JeremyM                  190.00     O-17607     INV-19915      17-Nov-09      254.00   Credit Card
  RMA-4890      13-Jan-10   Authorization Pending   JeremyM                  115.00     O-19834     INV-22616      28-Dec-09      115.00   Credit Card
  RMA-4892      13-Jan-10   Authorization Pending   JeremyM                   98.00     O-18965     INV-21447      10-Dec-09       98.00   Credit Card
  RMA-4896      13-Jan-10   Authorization Pending   JeremyM                  467.00     O-18852     INV-21342      09-Dec-09    1,359.00   Credit Card
  RMA-4897      13-Jan-10   Authorization Pending   JeremyM                  163.00     O-18852     INV-21791      15-Dec-09      163.00   Credit Card
  RMA-4898      13-Jan-10   Authorization Pending   JeremyM                  598.00     O-18852     INV-21342      09-Dec-09    1,359.00   Credit Card
  RMA-4901      13-Jan-10   Authorization Pending   JeremyM                   98.00     O-17765     INV-20802      01-Dec-09       98.00   Credit Card
  RMA-4903      13-Jan-10   Authorization Pending   JeremyM                  178.00     O-17624     INV-22496      23-Dec-09      178.00   Credit Card
  RMA-4904      13-Jan-10   Authorization Pending   JeremyM                  178.00     O-17624     INV-19933      17-Nov-09      178.00   Credit Card
  RMA-4905      13-Jan-10   Authorization Pending   JeremyM                  289.00     O-17022     INV-19197       28-Oct-09     289.00   Credit Card
  RMA-4906      13-Jan-10   Authorization Pending   JeremyM                  238.00     O-17588     INV-21690      14-Dec-09      238.00   Credit Card
  RMA-4909      13-Jan-10   Authorization Pending   JeremyM                  498.00     O-19578     INV-22319      22-Dec-09      498.00   Credit Card
  RMA-4915      13-Jan-10   Authorization Pending   JeremyM                   81.00     O-19606     INV-22127      21-Dec-09       81.00   Credit Card
  RMA-4916      13-Jan-10   Authorization Pending   JeremyM                1,948.00     O-17479     INV-21059      04-Dec-09    1,948.00   Credit Card
  RMA-4917      13-Jan-10   Authorization Pending   JeremyM                  113.00     O-19726     INV-22350      22-Dec-09      113.00   Credit Card
  RMA-4918      13-Jan-10   Authorization Pending   JeremyM                  113.00     O-19745     INV-22358      23-Dec-09      113.00   Credit Card
  RMA-4920      13-Jan-10   Authorization Pending   Misty                    198.00     O-10971     INV-11727      18-May-09      198.00   Credit Card
  RMA-4921      13-Jan-10   Authorization Pending   Misty                    998.00     O-17509     INV-19818      16-Nov-09      998.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-4925      13-Jan-10   Authorization Pending   Misty                    345.00     O-19529     INV-22053      18-Dec-09     345.00   Credit Card
  RMA-4926      13-Jan-10   Authorization Pending   Misty                    498.00     O-16865     INV-18963      23-Oct-09     498.00   Credit Card
  RMA-4928      13-Jan-10   Authorization Pending   Misty                    278.00     O-19228     INV-21720      14-Dec-09     278.00   Credit Card
  RMA-4930      13-Jan-10   Authorization Pending   JeremyM                  321.00     O-19106     INV-22177      21-Dec-09     321.00   Credit Card
  RMA-4931      13-Jan-10   Authorization Pending   JeremyM                  598.00     O-19112     INV-21590      14-Dec-09     935.00   Credit Card
  RMA-4933      13-Jan-10   Authorization Pending   JeremyM                  468.00     O-20037     INV-22719      30-Dec-09     468.00   Credit Card
  RMA-4934      13-Jan-10   Authorization Pending   JeremyM                  387.00     O-15409     INV-22301      22-Dec-09     387.00   Credit Card
  RMA-4936      13-Jan-10   Authorization Pending   JeremyM                  268.00     O-18244     INV-20540      27-Nov-09     268.00   Credit Card
  RMA-4937      13-Jan-10   Authorization Pending   JeremyM                  250.00     O-19639     INV-22132      21-Dec-09     250.00   Credit Card
  RMA-4938      13-Jan-10   Authorization Pending   JeremyM                  250.00     O-19480     INV-21966      18-Dec-09     250.00   Credit Card
  RMA-4940      13-Jan-10   Authorization Pending   JeremyM                   24.00     O-19859     INV-22574      28-Dec-09      24.00   Credit Card
  RMA-4941      13-Jan-10   Authorization Pending   JeremyM                   85.00     O-20152     INV-22850      04-Jan-10      85.00   Credit Card
  RMA-4942      13-Jan-10   Authorization Pending   JeremyM                  107.00     O-18438     INV-21616      14-Dec-09     107.00   Credit Card
  RMA-4945      13-Jan-10   Authorization Pending   JeremyM                  698.00     O-15776     INV-22171      21-Dec-09     698.00   Credit Card
  RMA-4948      13-Jan-10   Authorization Pending   JeremyM                   97.00     O-17278     INV-20844      01-Dec-09      97.00   Credit Card
  RMA-4949      13-Jan-10   Authorization Pending   JeremyM                  987.00     O-20137     INV-22869      04-Jan-10   1,051.00   Credit Card
  RMA-4950      13-Jan-10   Authorization Pending   JeremyM                   64.00     O-20137     INV-22869      04-Jan-10   1,051.00   Credit Card
  RMA-4953      13-Jan-10   Authorization Pending   JeremyM                  157.00     O-17946     INV-22748      30-Dec-09     157.00   Credit Card
  RMA-4954      13-Jan-10   Authorization Pending   JeremyM                  228.00     O-19574     INV-22081      21-Dec-09     228.00   Credit Card
  RMA-4955      13-Jan-10   Authorization Pending   JeremyM                  110.00     O-19725     INV-22343      22-Dec-09     360.00   Credit Card
  RMA-4956      13-Jan-10   Authorization Pending   JeremyM                   56.00     O-19629     INV-22137      21-Dec-09      56.00   Credit Card
  RMA-4957      13-Jan-10   Authorization Pending   JeremyM                  598.00     O-19022     INV-21505      11-Dec-09     598.00   Credit Card
  RMA-4958      13-Jan-10   Authorization Pending   JeremyM                  595.00     O-17668     INV-19966      18-Nov-09   1,190.00   Credit Card
  RMA-4960      13-Jan-10   Authorization Pending   JeremyM                  250.00     O-19033     INV-22342      22-Dec-09     250.00   Credit Card
  RMA-4961      13-Jan-10   Authorization Pending   JeremyM                  289.00     O-15464     INV-22374      23-Dec-09     289.00   Credit Card
  RMA-4963      13-Jan-10   Authorization Pending   JeremyM                  298.00     O-19028     INV-21509      11-Dec-09     298.00   Credit Card
  RMA-4964      13-Jan-10   Authorization Pending   JeremyM                  132.00     O-19768     INV-22440      23-Dec-09     549.00   Credit Card
  RMA-4965      13-Jan-10   Authorization Pending   JeremyM                  289.00     O-18487     INV-20899      02-Dec-09     289.00   Credit Card
  RMA-4966      13-Jan-10   Authorization Pending   JeremyM                  155.00     O-17735     INV-22890      04-Jan-10     155.00   Credit Card
  RMA-4967      13-Jan-10   Authorization Pending   JeremyM                  333.00     O-20213     INV-22928      06-Jan-10     638.00   Credit Card
  RMA-5000      15-Jan-10   Authorization Pending   JeremyM                  470.00     O-16848     INV-18950      23-Oct-09     470.00   Credit Card
  RMA-5008      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-18048     INV-22004      18-Dec-09     289.00   Credit Card
  RMA-5010      19-Jan-10   Authorization Pending   JeremyM                  138.00     O-18349     INV-20658      30-Nov-09     276.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5012      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-18970     INV-21480      10-Dec-09     487.00   Credit Card
  RMA-5015      19-Jan-10   Authorization Pending   JeremyM                   25.00     O-19987     INV-22676      29-Dec-09      25.00   Credit Card
  RMA-5017      19-Jan-10   Authorization Pending   JeremyM                  237.00     O-19988     INV-22663      29-Dec-09     929.00   Credit Card
  RMA-5019      19-Jan-10   Authorization Pending   JeremyM                  110.00     O-19599     INV-22093      21-Dec-09     750.00   Credit Card
  RMA-5020      19-Jan-10   Authorization Pending   JeremyM                  139.00     O-19056     INV-21563      11-Dec-09     303.00   Credit Card
  RMA-5022      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-17678     INV-22008      18-Dec-09     289.00   Credit Card
  RMA-5024      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-18918     INV-21412      10-Dec-09     298.00   Credit Card
  RMA-5025      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-18432     INV-20851      01-Dec-09     298.00   Credit Card
  RMA-5028      19-Jan-10   Authorization Pending   JeremyM                  135.00     O-17561     INV-22254      22-Dec-09     135.00   Credit Card
  RMA-5029      19-Jan-10   Authorization Pending   JeremyM                  135.00     O-17561     INV-22285      22-Dec-09     135.00   Credit Card
  RMA-5030      19-Jan-10   Authorization Pending   JeremyM                  189.00     O-19079     INV-21620      14-Dec-09     346.00   Credit Card
  RMA-5031      19-Jan-10   Authorization Pending   JeremyM                  275.00     O-19166     INV-21657      14-Dec-09     346.00   Credit Card
  RMA-5032      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-17728     INV-21428      10-Dec-09     289.00   Credit Card
  RMA-5034      19-Jan-10   Authorization Pending   JeremyM                   68.00     O-18382     INV-20747      30-Nov-09      68.00   Credit Card
  RMA-5035      19-Jan-10   Authorization Pending   JeremyM                  237.00     O-20197     INV-22915      06-Jan-10     474.00   Credit Card
  RMA-5037      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-19537     INV-22777      30-Dec-09     289.00   Credit Card
  RMA-5038      19-Jan-10   Authorization Pending   JeremyM                  468.00     O-19994     INV-22661      29-Dec-09     468.00   Credit Card
  RMA-5039      19-Jan-10   Authorization Pending   JeremyM                  912.00     O-19920     INV-22505      28-Dec-09   1,251.00   Credit Card
  RMA-5040      19-Jan-10   Authorization Pending   JeremyM                  250.00     O-19843     INV-22591      28-Dec-09   1,257.00   Credit Card
  RMA-5041      19-Jan-10   Authorization Pending   JeremyM                  698.00     O-19283     INV-21820      15-Dec-09     698.00   Credit Card
  RMA-5043      19-Jan-10   Authorization Pending   JeremyM                  435.00     O-19201     INV-21678      14-Dec-09     613.00   Credit Card
  RMA-5044      19-Jan-10   Authorization Pending   JeremyM                  987.00     O-19283     INV-21762      15-Dec-09     987.00   Credit Card
  RMA-5046      19-Jan-10   Authorization Pending   JeremyM                  335.00     O-18871     INV-22994      07-Jan-10     335.00   Credit Card
  RMA-5047      19-Jan-10   Authorization Pending   JeremyM                   16.00     O-18639     INV-21123      07-Dec-09      80.00   Credit Card
  RMA-5048      19-Jan-10   Authorization Pending   JeremyM                   64.00     O-18639     INV-21123      07-Dec-09      80.00   Credit Card
  RMA-5049      19-Jan-10   Authorization Pending   JeremyM                  111.00     O-18315     INV-20612      30-Nov-09     240.00   Credit Card
  RMA-5050      19-Jan-10   Authorization Pending   JeremyM                  275.00     O-19485     INV-21996      18-Dec-09     414.00   Credit Card
  RMA-5051      19-Jan-10   Authorization Pending   JeremyM                  132.00     O-18533     INV-21009      03-Dec-09     132.00   Credit Card
  RMA-5052      19-Jan-10   Authorization Pending   JeremyM                  135.00     O-19283     INV-22268      22-Dec-09     135.00   Credit Card
  RMA-5053      19-Jan-10   Authorization Pending   JeremyM                  347.00     O-19158     INV-21632      14-Dec-09     347.00   Credit Card
  RMA-5054      19-Jan-10   Authorization Pending   JeremyM                  250.00     O-19082     INV-21629      14-Dec-09     250.00   Credit Card
  RMA-5055      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-17135     INV-22019      18-Dec-09     289.00   Credit Card
  RMA-5056      19-Jan-10   Authorization Pending   JeremyM                  157.00     O-19074     INV-22970      07-Jan-10     157.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5058      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-19269     INV-21888      16-Dec-09     298.00   Credit Card
  RMA-5059      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-20195     INV-22916      06-Jan-10     298.00   Credit Card
  RMA-5061      19-Jan-10   Authorization Pending   JeremyM                  135.00     O-15406     INV-22250      22-Dec-09     135.00   Credit Card
  RMA-5062      19-Jan-10   Authorization Pending   JeremyM                  148.00     O-17652     INV-19970      18-Nov-09     148.00   Credit Card
  RMA-5063      19-Jan-10   Authorization Pending   JeremyM                  198.00     O-18734     INV-21201      07-Dec-09     376.00   Credit Card
  RMA-5065      19-Jan-10   Authorization Pending   JeremyM                  189.00     O-18378     INV-20759      30-Nov-09     189.00   Credit Card
  RMA-5066      19-Jan-10   Authorization Pending   JeremyM                  335.00     O-18570     INV-22753      30-Dec-09     335.00   Credit Card
  RMA-5067      19-Jan-10   Authorization Pending   JeremyM                   98.00     O-20054     INV-22771      30-Dec-09      98.00   Credit Card
  RMA-5070      19-Jan-10   Authorization Pending   JeremyM                  178.00     O-18305     INV-20760      30-Nov-09     178.00   Credit Card
  RMA-5071      19-Jan-10   Authorization Pending   JeremyM                  189.00     O-19403     INV-21932      17-Dec-09     367.00   Credit Card
  RMA-5073      19-Jan-10   Authorization Pending   JeremyM                  289.00     O-19483     INV-22042      18-Dec-09     289.00   Credit Card
  RMA-5076      19-Jan-10   Authorization Pending   JeremyM                  298.00     O-19950     INV-22648      28-Dec-09     298.00   Credit Card
  RMA-5077      19-Jan-10   Authorization Pending   JeremyM                  250.00     O-17502     INV-20868      02-Dec-09     250.00   Credit Card
  RMA-5078      19-Jan-10   Authorization Pending   JeremyM                  164.00     O-18174     INV-20724      30-Nov-09     164.00   Credit Card
  RMA-5080      19-Jan-10   Authorization Pending   Cheryl                   285.00     O-19685     INV-22283      22-Dec-09     583.00   Credit Card
  RMA-5082      19-Jan-10   Authorization Pending   Cheryl                   298.00     O-19685     INV-22283      22-Dec-09     583.00   Credit Card
  RMA-5096      20-Jan-10   Authorization Pending   JeremyM                  628.00     O-19615     INV-22142      21-Dec-09     806.00   Credit Card
  RMA-5097      20-Jan-10   Authorization Pending   JeremyM                  298.00     O-18527     INV-21007      03-Dec-09     298.00   Credit Card
  RMA-5099      20-Jan-10   Authorization Pending   JeremyM                  247.00     O-19622     INV-22135      21-Dec-09     465.00   Credit Card
  RMA-5100      20-Jan-10   Authorization Pending   JeremyM                   97.00     O-17687     INV-19984      18-Nov-09      97.00   Credit Card
  RMA-5101      20-Jan-10   Authorization Pending   JeremyM                  289.00     O-17687     INV-22002      18-Dec-09     289.00   Credit Card
  RMA-5102      20-Jan-10   Authorization Pending   JeremyM                  720.00     O-19934     INV-22526      28-Dec-09     720.00   Credit Card
  RMA-5103      20-Jan-10   Authorization Pending   JeremyM                  152.00     O-18024     INV-21087      07-Dec-09     152.00   Credit Card
  RMA-5105      20-Jan-10   Authorization Pending   JeremyM                  298.00     O-20394     INV-23136      12-Jan-10     298.00   Credit Card
  RMA-5106      20-Jan-10   Authorization Pending   JeremyM                  158.00     O-20392     INV-23130      12-Jan-10     158.00   Credit Card
  RMA-5107      20-Jan-10   Authorization Pending   JeremyM                  155.00     O-19491     INV-22891      04-Jan-10     155.00   Credit Card
  RMA-5113      20-Jan-10   Authorization Pending   JeremyM                  102.00     O-20424     INV-23178      13-Jan-10     102.00   Credit Card
  RMA-5114      20-Jan-10   Authorization Pending   JeremyM                  102.00     O-20317     INV-23055      11-Jan-10     102.00   Credit Card
  RMA-5115      20-Jan-10   Authorization Pending   JeremyM                  289.00     O-16968     INV-21265      08-Dec-09     289.00   Credit Card
  RMA-5117      20-Jan-10   Authorization Pending   JeremyM                   85.00     O-18713     INV-21150      07-Dec-09      85.00   Credit Card
  RMA-5118      20-Jan-10   Authorization Pending   JeremyM                  998.00     O-20242     INV-23107      12-Jan-10     998.00   Credit Card
  RMA-5119      20-Jan-10   Authorization Pending   JeremyM                   25.00     O-20340     INV-23086      11-Jan-10      25.00   Credit Card
  RMA-5120      20-Jan-10   Authorization Pending   JeremyM                  289.00     O-18662     INV-22457      23-Dec-09     289.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5121      20-Jan-10   Authorization Pending   JeremyM                  305.00     O-20305     INV-23052      11-Jan-10     305.00   Credit Card
  RMA-5138      25-Jan-10   Authorization Pending   JeremyM                  178.00     O-18286     INV-20628      30-Nov-09     367.00   Credit Card
  RMA-5139      25-Jan-10   Authorization Pending   JeremyM                  164.00     O-18286     INV-20712      30-Nov-09     164.00   Credit Card
  RMA-5141      25-Jan-10   Authorization Pending   JeremyM                  298.00     O-20019     INV-22701      29-Dec-09     347.00   Credit Card
  RMA-5142      25-Jan-10   Authorization Pending   JeremyM                  350.00     O-20347     INV-23129      12-Jan-10     507.00   Credit Card
  RMA-5143      25-Jan-10   Authorization Pending   JeremyM                  135.00     O-18895     INV-22253      22-Dec-09     135.00   Credit Card
  RMA-5145      25-Jan-10   Authorization Pending   JeremyM                  289.00     O-18869     INV-23177      13-Jan-10     289.00   Credit Card
  RMA-5146      25-Jan-10   Authorization Pending   JeremyM                  435.00     O-19589     INV-22103      21-Dec-09     435.00   Credit Card
  RMA-5152      25-Jan-10   Authorization Pending   JeremyM                  387.00     O-19047     INV-22411      23-Dec-09     387.00   Credit Card
  RMA-5155      25-Jan-10   Authorization Pending   JeremyM                  278.00     O-15618     INV-18252      07-Oct-09     676.00   Credit Card
  RMA-5156      25-Jan-10   Authorization Pending   JeremyM                  435.00     O-19789     INV-22492      23-Dec-09   1,342.00   Credit Card
  RMA-5157      25-Jan-10   Authorization Pending   JeremyM                  289.00     O-20123     INV-22825      04-Jan-10     289.00   Credit Card
  RMA-5158      25-Jan-10   Authorization Pending   JeremyM                  289.00     O-20119     INV-22834      04-Jan-10   1,177.00   Credit Card
  RMA-5169      26-Jan-10   Authorization Pending   Misty                    285.00     O-20697     INV-23650      26-Jan-10     397.00   Credit Card
  RMA-5183      28-Jan-10   Authorization Pending   JeremyM                  182.00     O-19821     INV-22600      28-Dec-09     182.00   Credit Card
  RMA-5184      28-Jan-10   Authorization Pending   JeremyM                1,127.00     O-20557     INV-23293      15-Jan-10   1,127.00   Credit Card
  RMA-5185      28-Jan-10   Authorization Pending   JeremyM                  115.00     O-20502     INV-23245      15-Jan-10     273.00   Credit Card
  RMA-5186      28-Jan-10   Authorization Pending   JeremyM                  470.00     O-19048     INV-21544      11-Dec-09     470.00   Credit Card
  RMA-5187      28-Jan-10   Authorization Pending   JeremyM                  598.00     O-18661     INV-21078      07-Dec-09     598.00   Credit Card
  RMA-5188      28-Jan-10   Authorization Pending   JeremyM                  495.00     O-17714     INV-23373      18-Jan-10     495.00   Credit Card
  RMA-5189      28-Jan-10   Authorization Pending   JeremyM                  698.00     O-20259     INV-23420      19-Jan-10     698.00   Credit Card
  RMA-5190      28-Jan-10   Authorization Pending   JeremyM                  113.00     O-16140     INV-18060      02-Oct-09     113.00   Credit Card
  RMA-5191      28-Jan-10   Authorization Pending   JeremyM                  155.00     O-17082     INV-22879      04-Jan-10     155.00   Credit Card
  RMA-5192      28-Jan-10   Authorization Pending   JeremyM                  298.00     O-19734     INV-22344      22-Dec-09     330.00   Credit Card
  RMA-5193      28-Jan-10   Authorization Pending   JeremyM                  495.00     O-19073     INV-23380      18-Jan-10     495.00   Credit Card
  RMA-5194      28-Jan-10   Authorization Pending   JeremyM                  135.00     O-16310     INV-22251      22-Dec-09     135.00   Credit Card
  RMA-5195      28-Jan-10   Authorization Pending   JeremyM                  228.00     O-16310     INV-22228      21-Dec-09     228.00   Credit Card
  RMA-5196      28-Jan-10   Authorization Pending   JeremyM                  850.00     O-19350     INV-21843      16-Dec-09     850.00   Credit Card
  RMA-5198      28-Jan-10   Authorization Pending   JeremyM                  219.00     O-19849     INV-22619      28-Dec-09     244.00   Credit Card
  RMA-5200      28-Jan-10   Authorization Pending   JeremyM                  495.00     O-20117     INV-23403      19-Jan-10     495.00   Credit Card
  RMA-5202      28-Jan-10   Authorization Pending   JeremyM                  198.00     O-18546     INV-21015      03-Dec-09     198.00   Credit Card
  RMA-5203      28-Jan-10   Authorization Pending   JeremyM                  135.00     O-20343     INV-23090      11-Jan-10     135.00   Credit Card
  RMA-5205      28-Jan-10   Authorization Pending   JeremyM                  470.00     O-19600     INV-22778      30-Dec-09     470.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5206      28-Jan-10   Authorization Pending   JeremyM                  470.00     O-19124     INV-22756      30-Dec-09     470.00   Credit Card
  RMA-5208      28-Jan-10   Authorization Pending   JeremyM                  124.00     O-20537     INV-23259      15-Jan-10     124.00   Credit Card
  RMA-5209      28-Jan-10   Authorization Pending   JeremyM                   98.00     O-20585     INV-23315      18-Jan-10      98.00   Credit Card
  RMA-5210      28-Jan-10   Authorization Pending   JeremyM                  998.00     O-20467     INV-23199      14-Jan-10     998.00   Credit Card
  RMA-5211      28-Jan-10   Authorization Pending   JeremyM                  298.00     O-19722     INV-22338      22-Dec-09     298.00   Credit Card
  RMA-5212      28-Jan-10   Authorization Pending   JeremyM                  547.00     O-17199     INV-22905      05-Jan-10     547.00   Credit Card
  RMA-5213      28-Jan-10   Authorization Pending   JeremyM                   25.00     O-20310     INV-23067      11-Jan-10      25.00   Credit Card
  RMA-5214      28-Jan-10   Authorization Pending   JeremyM                  421.00     O-20436     INV-23167      13-Jan-10     523.00   Credit Card
  RMA-5216      28-Jan-10   Authorization Pending   JeremyM                  936.00     O-19191     INV-21687      14-Dec-09   1,199.00   Credit Card
  RMA-5242      01-Feb-10   Authorization Pending   JeremyM                  289.00     O-20471     INV-23427      19-Jan-10     289.00   Credit Card
  RMA-5243      01-Feb-10   Authorization Pending   JeremyM                  178.00     O-18348     INV-20726      30-Nov-09     178.00   Credit Card
  RMA-5245      01-Feb-10   Authorization Pending   JeremyM                   25.00     O-19866     INV-22598      28-Dec-09      25.00   Credit Card
  RMA-5247      01-Feb-10   Authorization Pending   JeremyM                  298.00     O-20720     INV-23483      21-Jan-10     298.00   Credit Card
  RMA-5248      01-Feb-10   Authorization Pending   JeremyM                  228.00     O-20564     INV-23309      18-Jan-10     385.00   Credit Card
  RMA-5249      01-Feb-10   Authorization Pending   JeremyM                  387.00     O-18914     INV-22451      23-Dec-09     387.00   Credit Card
  RMA-5250      01-Feb-10   Authorization Pending   JeremyM                  115.00     O-18914     INV-21436      10-Dec-09     709.00   Credit Card
  RMA-5259      02-Feb-10   Authorization Pending   JeremyM                  276.00     O-19489     INV-21997      18-Dec-09     276.00   Credit Card
  RMA-5260      02-Feb-10   Authorization Pending   JeremyM                  298.00     O-20873     INV-23679      27-Jan-10     298.00   Credit Card
  RMA-5261      02-Feb-10   Authorization Pending   JeremyM                  265.00     O-18984     INV-21482      10-Dec-09     265.00   Credit Card
  RMA-5263      02-Feb-10   Authorization Pending   JeremyM                  289.00     O-18788     INV-23457      20-Jan-10     289.00   Credit Card
  RMA-5264      02-Feb-10   Authorization Pending   JeremyM                  289.00     O-19429     INV-23464      20-Jan-10     289.00   Credit Card
  RMA-5265      02-Feb-10   Authorization Pending   JeremyM                1,742.00     O-20115     INV-22833      04-Jan-10   1,742.00   Credit Card
  RMA-5266      02-Feb-10   Authorization Pending   JeremyM                  335.00     O-18861     INV-23443      20-Jan-10     335.00   Credit Card
  RMA-5267      02-Feb-10   Authorization Pending   JeremyM                  387.00     O-20552     INV-23288      15-Jan-10     387.00   Credit Card
  RMA-5268      02-Feb-10   Authorization Pending   JeremyM                1,398.00     O-20618     INV-23355      18-Jan-10   1,398.00   Credit Card
  RMA-5270      02-Feb-10   Authorization Pending   JeremyM                  495.00     O-17534     INV-23371      18-Jan-10     495.00   Credit Card
  RMA-5271      02-Feb-10   Authorization Pending   JeremyM                  998.00     O-20749     INV-23511      22-Jan-10     998.00   Credit Card
  RMA-5272      02-Feb-10   Authorization Pending   JeremyM                  157.00     O-19900     INV-22554      28-Dec-09     157.00   Credit Card
  RMA-5273      02-Feb-10   Authorization Pending   JeremyM                  698.00     O-20453     INV-23200      14-Jan-10     698.00   Credit Card
  RMA-5274      02-Feb-10   Authorization Pending   JeremyM                  314.00     O-20817     INV-23620      25-Jan-10     314.00   Credit Card
  RMA-5275      02-Feb-10   Authorization Pending   JeremyM                  298.00     O-20472     INV-23774      29-Jan-10     298.00   Credit Card
  RMA-5276      02-Feb-10   Authorization Pending   JeremyM                  289.00     O-18959     INV-22995      07-Jan-10     289.00   Credit Card
  RMA-5277      02-Feb-10   Authorization Pending   JeremyM                  178.00     O-20548     INV-23283      15-Jan-10     178.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5278      02-Feb-10   Authorization Pending   JeremyM                  424.00     O-20681     INV-23433      20-Jan-10     424.00   Credit Card
  RMA-5285      03-Feb-10   Authorization Pending   JeremyM                1,296.00     O-19572     INV-22095      21-Dec-09   1,571.00   Credit Card
  RMA-5286      03-Feb-10   Authorization Pending   JeremyM                  298.00     O-20270     INV-22973      07-Jan-10     298.00   Credit Card
  RMA-5288      03-Feb-10   Authorization Pending   JeremyM                  758.00     O-20650     INV-23398      19-Jan-10     806.00   Credit Card
  RMA-5289      03-Feb-10   Authorization Pending   JeremyM                  356.00     O-20808     INV-23577      25-Jan-10     356.00   Credit Card
  RMA-5291      03-Feb-10   Authorization Pending   JeremyM                   98.00     O-20283     INV-23015      08-Jan-10     200.00   Credit Card
  RMA-5292      04-Feb-10   Authorization Pending   JeremyM                  387.00     O-15894     INV-22418      23-Dec-09     387.00   Credit Card
  RMA-5293      04-Feb-10   Authorization Pending   JeremyM                  110.00     O-20432     INV-23185      13-Jan-10     821.00   Credit Card
  RMA-5295      04-Feb-10   Authorization Pending   JeremyM                  298.00     O-20550     INV-23466      20-Jan-10     298.00   Credit Card
  RMA-5296      04-Feb-10   Authorization Pending   JeremyM                  190.00     O-20736     INV-23499      22-Jan-10     190.00   Credit Card
  RMA-5297      04-Feb-10   Authorization Pending   JeremyM                  998.00     O-19146     INV-21583      14-Dec-09     998.00   Credit Card
  RMA-5299      04-Feb-10   Authorization Pending   JeremyM                   95.00     O-20531     INV-23264      15-Jan-10     229.00   Credit Card
  RMA-5300      04-Feb-10   Authorization Pending   JeremyM                  129.00     O-20853     INV-23662      26-Jan-10     129.00   Credit Card
  RMA-5301      04-Feb-10   Authorization Pending   JeremyM                  495.00     O-20939     INV-23762      29-Jan-10     495.00   Credit Card
  RMA-5302      04-Feb-10   Authorization Pending   JeremyM                  391.00     O-20647     INV-23475      21-Jan-10     658.00   Cash, Credit Card
  RMA-5308      05-Feb-10   Authorization Pending   JeremyM                  298.00     O-19241     INV-21892      16-Dec-09     298.00   Credit Card
  RMA-5310      05-Feb-10   Authorization Pending   JeremyM                  398.00     O-20919     INV-23756      29-Jan-10     398.00   Credit Card
  RMA-5311      05-Feb-10   Authorization Pending   JeremyM                  350.00     O-20374     INV-23448      20-Jan-10     350.00   Credit Card
  RMA-5312      05-Feb-10   Authorization Pending   JeremyM                  115.00     O-20725     INV-23490      21-Jan-10     115.00   Credit Card
  RMA-5314      05-Feb-10   Authorization Pending   JeremyM                  495.00     O-19281     INV-23362      18-Jan-10     495.00   Credit Card
  RMA-5315      05-Feb-10   Authorization Pending   JeremyM                  598.00     O-17098     INV-23561      22-Jan-10     598.00   Credit Card
  RMA-5323      08-Feb-10   Authorization Pending   JeremyM                  495.00     O-19548     INV-23379      18-Jan-10     495.00   Credit Card
  RMA-5324      08-Feb-10   Authorization Pending   Cheryl                   179.00     O-20914     INV-23736      28-Jan-10     179.00   Credit Card
  RMA-5325      08-Feb-10   Authorization Pending   JeremyM                  470.00     O-15650     INV-23593      25-Jan-10     470.00   Credit Card
  RMA-5326      08-Feb-10   Authorization Pending   JeremyM                  110.00     O-18553     INV-21723      14-Dec-09     110.00   Credit Card
  RMA-5327      08-Feb-10   Authorization Pending   JeremyM                1,396.00     O-19109     INV-23600      25-Jan-10   1,396.00   Credit Card
  RMA-5328      08-Feb-10   Authorization Pending   JeremyM                  118.00     O-20974     INV-23809      01-Feb-10     118.00   Credit Card
  RMA-5330      09-Feb-10   Authorization Pending   JeremyM                  298.00     O-20831     INV-23642      26-Jan-10     298.00   Credit Card
  RMA-5332      09-Feb-10   Authorization Pending   JeremyM                  289.00     O-16907     INV-21453      10-Dec-09     289.00   Credit Card
  RMA-5334      09-Feb-10   Authorization Pending   JeremyM                  178.00     O-20188     INV-22909      05-Jan-10     178.00   Credit Card
  RMA-5337      09-Feb-10   Authorization Pending   JeremyM                  275.00     O-19141     INV-22141      21-Dec-09     275.00   Credit Card
  RMA-5338      09-Feb-10   Authorization Pending   JeremyM                  268.00     O-18560     INV-21161      07-Dec-09     268.00   Credit Card
  RMA-5339      09-Feb-10   Authorization Pending   JeremyM                   44.00     O-18560     INV-21030      03-Dec-09      44.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5340      09-Feb-10   Authorization Pending   JeremyM                  115.00     O-20799     INV-23606      25-Jan-10     225.00   Credit Card
  RMA-5341      09-Feb-10   Authorization Pending   JeremyM                  289.00     O-21044     INV-23870      02-Feb-10     289.00   Credit Card
  RMA-5342      09-Feb-10   Authorization Pending   JeremyM                  347.00     O-20503     INV-23248      15-Jan-10     347.00   Credit Card
  RMA-5343      09-Feb-10   Authorization Pending   JeremyM                  398.00     O-20689     INV-23440      20-Jan-10     398.00   Credit Card
  RMA-5346      09-Feb-10   Authorization Pending   JeremyM                   25.00     O-20559     INV-23328      18-Jan-10      25.00   Credit Card
  RMA-5347      09-Feb-10   Authorization Pending   JeremyM                  450.00     O-21027     INV-23860      02-Feb-10     450.00   Credit Card
  RMA-5348      09-Feb-10   Authorization Pending   JeremyM                  152.00     O-19718     INV-22352      22-Dec-09     841.00   Credit Card
  RMA-5350      11-Feb-10   Authorization Pending   JeremyM                1,195.00     O-19156     INV-23924      03-Feb-10   1,195.00   Credit Card
  RMA-5353      11-Feb-10   Authorization Pending   JeremyM                  998.00     O-19419     INV-21922      17-Dec-09     998.00   Credit Card
  RMA-5354      11-Feb-10   Authorization Pending   JeremyM                  250.00     O-20488     INV-23240      14-Jan-10     384.00   Credit Card
  RMA-5355      11-Feb-10   Authorization Pending   JeremyM                  149.00     O-20335     INV-23082      11-Jan-10     859.00   Credit Card
  RMA-5356      11-Feb-10   Authorization Pending   JeremyM                  246.00     O-20290     INV-23035      08-Jan-10     396.00   Credit Card
  RMA-5357      12-Feb-10   Authorization Pending   JeremyM                  598.00     O-17630     INV-23551      22-Jan-10     598.00   Credit Card
  RMA-5358      12-Feb-10   Authorization Pending   JeremyM                  598.00     O-20823     INV-23628      25-Jan-10     598.00   Credit Card
  RMA-5359      12-Feb-10   Authorization Pending   JeremyM                  148.00     O-17671     INV-21444      10-Dec-09     148.00   Credit Card
  RMA-5361      13-Feb-10   Authorization Pending   Cheryl                   396.00     O-19640     INV-22125      21-Dec-09     396.00   Credit Card
  RMA-5362      13-Feb-10   Authorization Pending   Cheryl                    25.00     O-20020     INV-23062      11-Jan-10     120.00   Credit Card
  RMA-5372      17-Feb-10   Authorization Pending   JeremyM                  498.00     O-20447     INV-23198      14-Jan-10     498.00   Credit Card
  RMA-5373      17-Feb-10   Authorization Pending   JeremyM                  269.00     O-20955     INV-23849      01-Feb-10     737.00   Credit Card
  RMA-5374      17-Feb-10   Authorization Pending   JeremyM                  190.00     O-20977     INV-23814      01-Feb-10     190.00   Credit Card
  RMA-5375      17-Feb-10   Authorization Pending   JeremyM                  698.00     O-20847     INV-23760      29-Jan-10     698.00   Credit Card
  RMA-5376      17-Feb-10   Authorization Pending   JeremyM                   85.00     O-20539     INV-23272      15-Jan-10      85.00   Credit Card
  RMA-5377      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-19769     INV-23732      28-Jan-10     289.00   Credit Card
  RMA-5378      17-Feb-10   Authorization Pending   JeremyM                  298.00     O-17958     INV-23962      03-Feb-10     298.00   Credit Card
  RMA-5379      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-20851     INV-23888      02-Feb-10     289.00   Credit Card
  RMA-5380      17-Feb-10   Authorization Pending   JeremyM                  495.00     O-21122     INV-24039      05-Feb-10     495.00   Credit Card
  RMA-5381      17-Feb-10   Authorization Pending   JeremyM                1,195.00     O-20418     INV-23921      03-Feb-10   1,195.00   Credit Card
  RMA-5382      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-20323     INV-23880      02-Feb-10     289.00   Credit Card
  RMA-5383      17-Feb-10   Authorization Pending   JeremyM                  398.00     O-18852     INV-24030      05-Feb-10     398.00   Credit Card
  RMA-5384      17-Feb-10   Authorization Pending   JeremyM                  360.00     O-20194     INV-22920      06-Jan-10     360.00   Credit Card
  RMA-5385      17-Feb-10   Authorization Pending   JeremyM                  306.00     O-20983     INV-23818      01-Feb-10     306.00   Credit Card
  RMA-5386      17-Feb-10   Authorization Pending   JeremyM                  495.00     O-21093     INV-23998      04-Feb-10     495.00   Credit Card
  RMA-5387      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-20100     INV-23738      28-Jan-10     289.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5388      17-Feb-10   Authorization Pending   JeremyM                1,398.00     O-20981     INV-23823      01-Feb-10   1,398.00   Credit Card
  RMA-5390      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-19237     INV-23914      03-Feb-10     289.00   Credit Card
  RMA-5391      17-Feb-10   Authorization Pending   JeremyM                  115.00     O-19595     INV-22109      21-Dec-09     115.00   Credit Card
  RMA-5392      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-19770     INV-23447      20-Jan-10     289.00   Credit Card
  RMA-5393      17-Feb-10   Authorization Pending   JeremyM                  115.00     O-20724     INV-23487      21-Jan-10     115.00   Credit Card
  RMA-5394      17-Feb-10   Authorization Pending   JeremyM                  456.00     O-20866     INV-23667      27-Jan-10     456.00   Credit Card
  RMA-5395      17-Feb-10   Authorization Pending   JeremyM                  298.00     O-18914     INV-23819      01-Feb-10     298.00   Credit Card
  RMA-5396      17-Feb-10   Authorization Pending   JeremyM                  289.00     O-18914     INV-21436      10-Dec-09     709.00   Credit Card
  RMA-5397      17-Feb-10   Authorization Pending   JeremyM                   81.00     O-19746     INV-22362      23-Dec-09      81.00   Credit Card
  RMA-5402      18-Feb-10   Authorization Pending   JeremyM                  398.00     O-20948     INV-23793      29-Jan-10     398.00   Credit Card
  RMA-5403      18-Feb-10   Authorization Pending   JeremyM                   95.00     O-19296     INV-21832      15-Dec-09     974.00   Credit Card
  RMA-5404      18-Feb-10   Authorization Pending   JeremyM                  124.00     O-19296     INV-22746      30-Dec-09     124.00   Credit Card
  RMA-5405      18-Feb-10   Authorization Pending   JeremyM                  198.00     O-19296     INV-21931      17-Dec-09     198.00   Credit Card
  RMA-5406      18-Feb-10   Authorization Pending   JeremyM                  289.00     O-20936     INV-23976      04-Feb-10     289.00   Credit Card
  RMA-5408      18-Feb-10   Authorization Pending   JeremyM                  284.75     O-19453     INV-23903      03-Feb-10     284.75   Credit Card
  RMA-5409      18-Feb-10   Authorization Pending   JeremyM                  698.00     O-21087     INV-23974      04-Feb-10     698.00   Credit Card
  RMA-5410      18-Feb-10   Authorization Pending   JeremyM                  335.00     O-20285     INV-23958      03-Feb-10     335.00   Credit Card
  RMA-5411      18-Feb-10   Authorization Pending   JeremyM                  298.00     O-21168     INV-24084      09-Feb-10     931.00   Credit Card
  RMA-5412      18-Feb-10   Authorization Pending   JeremyM                  335.00     O-19353     INV-23446      20-Jan-10     335.00   Credit Card
  RMA-5413      18-Feb-10   Authorization Pending   JeremyM                  398.00     O-20811     INV-23587      25-Jan-10     398.00   Credit Card
  RMA-5414      18-Feb-10   Authorization Pending   JeremyM                  495.00     O-21187     INV-24093      09-Feb-10     495.00   Credit Card
  RMA-5416      22-Feb-10   Authorization Pending   JeremyM                  298.00     O-20595     INV-23294      18-Jan-10     298.00   Credit Card
  RMA-5417      22-Feb-10   Authorization Pending   JeremyM                  698.00     O-18750     INV-21792      15-Dec-09     698.00   Credit Card
  RMA-5418      22-Feb-10   Authorization Pending   JeremyM                  289.00     O-19679     INV-23724      28-Jan-10     289.00   Credit Card
  RMA-5420      22-Feb-10   Authorization Pending   JeremyM                1,398.00     O-21335     INV-24272      16-Feb-10   1,398.00   Credit Card
  RMA-5421      22-Feb-10   Authorization Pending   JeremyM                  398.00     O-20334     INV-23078      11-Jan-10     398.00   Credit Card
  RMA-5422      22-Feb-10   Authorization Pending   JeremyM                  157.00     O-20858     INV-23648      26-Jan-10     157.00   Credit Card
  RMA-5423      22-Feb-10   Authorization Pending   JeremyM                  189.00     O-21301     INV-24214      15-Feb-10     189.00   Credit Card
  RMA-5424      22-Feb-10   Authorization Pending   JeremyM                   92.00     O-21185     INV-24094      09-Feb-10     185.00   Credit Card
  RMA-5428      23-Feb-10   Authorization Pending   JeremyM                  298.00     O-21026     INV-23858      02-Feb-10     298.00   Credit Card
  RMA-5429      23-Feb-10   Authorization Pending   JeremyM                  163.00     O-20656     INV-24220      15-Feb-10     163.00   Credit Card
  RMA-5431      23-Feb-10   Authorization Pending   JeremyM                  218.00     O-21313     INV-24262      16-Feb-10     218.00   Credit Card
  RMA-5432      23-Feb-10   Authorization Pending   JeremyM                  200.00     O-21116     INV-24004      05-Feb-10     200.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5433      23-Feb-10   Authorization Pending   JeremyM                  289.00     O-20773     INV-23929      03-Feb-10     289.00   Credit Card
  RMA-5434      23-Feb-10   Authorization Pending   JeremyM                  135.00     O-20993     INV-23841      01-Feb-10     135.00   Credit Card
  RMA-5435      23-Feb-10   Authorization Pending   JeremyM                  135.00     O-20606     INV-23305      18-Jan-10     464.00   Credit Card
  RMA-5437      24-Feb-10   Authorization Pending   JeremyM                  115.00     O-21000     INV-23835      01-Feb-10     115.00   Credit Card
  RMA-5440      24-Feb-10   Authorization Pending   JeremyM                  495.00     O-21042     INV-23977      04-Feb-10     495.00   Credit Card
  RMA-5442      24-Feb-10   Authorization Pending   JeremyM                  200.00     O-21332     INV-24281      16-Feb-10     200.00   Credit Card
  RMA-5444      24-Feb-10   Authorization Pending   JeremyM                  289.00     O-19230     INV-23915      03-Feb-10     289.00   Credit Card
  RMA-5445      24-Feb-10   Authorization Pending   JeremyM                  222.00     O-21283     INV-24256      15-Feb-10     572.00   Credit Card
  RMA-5446      24-Feb-10   Authorization Pending   JeremyM                1,195.00     O-21302     INV-24248      15-Feb-10   1,195.00   Credit Card
  RMA-5447      24-Feb-10   Authorization Pending   JeremyM                  585.00     O-19815     INV-22517      28-Dec-09     748.00   Credit Card
  RMA-5449      24-Feb-10   Authorization Pending   JeremyM                  289.00     O-20856     INV-23659      26-Jan-10     289.00   Credit Card
  RMA-5450      24-Feb-10   Authorization Pending   JeremyM                   25.00     O-21181     INV-24096      09-Feb-10      25.00   Credit Card
  RMA-5451      24-Feb-10   Authorization Pending   JeremyM                   25.00     O-20990     INV-23829      01-Feb-10      25.00   Credit Card
  RMA-5452      24-Feb-10   Authorization Pending   JeremyM                  498.00     O-21308     INV-24254      15-Feb-10     498.00   Credit Card
  RMA-5453      24-Feb-10   Authorization Pending   JeremyM                  298.00     O-20105     INV-23949      03-Feb-10     298.00   Credit Card
  RMA-5457      01-Mar-10   Authorization Pending   JeremyM                  298.00     O-19706     INV-23952      03-Feb-10     298.00   Credit Card
  RMA-5458      01-Mar-10   Authorization Pending   JeremyM                  299.00     O-21180     INV-24095      09-Feb-10     299.00   Credit Card
  RMA-5459      01-Mar-10   Authorization Pending   JeremyM                  190.00     O-20918     INV-24134      10-Feb-10     190.00   Credit Card
  RMA-5460      01-Mar-10   Authorization Pending   JeremyM                  178.00     O-20007     INV-24158      12-Feb-10     178.00   Credit Card
  RMA-5461      01-Mar-10   Authorization Pending   JeremyM                  200.00     O-21416     INV-24373      19-Feb-10     475.00   Credit Card
  RMA-5462      01-Mar-10   Authorization Pending   JeremyM                  200.00     O-21157     INV-24069      08-Feb-10     200.00   Credit Card
  RMA-5463      01-Mar-10   Authorization Pending   JeremyM                  115.00     O-21504     INV-24460      22-Feb-10     390.00   Credit Card
  RMA-5464      01-Mar-10   Authorization Pending   JeremyM                  178.00     O-21364     INV-24305      17-Feb-10     178.00   Credit Card
  RMA-5465      01-Mar-10   Authorization Pending   JeremyM                  238.00     O-19604     INV-23607      25-Jan-10     238.00   Credit Card
  RMA-5466      01-Mar-10   Authorization Pending   JeremyM                  289.00     O-19346     INV-21839      16-Dec-09     289.00   Credit Card
  RMA-5467      01-Mar-10   Authorization Pending   JeremyM                  275.00     O-17081     INV-19664      09-Nov-09     275.00   Credit Card
  RMA-5468      01-Mar-10   Authorization Pending   JeremyM                   78.00     O-19951     INV-22578      28-Dec-09      78.00   Credit Card
  RMA-5469      01-Mar-10   Authorization Pending   JeremyM                  275.00     O-21365     INV-24332      19-Feb-10     275.00   Credit Card
  RMA-5470      01-Mar-10   Authorization Pending   JeremyM                  275.00     O-21398     INV-24368      19-Feb-10     275.00   Credit Card
  RMA-5471      01-Mar-10   Authorization Pending   JeremyM                  139.00     O-20978     INV-23813      01-Feb-10     139.00   Credit Card
  RMA-5472      01-Mar-10   Authorization Pending   JeremyM                  298.00     O-20887     INV-23695      27-Jan-10     298.00   Credit Card
  RMA-5473      01-Mar-10   Authorization Pending   JeremyM                  398.00     O-18757     INV-24036      05-Feb-10     398.00   Credit Card
  RMA-5474      01-Mar-10   Authorization Pending   JeremyM                   66.00     O-21240     INV-24169      12-Feb-10      91.00   Credit Card

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   RMA Num      RMA Date           RMA Status        RMA Agent          RMA Net         Ord Num          Inv Num    Inv Date   Inv Net     Pay Type
  RMA-5475      01-Mar-10   Authorization Pending   JeremyM                  289.00     O-18702     INV-21468      10-Dec-09     289.00   Credit Card
  RMA-5476      02-Mar-10   Authorization Pending   Misty                     42.00     O-21231     INV-24326      18-Feb-10      42.00   Credit Card
  RMA-5478      02-Mar-10   Authorization Pending   JeremyM                  235.00     O-20452     INV-24000      04-Feb-10     235.00   Credit Card
  RMA-5479      02-Mar-10   Authorization Pending   JeremyM                  379.00     O-21439     INV-24444      22-Feb-10     497.00   Credit Card
  RMA-5480      02-Mar-10   Authorization Pending   JeremyM                  198.00     O-21151     INV-24056      08-Feb-10     198.00   Credit Card
  RMA-5481      02-Mar-10   Authorization Pending   JeremyM                  748.00     O-21052     INV-23883      02-Feb-10     748.00   Credit Card
  RMA-5482      02-Mar-10   Authorization Pending   JeremyM                  200.00     O-21460     INV-24414      22-Feb-10     200.00   Credit Card
  RMA-5483      02-Mar-10   Authorization Pending   JeremyM                  221.00     O-21247     INV-24180      12-Feb-10     221.00   Credit Card
  RMA-5484      02-Mar-10   Authorization Pending   JeremyM                  289.00     O-18908     INV-22761      30-Dec-09     289.00   Credit Card
  RMA-5485      02-Mar-10   Authorization Pending   JeremyM                  689.00     O-18908     INV-21432      10-Dec-09     689.00   Credit Card
  RMA-5486      02-Mar-10   Authorization Pending   JeremyM                  578.00     O-21496     INV-24421      22-Feb-10     578.00   Credit Card
  RMA-5487      02-Mar-10   Authorization Pending   JeremyM                  134.00     O-21312     INV-24260      16-Feb-10     134.00   Credit Card
  RMA-5495      03-Mar-10   Authorization Pending   JeremyM                  100.00     O-21148     INV-24055      08-Feb-10     239.00   Credit Card
  RMA-5496      03-Mar-10   Authorization Pending   JeremyM                   98.00     O-20965     INV-23805      01-Feb-10     411.00   Credit Card
  RMA-5497      03-Mar-10   Authorization Pending   JeremyM                1,411.00     O-21666     INV-24555      24-Feb-10   1,411.00   Credit Card
  RMA-5498      03-Mar-10   Authorization Pending   JeremyM                  178.00     O-21591     INV-24500      23-Feb-10     476.00   Credit Card
  RMA-5499      03-Mar-10   Authorization Pending   JeremyM                  115.00     O-20855     INV-23652      26-Jan-10     115.00   Credit Card
  RMA-5500      03-Mar-10   Authorization Pending   JeremyM                  449.00     O-20361     INV-24162      12-Feb-10     449.00   Credit Card
  RMA-5501      03-Mar-10   Authorization Pending   JeremyM                   25.00     O-21200     INV-24111      09-Feb-10      25.00   Credit Card
  RMA-5503      04-Mar-10   Authorization Pending   JeremyM                  498.00     O-21716     INV-24564      25-Feb-10     608.00   Credit Card
  RMA-5504      04-Mar-10   Authorization Pending   JeremyM                  335.00     O-21486     INV-24499      23-Feb-10     514.00   Credit Card

                                                                        $383,968.30




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                                             Section 4.6

                                    Absence of Certain Changes

  Other than the transactions contemplated by the agreement to which this Disclosure Schedule is
  attached, there are no actions taken by JLP since 1/31/10 that require JLP's board, shareholders,
  or any other entity's consent or authorization:




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                                           Section 4.6(a)

  Besides not receiving approximately $14,000 due to a customer fraudulently using aliases to
  purchase merchandise, which may be recoverable, there have not been any changes, events, or
  conditions that have occurred since 1/31/10 that may detrimentally affect JLP or its business.




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                                  Section 4.6(b)

  None.




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                                  Section 4.6(c)

  None.




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                                  Section 4.6(d)

  None.




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                                  Section 4.6(e)

  None.




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                                   Section 4.6(f)

  None.




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                                  Section 4.6(g)

  None.




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                                  Section 4.6(h)

  None.




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                                   Section 4.6(i)

  None.




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                                          Section 4.6(j)

  JLP lost approximately $14,000 worth of merchandise due to the credit card fraud mentioned in
  4.6(1), which it may recover.




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                                           Section 4.6(k)

  JLP recently discovered unemployment insurance tax liens 0161731 and 0185660. With respect
  to the referenced liens, the Michigan Unemployment Insurance Agency has satisfied and
  discharged the Tax Liens, and upon receiving the mailed discharges, JLP will forward them to
  the Berrien County Register of Deeds.

  Horizon Bank has maintained a mortgage on One Oak Street, Three Oaks, MI 49128 since Josh
  Powell, Sarah Powell, Jeffrey Vickers, and Diana Vickers purchased the property in 2006.

  New Buffalo Savings Bank has maintained the Security Interest in all of JLP's assets in
  association with its inventory loan to JLP in accordance with the Commercial Security
  Agreement.




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                                            Section 4.6(l)

  JLP has debts with various vendors listed below, but is in communication with them and has
  worked out payment agreements.

  Inis Meain is currently owed a balance $38,261.00 and had a summons and complaint issued on
  1/11/10

  Black Lab 5 Inc. is currently owed a balance $8,500.00 and had a summons and complaint issued
  on 12/28/09

  Edward Green & Co. is currently owed a balance $10,172.64 and sent a collection letter

  Magee Clothing is currently owed a balance $9,377.19 and sent a letter regarding legal action on
  9/3/09

  Fasteam is currently owed a balance $12,000.00 and sent a collection letter

  Weberei Hohenberger GMBH is currently owed a balance $8,535.67 which is in collections

  Jacques Cartier in Baniff is currently owed a balance of $27,145.00 which is in collections

  On 2/23/10, JLP received a collection letter for a past due balance of $3,65.26 to Zmags
  Corporation, stating that Zmags hoped to avoid legal action.




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                                             Section 4.6(m)

  Other than the documents related to the transactions contemplated by the agreement to which this
  Disclosure Schedule is attached, since 1/31/10 JLP has not entered into any agreements or
  contracts that will significantly affect (1) its business operations, (2) the assets JLP will receive,
  or (3) its financial condition.




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                                  Section 4.6(n)

  None.




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                                          Section 4.7(a)(i)

   Vendor                               Open Purchase Orders
   Quick Feat International Total       220,442,70
   Somelos Tecidos SA Total             83,834.22
   Sacma S.p.a. Total                   80,573.00
   Vigens Total                         79,512.00
   Anderson's Italy Total               54,137.18
   Uniform Knitters Total               49,064.10
   Quoddy Footwear LLC Total            48,217.50
   Alden Shoe Company Total             43,302.00
   M&P Services Total                   43,008.00
   Lenor Romano Total                   39,180.00
   Greentex srl Total                   32,660.08
   Torino Leather Total                 31,839.00
   Leather Creations Limited Total      29,140.60
   Hertling Trousers, Inc. Total        23,285
   Trinity Garments Factory Total       22,416.00
   Berle Apparel Group Total            21,844.00
   Sandstorm International Total        18,750
   North Fork Design Total              18,350.00
   TAMODA Total                         18,128.56
   Doriani Total                        15,231.88

  JLP's unwritten agreement with James Powell to use his photographs in JLP's catalogs and
  advertisements as well as on its website for $65,000/year payable in equal monthly installments

  JLP has an unwritten agreement with Ron James for purchasing, expediting, inventory analysis,
  and forecasting in which he is paid $2,100 every 2 weeks.

  JLP has an unwritten agreement with Renee Jeffress for tracking and forecasting catalog metrics
  and coordinating list rentals and relationships with list rental companies in which she is paid
  $5,000 monthly.

  The 7/1/08 lease, as amended, between JLP and FSB Warehouse, LLC for 16860 Three Oaks
  Rd, Three Oaks, MI 49128 to temporarily pay $7,000 per month from 3/1/09 to 3/1/11, and after
  3/1/11 to revert to paying the contract rent rate of $13,227 per month. JLP currently owes
  $124,635 in back rent which will be cancelled upon the assignment of its lease to JL Powell
  LLC.




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                                 Section 4.7(a)(ii)

  None.




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                                         Section 4.7(a)(iii)

  The following are JLP's contracts or agreements with brokers, distributors, dealers, employees,
  or groups engaged in marketing, consulting, or advertising:

  JLP maintains a Third-Party Logistics Agreement with The Holcombe Group Inc. in which The
  Holcombe Group Inc. operates a warehouse for JLP's distribution and warehouse operations and
  a call center for JLP's customer service needs.

  JLP has a contract with Chase Paymentech for Chase Paymentech to provide JLP with payment
  processing services.

  JLP has a Software License and Services Agreement with Fifth Gear, formerly Sigma Micro,
  LLC to provide JLP with General Ledger and Enterprise Resource Planning systems.

  JLP has an unwritten agreement with Ron James for purchasing, expediting, inventory analysis,
  and forecasting in which he is paid $2,100 every 2 weeks.

  JLP has an unwritten agreement with Renee Jeffress for tracking and forecasting catalog metrics
  and coordinating list rentals and relationships with list rental companies in which she is paid
  $5,000 monthly.

  JLP formerly had an advertising arrangement with BlackLab 5 to provide advertising, eblasts,
  local advertising for the store, catalog setup and verbage, for which JLP still owes $8,500.

  JLP uses Savino del Bene USA, Inc. for most of their international shipping services.

  JLP uses UPS for small quantity product shipments.




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                                     Section 4.7(a)(iv)

  JLP leases 16860 Three Oaks Rd, Three Oaks, MI 49128 from FSB Warehouse, LLC.




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                                         Section 4.7(a)(v)

  Other than ordinary third party "shrink wrap" software licenses and JLP's unwritten agreement
  with James Powell to use his photographs in JLP's catalogs and advertisements as well as on its
  website for $65,000/year payable in equal monthly installments, JLP does not have any IP
  contracts or arrangements.




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                                         Section 4.7(a)(vi)

  The following are contracts relating to JLP borrowing money, leasing capital equipment, being a
  party to installment sales, or which limit its legal rights to assets due to debt:

  Jeffrey Vickers, Diana Vickers, Josh Powell, and Sarah Powell borrowed the principal amount of
  $232,856 from Horizon Bank on 2/1/06 in loan 995257 which has a maturity date of 6/24/10, and
  Horizon Bank was given a mortgage on One Oak Street, Three Oaks, MI 49128 (the “Property”).
  On 12/12/06, Jeffrey Vickers, Diana Vickers, Josh Powell, and Sarah Powell entered into
  Articles of Agreement for Deed permitting JLP to use and possess the Property, obligating JLP
  to make payments on the mortgage, and providing JLP the right to receive a quitclaim deed
  upon making the final mortgage payments.

  The New Buffalo Inventory loan C-09-04-16000133 to JLP on 4/21/09 pursuant to the
  Commercial Security Agreement for the principal amount of $150,000, with a maturity date of
  4/1/10.

  The agreement to rent the copier with serial number 0241200745 from Adams Remco for $400
  per month




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                                 Section 4.7(a)(vii)

  None.




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                                 Section 4.7(a)(viii)

  None.




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                                       Section 4.7(a)(ix)

  JLP maintains an Incentive Bonus Agreement with Josh Powell, which will be terminated in
  connection with Closing..

  There is an informal agreement in which a store employee receives an 8% commission for
  concierge sales.

  See attached Employee Advance Chart regarding JLP's advances to employees.




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                                          Section 4.7(a)(x)

  JLP's healthcare plan with the Principal Life Insurance Company is Classic PPO Coverage,
  Benefit Design 1233, and Account Number H56324. JLP also has Prescription Drug Benefit
  Design 94.

  JLP has informal vacation and sick leave plans that permit taking vacations and sick days.

  JLP maintains a 401(k) Plan with John Hancock which will terminate as of the closing of the
  transaction anticipated by the agreement to which this Disclosure Schedule is attached.




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                                           Section 4.7(a)(xi)

  Besides the transactions anticipated by the agreement to which this Disclosure Schedule is
  attached and the option granted by the Board of Directors to Josh Powell to purchase 5,822
  shares of common stock, neither JLP nor the JLP shareholders are or proposed to be parties to
  any contracts regarding the acquisition, issuance, or transfer of any JLP stock or securities, other
  than the Amended and Restated Shareholders' Agreement dated April 6, 2009.




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                                        Section 4.7(a)(xii)

  New Buffalo Savings Bank inventory loan C-09-04-16000133 in which all of JLP's assets are
  collateral requires New Buffalo Savings Bank's approval before transferring any assets.

  The JLP Board and Series D Stockholder must approve the transaction under JLP's Shareholder's
  Agreement, and once this occurs the shareholders are required to consent to the sale by voting
  their shares in favor of the sale.

  Chase Paymentech was notified of the changes JLP is undergoing, and Chase Paymentech
  submitted the complete Merchant Profile document to their Credit and Risk Department. If
  needed, they will have an addendum create adding the new ownership to the contract.

  Sigma Micro, LLC gave written consent to this transaction per Article 13.2 Assignment of the
  Software License & Services Agreement dated May 30, 2008.




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                                        Section 4.7(a)(xiii)

  The Articles of Agreement for the Deed among JL Powell, Inc. and Josh Powell, Sarah Powell,
  Jeffrey Vickers, and Diana Vickers with regard to the property and building located at One Oak
  Street, Three Oaks, Michigan

  Working Agreement with Rackspace Hosting to maintain JLP's email system and website

  Working Agreement with QuickFeat Int’l Ltd. to produce a significant portion of JLP's Spring
  and Summer 2010 merchandise.

  Working Agreement with Quad Graphics to print JLP catalogs

  JLP purchases names and addresses for catalog mailings from the following rental companies:
         Epsilon Data Management LLC
         Direct Media/Millard
         Data Logix, Inc. (formerly Next Action)
         I-Behaviour
         INFOUSA/Donnelly Marketing




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                                 Section 4.7(a)(xiv)

  None.




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                                            Section 4.7(d)

  JLP is not aware of any past or future events, circumstances, or conditions likely to cause a
  contract violation, a claim of a contract remedy, a right to accelerate performance under a
  contract, or a right to end or change any contract with JLP listed in Section 4.7 of this Disclosure
  Schedule, besides the following debt owed to unpaid vendors:
          See attached Outstanding Debts in Default.




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SCHEDULE OF OUTSTANDING DEBTS IN DEFAULT
As of February 2010
                                                                                                                                                                                             Case 2:14-cv-07491-PA-RZ Document 1-3 Filed 09/25/14 Page 111 of 137 Page ID #:226
Vendor                                                  Payment Amount                             Balance
James Purdey & Sons Ltd                                                   6,000.00   MO                8,304.75   Formal agreement/attorney assisted payment plan in place
Aspinal of London                                                         3,000.00   MO               15,942.50   Current compliance/cooperation with vendor/agency - monthly payment plan
Garden & Gun                                                              1,500.00   MO               25,817.50   Current compliance/cooperation with vendor/agency - weekly payment plan
Primo Coat Corp.                                                          1,000.00   MO                7,574.82   Current compliance/cooperation with vendor/agency - monthly payment plan
Willliam Lockie & Co., LTD                                                1,000.00   MO               39,918.00   Current compliance/cooperation with vendor/agency - monthly payment plan
Calzificio Bonadei                                                          890.00   MO                7,161.01   Current compliance/cooperation with vendor/agency - monthly payment plan
The British Apparel Collection                                              800.00   MO                3,998.60   Formal agreement/attorney assisted payment plan in place
Amina Rubinacci (Nicoshowroom)                                              700.00   MO                2,447.00   Formal agreement/attorney assisted payment plan in place
Imperial Headwear                                                           683.75   MO                2,171.22   Current compliance/cooperation with vendor/agency - monthly payment plan
Original Issue Clothing Co.                                                 500.00   MO                2,114.89   Current compliance/cooperation with vendor/agency - monthly payment plan
Textiber                                                                   500.00    MO                3,956.78   Current compliance/cooperation with vendor/agency - monthly payment plan
Marco Pastorelli S.p.a.                                                    323.35    MO                2,465.73   Current compliance/cooperation with vendor/agency - monthly payment plan
Andean                                                                     323.00    MO                  202.72   Current compliance/cooperation with vendor/agency - monthly payment plan
FILSON                                                                      300.00   MO                1,212.00   Current compliance/cooperation with vendor/agency - monthly payment plan
Martin Dingman                                                              250.00   MO                  360.89   Current compliance/cooperation with vendor/agency - monthly payment plan
Mainetti (Canada)                                                           200.00   MO                2,420.00   Current compliance/cooperation with vendor/agency - weekly payment plan
PM Plastics                                                                 100.00   MO                  803.00   Current compliance/cooperation with vendor/agency - weekly payment plan
American Retail Supply                                                      100.00   MO                5,061.03   Current compliance/cooperation with vendor/agency - monthly payment plan
Total Monthly Payment Plans                $                             18,170.10   monthly   $    131,932.44

Vendor                                                                                                 Balance
Bottonificio Padano S.p.a.                                                1,296.18   WK                1,296.19   Current compliance/cooperation with vendor/agency - weekly payment plan
GIGRIG Chicago                                                              300.00   WK                4,278.50   Current compliance/cooperation with vendor/agency - weekly payment plan
Total Weekly Payment Plans                 $                             28,936.38   weekly    $       5,574.69

Vendor                                                                                                Balance
Inis Meain                                                                                           38,261.00    Ref. legal documents
Black Lab 5 Inc.                                                                                      8,500.00    Ref. legal documents
Edward Green & Co.                                                                                   10,172.64    Collection Letter
Magee Clothing                                                                                        9,377.19    Letter re: legal action
Fasteam                                                                                              12,000.00    Collection Letter
Weberei Hohenberger GMBH                                                                              8,535.67    In collections
Jacques Cartier in Baniff                                                                            27,145.00    In collections

FSB Warehouse LLC                                                                                   124,635.00    Written off post transaction
FSB Companies LLC                                                                                     6,070.72    Written off post transaction

Total Pending/Potential Litigation                                                             $    244,697.22

TOTAL DEBTS IN DEFAULT -                   OUTSTANDING/PAST DUE BALANCE                        $   382,204.35




                                                                                                   1,284,217.60



Run Date:                                  02/23/2010
Business Date:                             02/23/2010
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                                           Section 4.8(b)

                                     Permitted Encumbrances

  JLP recently discovered unemployment insurance tax liens 0161731 and 0185660. With respect
  to the referenced liens, the Michigan Unemployment Insurance Agency has satisfied and
  discharged the Tax Liens, and upon receiving the mailed discharges, JLP will forward them to
  the Berrien County Register of Deeds.

  Horizon Bank has maintained a mortgage on One Oak Street, Three Oaks, MI 49128 since Josh
  Powell, Sarah Powell, Jeffrey Vickers, and Diana Vickers purchased the property in 2006.

  New Buffalo Savings Bank has maintained the Security Interest in all of JLP's assets in
  association with its inventory loan to JLP in accordance with the Commercial Security
  Agreement.




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                                            Section 4.9(a)

                                     Real Property for Business

  Address: 1 Oak Street, Three Oaks, Michigan 49128
  Tax identification number: 11-47-0340-0024-00-7
  Legal Description: That part of Lot 24, Original Plat of the Village of Three Oaks, according to
  the plat thereof recorded in Liber 5 of Deeds, page 84 and that part of the former Michigan
  Central Railroad right of way in the Southwest Quarter of Section 2, Township 8 South, Range
  20 West, all described as follows: Commencing at a point where the West line of Oak Street
  intersects the South line of the Michigan Central Railroad Company’s main line right of way, as
  acquired by the Michigan Central Railroad Company from Moses Chamberlain and Mary
  Chamberlain, his wife, by Warranty Deed, dated August 6, 1847, recorded August 21, 1847 in
  Liber P of Deeds, page 411; thence West, along the South line of said right of way, 30.0 feet to a
  point; thence North, along a line parallel to the Northerly projection of the West line of Oak
  Street 61.5 feet, more or less, to a point 13.5 feet South, measured at right angles, from the
  centerline of the Michigan Central Railroad Company’s Eastbound main track; thence East,
  parallel to and at an equal distance from the centerline of said Eastbound main tract, a distance of
  228.0 feet to a point; thence South 111.5 feet to the Southeast corner of land acquired by the
  Michigan Railroad Company from Henry Chamberlain (widower) by Warranty Deed, dated June
  18, 1898, and recorded June 28,1898, in Liber 125 of Deeds, page 95; thence West 132.0 feet to
  a point on the East line of Oak Street; thence North, along the East line of Oak Street, 50.0 feet
  to a point on the South line of the Michigan Central Railroad Company’s said main line right of
  way; thence West, along said Southerly right of way line which is also the Northern boundary of
  the Northerly terminus of Oak Street, 66.0 feet, more or less, to the place of beginning.

  Address: 16860 Three Oaks, Rd., Three Oaks, MI 49128
  Tax identification numbers: 11-20-0134-0019-05-8 and 11-20-0134-0019-06-6
  Legal Description of Parcel 1: Commencing 190.00 feet North of the Southeast corner of Section
  34, Town 7 South, Range 20 West; thence North 304.00 feet; thence West 133.00 feet; thence
  North 100.00 feet; thence West 188.75 feet; thence South 429.00 feet; thence East 132.00 feet;
  thence North 25.00 feet; thence East 189.75 feet to the place of beginning.
  Legal Description of Parcel 2: Part of the Southeast Quarter of Section 34, Town 7 South, Range
  20 West, described as follows: Commencing at the Southeast corner of Section 34; thence North
  36 rods to the place of beginning; thence West 46 rods 11 feet; thence North 12 rods; thence East
  46 rods 11 feet to the East line of said Section 34; thence South 12 rods to the place of
  beginning; EXCEPTING THEREFOM THE North 15 feet.




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                                           Section 4.9(b)

                                       Leased Real Property

  The 7/1/08 lease, as amended, between JLP and FSB Warehouse, LLC
         Address: 16860 Three Oaks Rd, Three Oaks, MI 49128
         Lessor: FSB Warehouse, LLC, a Michigan limited liability company
         Lessee: JLP
         Lease Length: 10 years
         Potential Renewal Period: 2 five year options to extend the Term
         Initial Payment Terms: Initial monthly base rent of $13,227 with a 2.5% annual increase
         Amended Payment Terms: Temporary Payments of $7,000 per month from 3/1/09 to
         3/1/11, and after 3/1/11 to revert to paying the contract rent rate of $13,227 per month.
         Current Use of the Real Estate: Storage of inventory and materials and office




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                                          Section 4.10(a)

  JLP does not own the photographs used in its catalogs and advertisements and on its website.
  The photographs are used pursuant to an unwritten agreement with James Powell pursuant to
  which JLP pays James Powell $65,000 annually in equal monthly installments.

  JLP does not have and is not aware that James Powell has obtained releases from any models
  appearing in the photographs used in JLP's catalogs, advertisements or on its website.




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                                          Section 4.10(b)

  JLP does not own the photographs used in its catalogs and advertisements and on its website.
  The photographs are used pursuant to an oral license agreement with James Powell pursuant to
  which JLP pays James Powell $65,000 annually in equal monthly installments.

  JLP pays the Royal Geographic Society for JLP's occasional use of their pictures in JLP's
  catalog.

  JLP occasionally purchases the right to use photographs from the Corbis Corporation for JLP's
  catalog.




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                                          Section 4.10(c)

  JLP has common law rights to the intellectual property it uses. No marks are registered and no
  searches have been done. JLP has no knowledge of any claims against its right to use its name.




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                                    Section 4.12

  None.




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                                           Section 4.14

                                      Agents and Suppliers

  See attached Vendor Purchases Greater than $15,000.

  During the last 18 months American Express has terminated its relationship with JLP.




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JL Powell, Inc.
Vendors - Purchases >$15,000.00
From 03/01/09 thru 02/28/10

Vendor                                      Ext Amt
QuadGraphics Total                            667,157.56
US Postmaster Total                           342,405.40
Holcombe Group, The Total                     320,788.40
UPS - Main/UPS SCS Total                      301,029.49
Quick Feat International Total                127,678.50
Quoddy, Inc. Total                            124,991.00
Travel,Office,Samples & Others Total          108,139.04
Savino del Bene USA Inc. Total                  96,916.95
Anderson's Italy Total                          89,807.95
FSB Warehouse LLC Total                         84,000.00
Uniform Knitters Total                          77,058.95
Jim Powell Advertising Photograph Total         76,249.24
Hertling Trousers, Inc. Total                   68,859.09
M&P Services Total                              67,564.83
Fifth Gear Total                                65,773.14
A Goldstein / Wrought in America Total          63,270.00
Corapi Jeffress Consulting Total                60,000.00
Mulholland Brothers Total                       59,062.40
Somelos Tecidos SA Total                        55,196.84
Torino Leather Total                            51,828.29
C&S Wu Total                                    50,241.12
Dan Winders Total                               49,715.49
North American Color Total                      45,122.33
N. Treitel & Co., Inc. Total                    42,590.00
UPS Supply Chain Solutions Inc Total            42,569.82
Alden Shoe Company Total                        40,885.20
Elk Brand Manufacturing Company Total           35,967.31
Pedersen & Houpt Total                          34,321.99
Sacma S.p.a. Total                              33,873.22
American Express Total                          32,350.35
Trinity Garments Factory Total                  32,031.00
TAMODA Total                                    30,298.60
James Inventory Management Services Total       28,350.00
State of Michigan (Sales Tax) Total             25,172.00
Principal Financial Group Total                 24,456.37
Epsilon Data Management LLC Total               22,694.65
Jean Shop Total                                 21,760.00
Patrick Mavros Total                            20,662.50
I-Behavior Total                                19,267.67
Leather Creations Limited Total                 19,162.11
Aspinal of London Total                         18,788.50
Data Logix, Inc. Total                          17,961.86
Swarovski Optik Total                           17,233.08
HiDef Spex USA Total                            16,089.00
INFOUSA Total                                   16,032.48
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                                         3,645,373.72
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                                             Section 4.15

                                              Litigation

  JLP has received communications from the following JLP vendors, all of which have entered
  payment agreements with JLP:

  Inis Meain is owed a balance $38,261.00 and had a summons and complaint issued on 1/11/10

  Black Lab 5 Inc. is owed a balance $8,500.00 and had a summons and complaint issued on
  12/28/09

  Edward Green & Co. is owed a balance $10,172.64 and sent a collection letter

  Magee Clothing is owed a balance $9,377.19 and sent a letter regarding legal action

  Fasteam is owed a balance $12,000.00 and sent a collection letter

  Weberei Hohenberger GMBH is owed a balance $8,535.67 and it is in collections

  Jacques Cartier in Baniff is owed a balance of $27,145.00 and it is in collections




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                                        Section 4.16(a)

                                 Governmental Authorization

  US Postal Service Bulk Mailing Permit PI412

  State of Michigan Department of Treasury Sales Tax License

  Retail Sales License Number E20-3745485




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                                   Section 4.17(c)

                               Environmental Matters

  None.




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                                            Section 4.18

                                                Taxes

  JLP's 2008 Tax Returns were filed late.

  JLP has filed for an extension for its 2009 Tax Return.




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                                          Section 4.19(a)

                             Employee Benefit Plans; Labor Matters

  JLP's healthcare plan with the Principal Life Insurance Company is Classic PPO Coverage,
  Benefit Design 1233, and Account Number H56324. JLP also has Prescription Drug Benefit
  Design 94.

  JLP has informal vacation and sick leave plans that permit taking vacations and sick days.

  JLP has an informal agreement in which a store employee receives 8% commission for concierge
  sales

  JLP maintains an Incentive Bonus Agreement with Josh Powell, which will be rescinded in
  connection with the Closing.

  JLP maintains a 401(k) Plan with John Hancock which will terminate as of the closing of the
  transaction anticipated by the agreement to which this Disclosure Schedule is attached.




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                                           Section 4.20

                                   Employees and Consultants

  JLP maintains an Incentive Bonus Agreement with Josh Powell, which will be rescinded in
  connection with the Closing.

  JLP has an unwritten agreement with Ron James for purchasing, expediting, inventory analysis,
  and forecasting in which he is paid $2,100 every 2 weeks.

  JLP has an unwritten agreement with Renee Jeffress for tracking and forecasting catalog metrics
  and coordinating list rentals and relationships with list rental companies in which she is paid
  $5,000 monthly.




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                                           Section 4.21

                                   Related-Party Transactions

  JLP's warehouse/office space is leased from a company controlled by a shareholder, Frank
  Brumfield.

  JLP has made advances to a number of employees. See attached Employee Advance Chart.




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                                           Section 4.24

                                        Insurance Policies

  JLP's healthcare plan with the Principal Life Insurance Company is Classic PPO Coverage,
  Benefit Design 1233, and Account Number H56324. JLP also has Prescription Drug Benefit
  Design 94. See attached Principal Life Insurance Co. Renewal.

  Jeffrey Vickers and Diana Vickers received Title Insurance Policy Number 70465 on 7/16/05 for
  the 1 Oak Street, Three Oaks, MI 49128 store in the amount of $315,000.

  JLP maintains a general liability insurance policy with the Auto-Owners Insurance Group, Policy
  Number 064676-16727857.

  JLP maintains Workers Compensation Insurance with the Accident Fund, Policy Number
  6027785.

  JLP maintains Ocean Express Open Cargo Policy issued by St. Paul Fire and Marine Insurance
  Company, Policy Number OC01201486.




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                                        Section 4.25

                                       Bank Accounts

  New Buffalo Savings Bank Checking Account 0015052685 in which Josh Powell, Sarah Powell,
  and Laurelle Timms are authorized to withdraw money.

  New Buffalo Savings Bank Savings Account 00180019236 in which Josh Powell, Sarah Powell,
  and Laurelle Timms are authorized to withdraw money.




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                                            Section 4.26

                                        Product Warranties

  Returns and exchanges
  If for whatever reason our product does not meet your expectations, simply return it to us in its
  original packaging for an exchange or refund. All return and/or exchange requests must be made
  within 30 days of order receipt. Items must be unworn to be accepted as a return. For your
  convenience, we will send you a postage paid label for returns. Please call or email customer
  service for a label and RMA # to expedite your return.
  Mail returns to: J. L. Powell
  7406 Hwy 487
  Mildred, PA 18632, USA

  JLP occassionaly accepts returns after the 30 day return period.

  Safe Shopping Guarantee
  We guarantee that every order you make on our website is safe. We use strict security
  precautions to make our website safe, including the use of a Secure Socket Layer (SSL) server.
  Any information you enter while you're using the secure server is encrypted before being
  transmitted, so it is virtually impossible for an outside party to access or intercept your
  information. Your shopping experience is safe with us.
  We guarantee that your credit card information will be safe when you place an order at
  JLPowellUSA.com. Our Secure Order Guarantee means that you'll never have to pay any money
  related to unauthorized charges to your credit card account, if those charges result from a
  transaction at JLPowellUSA.com. You're always protected when you shop at our site.
  Here's how the guarantee works: If you're ever a victim of credit card fraud, the Fair Credit Act
  specifies that your credit card company can hold you liable for no more than $50 in fraudulent
  charges to your account. With the Secure Order Guarantee, you'll be reimbursed for any amount
  up to $50 billed to you by your credit card company for unauthorized charges to your account, if
  those charges result from an order you've placed on our secure server. For this protection, you
  must promptly notify your credit card company of any fraudulent charges and follow the
  procedures for doing so as outlined in your credit card agreement.




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                                            EXHIBIT D
                        (Issues to be Covered by Opinion of Counsel to JLP)

                                [Standard recitals and qualifications]

         Based upon and subject to the foregoing, it is our opinion that:

          (a)     As to JLP valid existence and in good standing under the laws of the State of
  incorporation or organization; corporate/other entity power and authority to own and use its
  properties and assets and to carry on its business as to our knowledge it is currently conducted
  and to execute and deliver the Transaction Documents and to perform its obligations thereunder;
  qualification to do business as a foreign corporation/entity and good standing as a foreign
  corporation/entity in the following jurisdictions: [__________].

          (b)     All corporate/entity action on the part of the corporation/entity, its
  directors/managers/partners and stockholders/members/partners necessary for the authorization,
  execution and delivery by JLP of the Transaction Documents and the performance of its
  obligations thereunder has been taken. Due execution and delivery of the Transaction
  Documents by JLP, and the Transaction Documents constitute the legal, valid and binding
  obligations of JLP enforceable against it in accordance with their respective terms.




                                                 D-1
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                                    EXHIBIT E
                         (Form of Company’s LLC Agreement)




                                        E-1
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                                      EXHIBIT F
                     (Lease Assignment, Assumption and Amendment)




                                          F-1
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                                     EXHIBIT G
                           (Form of Assumption Agreement)




                                        G-1
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                                        EXHIBIT H
                     (Form of Bill of Sale and Assignment Agreement)




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